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Appellate Case: 23-6133 Document: 010110919861 Date Filed: 09/14/2023                        Page: 1
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                                     September 14, 2023

           Pro Se     ✔ Retained        Court Appointed         USA
                                         (IFP Granted)

 &DVH1R CIV-09-985-G                             Date Filed: 09/14/2023
 Style of Case: Moore v. Embry
 Appellant: Tamika White

   ✔       Notice of Appeal                                Amended Notice of Appeal
           Interlocutory Appeal                            Cross Appeal
                                                           Tenth Cir. Case No.
 Pro se Appellant:
       Motion IFP Forms Mailed/Given             Motion IFP Filed           Appeal Fee Paid

 Retained Counsel:
  ✔ Appeal Fee Paid                Appeal Fee Not Paid

 The Preliminary Record on Appeal is hereby transmitted to the Tenth Circuit Court of
 Appeals. Please refer to the forms and procedures concerning the requirements for
 ordering transcripts, preparing docketing statements and briefs, and designations of the
 record found on the Tenth Circuit’s website, www.ca10.uscourts.gov.

 Payment for this case or motion to proceed in forma pauperis will be made to this District
 Court.

 The transcript order form must be filed in the District Court as well as the Court of Appeals
 within 14 working days after the notice of appeal was filed in the Circuit Court. This form
 must contain the signature of the court reporter if transcripts are being ordered.

 If you have questions, please contact this office.

                                             Sincerely,

                                             CARMELITA REEDER SHINN, COURT CLERK

                                             by: s/ R. Rosson
                                                  Case Administrator


 cc:       Clerk of the Court, Tenth Circuit Court of Appeals
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                                                       APPEAL,BACHARACH,CLOSED,CONV,PRISONER
                                                                                       Email All Attys
                                                                 Email All Attys and Secondary Emails
                                   U.S. District Court
                  Western District of Oklahoma[LIVE] (Oklahoma City)
                    CIVIL DOCKET FOR CASE #: 5:09−cv−00985−G

   Moore v. Embry                                                 Date Filed: 09/04/2009
   Assigned to: Honorable Charles Goodwin                         Date Terminated: 09/11/2023
   Cause: 28:2254 Petition for Writ of Habeas Corpus (State)      Jury Demand: None
                                                                  Nature of Suit: 530 Habeas Corpus
                                                                  (General)
                                                                  Jurisdiction: Federal Question
   Petitioner
   Beverly M Moore                                  represented by Andrea D Miller
                                                                   Oklahoma Innocence Project
                                                                   800 N. Hudson
                                                                   Address Line 2
                                                                   Suite 317
                                                                   Oklahoma City, OK 73102
                                                                   405−208−6161
                                                                   Email: admiller@okcu.edu
                                                                   ATTORNEY TO BE NOTICED

                                                                  Christine M Cave
                                                                  Employers Legal Resource Center
                                                                  3500 South Blvd
                                                                  Suite 14−B
                                                                  Edmond, OK 73013
                                                                  405−702−9797
                                                                  Fax: 405−576−3956
                                                                  Email: ccave@okemployerlaw.com
                                                                  ATTORNEY TO BE NOTICED


   V.
   Respondent
   Warden Tamika White                              represented by Caroline EJ Hunt
                                                                   Attorney General's Ofc−NE
                                                                   21STREET−OKC
                                                                   313 NE 21st St
                                                                   Oklahoma City, OK 73105
                                                                   405−521−3921
                                                                   Fax: 405−522−4534
                                                                   Email: fhc.docket@oag.ok.gov
                                                                   ATTORNEY TO BE NOTICED

                                                                  Tessa L Henry


                                                                                                         1
         Case 5:09-cv-00985-G Document 272-1 Filed 09/14/23 Page 2 of 170
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                                                               Attorney General's Ofc−NE
                                                               21STREET−OKC
                                                               313 NE 21st St
                                                               Oklahoma City, OK 73105
                                                               405−521−3921
                                                               Fax: 405−522−4534
                                                               Email: fhc.docket@oag.ok.gov
                                                               ATTORNEY TO BE NOTICED


   Date Filed   #   Docket Text
   09/04/2009   1   PETITION for Writ of Habeas Corpus, filed by Beverly M Moore. (Attachments: # 1
                    Attachment 1−Opinion)(db, ) (Entered: 09/08/2009)
   09/04/2009   2   MOTION for Leave to Proceed in forma pauperis by Beverly M Moore. (db, )
                    (Entered: 09/08/2009)
   09/04/2009   3   PREVIOUS Cases (db, ) (Entered: 09/08/2009)
   09/08/2009   4   ENTER ORDER REFERRING CASE to Magistrate Judge Robert Bacharach.
                    Motions referred to Robert Bacharach.. By Direction of Honorable Robin J. Cauthron
                    on 9/8/09. (db, ) (Entered: 09/08/2009)
   09/08/2009   5   REPORT AND RECOMMENDATION re 2 MOTION for Leave to Proceed in
                    forma pauperis filed by Beverly M Moore. IT IS RECOMMENDED that the Court
                    (1) deny the motion for leave to proceed in forma pauperis, (2) order payment of the
                    filing fee within 20 days, and (3) dismiss the action without prejudice if Ms. Moore
                    fails to timely pay the filing fee. Objections to R&R due by 9/28/2009. This R&R
                    terminates the referral. Signed by Magistrate Judge Robert Bacharach on 9/8/09. (lb)
                    (Entered: 09/08/2009)
   09/08/2009       Magistrate Judge Robert Bacharach no longer assigned to case. (lb) (Entered:
                    09/08/2009)
   09/29/2009   6   Receipt for Money Received from State of OK for Beverly M Moore in the amount
                    of $5.00, receipt number OKW500004567 regarding 5 REPORT AND
                    RECOMMENDATION re 2 MOTION for Leave to Proceed in forma pauperis filed
                    by Beverly M Moore (nm, ) (Entered: 09/29/2009)
   10/05/2009   7   REPORT AND RECOMMENDATION / ORDER the undersigned vacates the prior
                    report and recommendation (Doc. 5) and recommends dismissal of the request for
                    leave to proceed in forma pauperis (Doc. 2) on grounds of mootness. The Petitioner is
                    advised of his right to object to this report and recommendation byOctober 26, 2009.
                    The referral is not terminated. re 5 REPORT AND RECOMMENDATION re 2 6 .
                    Signed by Magistrate Judge Robert Bacharach on 10/5/09. (sr, ) (Entered:
                    10/05/2009)
   10/05/2009       Magistrate Judge Robert Bacharach added. (sr, ) (Entered: 10/05/2009)
   10/13/2009   8   ORDER FOR RESPONSE by Oklahoma Attorney General to 1 Petition for Writ of
                    Habeas Corpus filed by Beverly M Moore. Signed by Magistrate Judge Robert
                    Bacharach on 10/13/09. (lb) (Entered: 10/13/2009)
   10/19/2009   9   ENTRY of Appearance by Jared A Looper on behalf of Millicent Newton Embry
                    (Looper, Jared) (Entered: 10/19/2009)


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   10/30/2009   10   MOTION to Dismiss Petition for Writ of Habeas Corpus by Millicent Newton
                     Embry. Motions referred to Robert Bacharach. (Looper, Jared) (Entered: 10/30/2009)
   10/30/2009   11   BRIEF IN SUPPORT re 10 MOTION to Dismiss Petition for Writ of Habeas Corpus
                     by Millicent Newton Embry. (Attachments: # 1 Exhibit 1 − Judgment and Sentence,
                     # 2 Exhibit 2 − OCCA Opinion, # 3 Exhibit 3 − Application for PC Relief filed in
                     OCCA, # 4 Exhibit 4 − OCCA Order Dismissing PC−2008−844, # 5 Exhibit 5 −
                     Application for PC Relief filed in Okla. County, # 6 Exhibit 6 − Order Denying PC
                     Relief, # 7 Exhibit 7 − PC Petition in Error, # 8 Exhibit 8 − Order Declining
                     Appellate Jurisdiction)(Looper, Jared) (Entered: 10/30/2009)
   11/04/2009   12   ORDER Respondent has filed a motion to dismiss, relying in part on evidence
                     outside of the petition. Accordingly, the Court must convert the motion to one for
                     summary judgment. The Court thus provides notice to the Petitioner of her need to
                     respond to the motion for summary judgment. The Petitioner shall respond to the
                     motion for summary judgment by November 22, 2009. re 10 MOTION to Dismiss
                     Petition for Writ of Habeas Corpus filed by Millicent Newton Embry. Signed by
                     Magistrate Judge Robert Bacharach on 11/4/09. (sr, ) (Entered: 11/04/2009)
   11/19/2009   13   MOTION for Extension of Time by Beverly M Moore. Motions referred to Robert
                     Bacharach. (db, ) (Entered: 11/20/2009)
   11/23/2009   14   ORDER granting 13 Petitioner's Motion for Extension of Time to File Response to
                     Respondent's 10 Motion for Summary Judgment. Petitioner's response due 12/8/09.
                     Signed by Magistrate Judge Robert Bacharach on 11/23/09. (lb) (Entered:
                     11/23/2009)
   11/24/2009   15   ORDER ADOPTING 7 REPORT AND RECOMMENDATION. Signed by
                     Honorable Robin J. Cauthron on 11/24/09. (lg, ) (Entered: 11/24/2009)
   12/09/2009   16   RESPONSE to Motion re 10 MOTION to Dismiss Petition for Writ of Habeas
                     Corpus filed by Beverly M Moore. (db, ) (Entered: 12/09/2009)
   12/09/2009   17   MOTION for Leave to File Amended Petition by Beverly M Moore. Motions
                     referred to Robert Bacharach. (Attachments: # 1 Attachment 1−Amended Petition, #
                     2 Attachment 2−Brief)(db, ) (Entered: 12/09/2009)
   12/22/2009   18   ORDER regarding 17 Petitioner's Motion for Leave to file an amended habeas
                     petition. The Respondent's deadline for a response is 12/30/09. Signed by Magistrate
                     Judge Robert Bacharach on 12/22/09. (lb) (Entered: 12/22/2009)
   12/29/2009   19   OBJECTIONS re 17 MOTION for Leave to File Amended Habeas Petition filed by
                     Millicent Newton Embry. (Slayton, Diane) (Entered: 12/29/2009)
   12/29/2009   20   ENTRY of Appearance by Diane L Slayton on behalf of Millicent Newton Embry
                     (Slayton, Diane) (Entered: 12/29/2009)
   01/11/2010   21   ORDER granting 17 Petitioner's Motion for Leave to Amend Petition. The deadline
                     for filing of the amended petition is 1/26/10. When the amended petition is filed, the
                     original petition will be deemed superseded by the new document. As a result,
                     amendment of the petition would automatically moot the pending motion for
                     summary judgment. Within 21 days of the filing of the amended habeas petition, the
                     Respondent shall file an answer or motion to dismiss. Signed by Magistrate Judge
                     Robert Bacharach on 1/11/10. (lb) (Entered: 01/11/2010)
   02/02/2010   22


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                     PETITION for Writ of Habeas Corpus (Amended) Filed by Beverly M Moore.(db, )
                     (Entered: 02/03/2010)
   02/02/2010   23   BRIEF IN SUPPORT re 22 Petition for Writ of Habeas Corpus (Amended) by
                     Beverly M Moore. (db, ) (Entered: 02/03/2010)
   02/23/2010   24   MOTION to Dismiss Amended Petition for Habeas Corpus by Millicent Newton
                     Embry. Motions referred to Robert Bacharach. (Looper, Jared) (Entered: 02/23/2010)
   02/23/2010   25   BRIEF IN SUPPORT re 24 MOTION to Dismiss Amended Petition for Habeas
                     Corpus by Millicent Newton Embry. (Attachments: # 1 Exhibit 1 − Judgment and
                     Sentence, # 2 Exhibit 2 − Opinion, # 3 Exhibit 3 − Appl for PC Relief filed with
                     OCCA, PC−08−844, # 4 Exhibit 4 − Order Dismissing PC−2008−844, # 5 Exhibit 5
                     − Appl for PC Relief filed in Okla County, # 6 Exhibit 6 − Order Denying PC Relief,
                     # 7 Exhibit 7 − PC Petition in Error, # 8 Exhibit 8 − Order Declining Jurisdiction and
                     Dismissing Pet in Error, # 9 Exhibit 9 − Hollie v. Booher, unpublished opinion, # 10
                     Exhibit 10 − Riley v. Snider, unpublished opinion, # 11 Exhibit 11 − Mitchell v.
                     Murphy, unpublished opinion, # 12 Exhibit 12 − Harvey v. Addison, unpublished
                     opinion)(Looper, Jared) (Entered: 02/23/2010)
   02/25/2010   26   ORDER regarding 24 Respondent's Motion to Dismiss. Petitioner's response deadline
                     is 3/16/10. Signed by Magistrate Judge Robert Bacharach on 2/25/10. (lb) (Entered:
                     02/25/2010)
   03/02/2010   27   LETTER from Beverly Moore (db, ) (Entered: 03/02/2010)
   03/11/2010   28   MOTION for Extension of Time to Respond to Motion to Dismiss by Beverly M
                     Moore. Motions referred to Robert Bacharach. (Attachments: # 1 Exhibit
                     A−Subpoena to Deaconess Hosp, # 2 Exhibit B−Subpoena to ME Office)(db, )
                     (Attachment 1 replaced on 6/14/2022) (MC). (Attachment 2 replaced on
                     6/14/2022)(Previously redacted Exhibit stickers appear as red and numbered now)
                     (MC) (Entered: 03/11/2010)
   03/15/2010   29   ORDER granting 28 Petitioner's Motion for Extension of Time to respond to 24
                     Respondent's motion to dismiss. Petitioner shall respond to the motion to dismiss by
                     4/12/10. Signed by Magistrate Judge Robert Bacharach on 3/15/10. (lb) (Entered:
                     03/15/2010)
   03/16/2010   30   LETTER from Beverly Moore (db, ) (Entered: 03/16/2010)
   03/24/2010   31   ENTER ORDER. The Court has received two documents entitled "Agreed Order."
                     There was no motion associated with either proposed order. The Court Clerk is
                     directed to file the proposed orders. The present order will serve to clarify that the
                     Court is not approving the proposed orders. Entered by direction of Magistrate Judge
                     Robert Bacharach on 3/24/10. (lb) (Entered: 03/25/2010)
   03/24/2010   32   Proposed Orders from Petitioner (not approved by the Court). (lb) (Entered:
                     03/25/2010)
   03/31/2010   33   ENTRY of Appearance by Sandra J Balzer on behalf of Office of Chief Medical
                     Examiner (Balzer, Sandra) (Entered: 03/31/2010)
   03/31/2010   34   MOTION to Quash Subpoena Duces Tecum in Part by Office of Chief Medical
                     Examiner. (Attachments: # 1 Exhibit 1 − Subpoena, # 2 Exhibit 2 − 63 OS s. 949, # 3
                     Exhibit 3 − 51 OS s 24A.5)(Balzer, Sandra) (Entered: 03/31/2010)



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   04/01/2010   35   MOTION to Compel by Beverly M Moore. Motions referred to Robert Bacharach.
                     (Attachments: # 1 Attachment 1−Agreed Order to Compel)(db, ) (Entered:
                     04/02/2010)
   04/07/2010   36   MOTION for Extension of Time by Beverly M Moore. Motions referred to Robert
                     Bacharach. (db, ) (Entered: 04/07/2010)
   04/07/2010   37   MOTION to Compel Discovery Response by Beverly M Moore. Motions referred to
                     Robert Bacharach. (Attachments: # 1 Attachment 1−Agreed Order to Compel)(db, )
                     (Entered: 04/07/2010)
   04/08/2010   38   AMENDED MOTION to Quash Subpoena Duces Tecum in Part by Office of Chief
                     Medical Examiner. (Attachments: # 1 Exhibit Exh 1 − Subpoena, # 2 Exhibit Exh 2 −
                     63 OS 949, # 3 Exhibit Exh 3 − 24A.5, # 4 Exhibit Exh 4 − Cert of Mailing)(Balzer,
                     Sandra) (Entered: 04/08/2010)
   04/09/2010   39   ENTER ORDER granting 36 Petitioner's Motion for Extension of Time to respond to
                     motion to dismiss. Petitioner's new deadline is 5/12/10. Entered by direction of
                     Magistrate Judge Robert Bacharach on 4/9/10. (lb) (Entered: 04/09/2010)
   04/13/2010        Docket Annotation: In light of the filing of The Office of the Chief Medical
                     Examiner's AMENDED Motion to Quash Subpoena Duces Tecum in Part (Doc. 38),
                     the Motion to Quash Subpoena Duces Tecum in Part (Doc. 34) is hereby terminated
                     as a pending motion. (lb) (Entered: 04/13/2010)
   04/13/2010   40   NOTICE OF HEARING on Motions re: 38 AMENDED MOTION to Quash
                     Subpoena Duces Tecum in Part, 37 MOTION to Compel, 35 MOTION to Compel.
                     Motions Hearing set for 5/6/2010 at 10:30 AM in Courtroom 101 before Magistrate
                     Judge Robert Bacharach. (lb) (Entered: 04/13/2010)
   04/13/2010   41   ENTER ORDER. The deadline for response to Petitioner's Motion to Compel
                     Discovery Response (Doc. 37) is 4/23/10, due to the motion being set for hearing on
                     5/6/10. Entered by direction of Magistrate Judge Robert Bacharach on 4/13/10. (lb)
                     (Entered: 04/13/2010)
   04/21/2010   42   RESPONSE in Opposition re 35 MOTION to Compel filed by Office of Chief
                     Medical Examiner. (Balzer, Sandra) (Entered: 04/21/2010)
   04/22/2010   43   RESPONSE in Opposition re 35 MOTION to Compel filed by Millicent Newton
                     Embry. (Attachments: # 1 Exhibit 1 − Hollie v. Booher, unpublished opinion, # 2
                     Exhibit 2 − OCCA Opinion)(Looper, Jared) (Entered: 04/22/2010)
   04/22/2010   44   RESPONSE in Opposition re 37 MOTION to Compel filed by Millicent Newton
                     Embry. (Attachments: # 1 Exhibit 1 − Hollie v. Booher, unpublished opinion, # 2
                     Exhibit 2 − OCCA Opinion)(Looper, Jared) (Entered: 04/22/2010)
   05/04/2010   45   ENTRY of Appearance by Donald D Self on behalf of Millicent Newton Embry
                     (Self, Donald) (Entered: 05/04/2010)
   05/06/2010   46   Minute Entry for motions hearing held on 5/6/2010 before Magistrate Judge Robert
                     Bacharach. The Court DENIED 35 Motion to Compel filed by Beverly M Moore and
                     granted Petitioner 30 days to file a new motion to compel with respect to Deaconess
                     Hospital. The Court OVERRULED 38 Amended Motion to Quash Subpoena Duces
                     Tecum in Part filed by Office of Chief Medical Examiner and GRANTED 37 Motion
                     to Compel as to Chief Medical Examiner filed by Beverly M Moore. The Court
                     ordered the Chief Medical Examiner to make the requested docs available no later


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                     than 21 days from the date of the hrg. The parties agreed to treat the motion to
                     dismiss the amended petition 24 as a motion for summary judgment. The Petitioner's
                     new deadline to respond to the summary judgment motion is 6/11/2010. (#10:29:51.)
                     (lb) (Entered: 05/06/2010)
   05/06/2010        Set/Reset Deadlines as to 24 MOTION to Dismiss Amended Petition for Habeas
                     Corpus (treated now as a summary judgment motion). Petitioner's response due by
                     6/11/2010. (lb) (Entered: 05/06/2010)
   05/06/2010   47   AMENDED Minute Entry for motions hearing held on 5/6/2010 before Magistrate
                     Judge Robert Bacharach. The Court DENIED 35 Motion to Compel filed by Beverly
                     M Moore and granted Petitioner 30 days to file a new motion to compel with respect
                     to Deaconess Hospital. The Court OVERRULED 38 Amended Motion to Quash
                     Subpoena Duces Tecum in Part filed by Office of Chief Medical Examiner and
                     GRANTED 37 Motion to Compel as to Chief Medical Examiner filed by Beverly M
                     Moore. The Court ordered the Chief Medical Examiner to make the requested docs
                     available no later than 21 days from the date of the hrg. The parties agreed to treat the
                     motion to dismiss the amended petition 24 as a motion for summary judgment. The
                     Petitioner's new deadline to respond to the summary judgment motion is 6/11/2010.
                     (#10:29:51.) (AMENDED to correct the spelling of counsel's last name.)(lb)
                     (Entered: 05/06/2010)
   05/26/2010   48   MOTION for Extension of Time by Beverly M Moore. Motions referred to Robert
                     Bacharach. (db, ) (Entered: 05/26/2010)
   05/28/2010   49   ORDER The Petitioner has moved for a 30−day extension to respond to the
                     Respondent's summary judgment motion. Through the Court Clerk's office, the
                     Respondent states that she does not object. The extension request is granted. The
                     Petitioner's new deadline for a response is July 10, 2010.granting 48 Motion for
                     Extension of Time to File. Signed by Magistrate Judge Robert Bacharach on
                     5/28/2010. (sr, ) (Entered: 05/28/2010)
   06/24/2010   50   LETTER from Beverly Michelle Moore (db, ) (Entered: 06/24/2010)
   06/30/2010   51   MOTION to Compel Discovery Response Out of Time by Beverly M Moore.
                     Motions referred to Robert Bacharach. (Attachments: # 1 Attachment Agreed Order
                     to Compel)(db, ) (Entered: 07/01/2010)
   07/06/2010   52   MOTION to Compel Discovery Response by Beverly M Moore. Motions referred to
                     Robert Bacharach. (Attachments: # 1 Attachment Agreed Order to Compel)(db, )
                     (Entered: 07/07/2010)
   07/09/2010   53   MOTION for Extension of Time to Respond by Beverly M Moore. Motions referred
                     to Robert Bacharach. (db, ) (Entered: 07/09/2010)
   07/09/2010   54   ENTER ORDER re Telephone Conference held on 7/9/2010. The Court concluded
                     that Petitioner is financially eligible for appointment of counsel. In light of the
                     appointment of counsel, Ms. Moore's new deadline to respond to the summary
                     judgment motion is 8/9/10. The Court requests the Clerk to transmit a copy of the
                     present order to Ms. Susan Otto, Federal Public Defender. Entered by direction of
                     Judge Robert Bacharach on 7/9/10. (lb) (Entered: 07/09/2010)
   07/09/2010   55   ORDER regarding 53 Motion for Extension of Time. In a telephone conference on
                     7/9/10, the Petitioner orally requested an extension of time to respond to the motion
                     for summary judgment. In light of the grant of the Petitioner's oral request, the


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                     written request is moot. Accordingly, the Court strikes the written request on grounds
                     of mootness. Signed by Magistrate Judge Robert Bacharach on 7/9/10. (lb) (Entered:
                     07/12/2010)
   07/09/2010   56   LETTER from Beverly Moore (db, ) (Entered: 07/12/2010)
   07/09/2010        Set/Reset Deadlines as to 24 MOTION to Dismiss Amended Petition for Habeas
                     Corpus (treated as a summary judgment motion). Petitioner's response due 8/9/2010.
                     (lb) (Entered: 07/12/2010)
   07/14/2010   57   ENTER ORDER. The Court appoints Christine Cave for Petitioner. In light of the
                     attorney's new involvement, the Court sua sponte extends the deadline until 10/9/10,
                     for Petitioner to respond to the summary judgment motion. The Court requests Ms.
                     Cave enter an appearance w/in 30 days. Entered by direction of Magistrate Judge
                     Robert Bacharach on 7/14/10. (lb) (Entered: 07/15/2010)
   07/14/2010        Set/Reset Deadlines as to 24 MOTION to Dismiss Amended Petition for Habeas
                     Corpus (treated as a summary judgment motion). Petitioner's response due 10/9/2010,
                     (lb) (Entered: 07/15/2010)
   07/21/2010   58   ENTRY of Appearance by Christine M Cave on behalf of Beverly M Moore (Cave,
                     Christine) (Entered: 07/21/2010)
   07/30/2010   59   ORDER regarding 51 Motion to Compel; 52 Motion to Compel. The Court directs
                     the Petitioner to conduct a personal conference on the two pending motions to
                     compel and file a short report regarding the status by 9/10/10. Signed by Magistrate
                     Judge Robert Bacharach on 7/30/10. (lb) (Entered: 07/30/2010)
   08/19/2010   60   MOTION to Compel and Notice to the Court by Beverly M Moore. Motions referred
                     to Robert Bacharach. (Cave, Christine) (Entered: 08/19/2010)
   08/19/2010   61   SEALED ORDER, granting 51 Motion to Compel, 52 Motion to Compel, 60 Motion
                     to Compel. Signed by Magistrate Judge Robert Bacharach on 8/19/10. (This Order is
                     filed under seal by direction of Judge Bacharach because it contains personal data
                     identifiers.)(lb) (Entered: 08/19/2010)
   10/04/2010   62   RESPONSE to Motion re 24 MOTION to Dismiss Amended Petition for Habeas
                     Corpus and in the Alternative, Motion for Extension of Time filed by Beverly M
                     Moore. (Attachments: # 1 Exhibit Affidavit of Christine Cave, # 2 Exhibit Gardner
                     Article in Pediatric Neurosurgery, # 3 Exhibit Goldsmith and Plunkett Article)(Cave,
                     Christine) (Entered: 10/04/2010)
   10/11/2010   63   RESPONSE re 62 Response to Motion, Petitioner's Motion for Extension filed by
                     Millicent Newton Embry. (Looper, Jared) (Entered: 10/11/2010)
   10/20/2010   64   ORDER re 62 Petitioner's Response to Motion or, Alternatively, Motion for
                     Extension of Time, filed by Beverly M Moore. The Court grants the Petitioner's
                     request for an extension of time to respond to the summary judgment motion.
                     However, the Court rejects the Petitioner's suggestions that she be allowed to respond
                     to the summary judgment motion through an evidentiary hearing. In addition, the
                     Court rejects the Petitioner's request to deny the summary judgment motion based on
                     her desire to obtain further discovery and review the materials recently obtained. The
                     Petitioner's new deadline to respond to the Respondent's summary judgment motion
                     is 11/30/10. Signed by Magistrate Judge Robert Bacharach on 10/20/10. (lb)
                     (Entered: 10/20/2010)


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   11/10/2010   65   MOTION for Discovery by Beverly M Moore. Motions referred to Robert
                     Bacharach. (Cave, Christine) (Entered: 11/10/2010)
   11/12/2010   66   ORDER regarding 65 Motion for Discovery; regarding 24 Motion for Summary
                     Judgment. If Respondent objects to the motion for leave to conduct discovery, she
                     shall file a written objection no later than 11/30/10. The Court sua sponte extends the
                     Petitioner's deadline to 12/15/10, in which to respond to the Respondent's motion for
                     summary judgment. Signed by Magistrate Judge Robert Bacharach on 11/12/10. (lb)
                     (Entered: 11/12/2010)
   11/17/2010   67   NOTICE of Conventional Filing re: Ex Parte Motion to Authorize Funds by
                     Christine M Cave on behalf of Beverly M Moore (Cave, Christine) (Entered:
                     11/17/2010)
   11/17/2010   68   EX PARTE MOTION for Order to Authorize Payment of Expert by Beverly M
                     Moore. Motions referred to Robert Bacharach. (Attachments: # 1 Exhibit 1 −
                     Education, # 2 Exhibit 2 − Letterdated April 2010, # 3 Exhibit 3 − Letter dated
                     1/21/1947)(cps) (Entered: 11/18/2010)
   11/18/2010   69   ORDER granting 68 Ex Parte Motion for Order to Authorize Payment of Expert.
                     Signed by Magistrate Judge Robert Bacharach on 11/18/10. (lb) (Entered:
                     11/18/2010)
   11/19/2010   70   MOTION to Clarify May 6, 2010, Order by Beverly M Moore. Motions referred to
                     Robert Bacharach. (Cave, Christine) (Entered: 11/19/2010)
   11/19/2010   71   MOTION for Discovery for Medical Documents Made in the Alternative by Beverly
                     M Moore. Motions referred to Robert Bacharach. (Cave, Christine) (Entered:
                     11/19/2010)
   11/19/2010   72   MOTION to Expedite Response by Beverly M Moore. Motions referred to Robert
                     Bacharach. (Cave, Christine) (Entered: 11/19/2010)
   11/22/2010   73   ENTER ORDER granting 70 Motion to Clarify; granting 72 Motion to Expedite.
                     Respondent shall respond to the discovery motions by 11/30/10. Entered by direction
                     of Judge Robert Bacharach on 11/22/10. (lb) (Entered: 11/23/2010)
   11/30/2010   74   RESPONSE in Opposition re 65 MOTION for Discovery, 71 MOTION for
                     Discovery for Medical Documents Made in the Alternative filed by Millicent Newton
                     Embry. (Attachments: # 1 Exhibit 1 − Price v. Friel, unpublished opinion, # 2 Exhibit
                     2 − U.S. v. Starr, unpublished opinion, # 3 Exhibit 3 − Brief of Appellant, # 4 Exhibit
                     4 − OCCA Petition in Error, # 5 Exhibit 5 − Order Declining Appellate Jurisdiction
                     and Dismissing Petition in Error, # 6 Exhibit 6 − Johnson v. Gibson, unpublished
                     opinion)(Looper, Jared) (Entered: 11/30/2010)
   12/02/2010   75   NOTICE of Hearing on Motion 65 MOTION for Discovery, 71 MOTION for
                     Discovery for Medical Documents Made in the Alternative: Motion Hearing set for
                     12/14/2010 at 3:30 PM in Courtroom 101 before Magistrate Judge Robert Bacharach.
                     (lb) (Entered: 12/02/2010)
   12/06/2010   76   MOTION for Extension of Time by Beverly M Moore. Motions referred to Robert
                     Bacharach. (Cave, Christine) (Entered: 12/06/2010)
   12/06/2010   77   ORDER granting 76 Motion for Extension of Time to File. Petitioner's deadline to
                     respond to the summary judgment motion is 1/31/11. Signed by Magistrate Judge
                     Robert Bacharach on 12/6/10. (lb) (Entered: 12/06/2010)


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    12/14/2010   78   Minute Entry for proceedings held before Magistrate Judge Robert Bacharach: Oral
                      Argument held on 12/14/2010 re 65 MOTION for Discovery filed by Beverly M
                      Moore, 71 MOTION for Discovery for Medical Documents Made in the Alternative
                      filed by Beverly M Moore. Christine Cave apprd on behalf of Petitioner; Jared
                      Looper and Donald Self apprd on behalf of Respondent. The Court granted in part
                      and denied in part the two motions for discovery, as more fully set out in the court
                      minute. (Court Reporter Alana LaGrow.) (lb) (Entered: 12/15/2010)
    12/29/2010   79   MOTION to Compel by Beverly M Moore. Motions referred to Robert Bacharach.
                      (Attachments: # 1 Exhibit Subpoena of OU Children's Hospital, # 2 Exhibit
                      Subpoena of EMSA, # 3 Exhibit EMSA Objections to Subpoena, # 4 Exhibit
                      Subpoena of Oklahoma City Fire Department)(Cave, Christine) (Entered:
                      12/29/2010)
    01/06/2011   80   ENTER ORDER re Telephone Conference held on 1/6/2011 before Magistrate Judge
                      Robert Bacharach re 79 Motion to Compel by Beverly M. Moore. The Court inquired
                      of the parties whether they would agree to an interim order, satisfying the restrictions
                      under 45 C.F.R. Section 164.512(e)(v)(A)−(B). Both parties consented. Entered by
                      direction of Judge Robert Bacharach on 1/6/11. (lb) (Entered: 01/06/2011)
    01/06/2011   81   SEALED ORDER regarding information that is subject to the Motion to Compel.
                      The Motion to Compel will remain pending at this time. Signed by Judge Robert
                      Bacharach on 1/6/11. (lb) (Entered: 01/06/2011)
    01/21/2011   82   SEALED DOCUMENT − CERTIFICATE re CJA voucher for payment of expert
                      services. Signed by Judge Robin Cauthron on 1/21/11.(lb) (Entered: 01/21/2011)
    01/21/2011   83   ENTER ORDER. Upon the oral representation of Petitioner's counsel, Doc. 79
                      MOTION to Compel is moot. Entered by direction of Magistrate Judge Robert
                      Bacharach on 1/21/11. (lb) (Entered: 01/21/2011)
    01/26/2011   84   MOTION for Order to Excuse Compliance with Redaction Requirement by Beverly
                      M Moore. Motions referred to Robert Bacharach. (Cave, Christine) (Entered:
                      01/26/2011)
    01/27/2011   85   MOTION for Leave to File Oversized Brief by Beverly M Moore. Motions referred
                      to Robert Bacharach. (Cave, Christine) (Entered: 01/27/2011)
    01/27/2011   86   ORDER granting 85 Motion for Leave to File a Brief in Excess of 30 Pages. The
                      petitioner's response brief cannot exceed 35 pages, as more fully set out. Signed by
                      Magistrate Judge Robert Bacharach on 1/27/11. (jw) (Entered: 01/27/2011)
    01/28/2011   87   ORDER granting Petitioner's 84 Request for relaxation of the redaction requirement
                      concerning the child's identity. Court will excuse Petitioner from the provision in Fed
                      R Civ P 5(a)(3) for redaction of the child's name. Signed by Magistrate Judge Robert
                      Bacharach on 1/28/11. (ch, ) (Entered: 01/28/2011)
    01/31/2011   88   RESPONSE to Motion re 24 MOTION to Dismiss Amended Petition for Habeas
                      Corpus filed by Beverly M Moore. (Attachments: # 1 Exhibit 911 Transcript, # 2
                      Exhibit American Academy of Ophthalmology Paper, # 3 Exhibit American
                      Academy of Pediatrics Paper, # 4 Exhibit Giardino and Giardino Article, # 5 Exhibit
                      Autopsy Report, # 6 Exhibit Barnes Preliminary Report, # 7 Attachment Barnes CV
                      − Part 1, # 8 Attachment Barnes CV − Part 2, # 9 Attachment Barnes 2011 Article, #
                      10 Exhibit Barnes and Krasnokutsky Article, # 11 Exhibit Criminal Information,
                      Case No. CF−2004−0351 (Oklahoma County, Okla.), # 12 Exhibit Deaconess


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                      Medical Records of A.S., # 13 Exhibit Dena Richardson News Report, # 14 Exhibit
                      EMSA Report, # 15 Exhibit Bandak Article, # 16 Exhibit Graeme Moore News
                      Report, # 17 Exhibit IBMC CT Images, # 18 Exhibit IBMC Discharge Summary, #
                      19 Exhibit IBMC History and Physical Report, # 20 Exhibit IBMC Progress Note, #
                      21 Exhibit IBMC Radiology Report, # 22 Exhibit Jameson Cook News Report, # 23
                      Exhibit Jan Leestma Book Excerpts, # 24 Exhibit John Plunkett Article, # 25 Exhibit
                      Kassin Article Part 1, # 26 Attachment Kassin Article Part 2, # 27 Exhibit Mack
                      Preliminary Report and Exhibits 1 and 2, # 28 Attachment Mack Article, # 29 Exhibit
                      Moore Declaration, # 30 Exhibit Moore Interrogation Transcript, # 31 Exhibit
                      Ophoven Declaration and CV, # 32 Attachment Barnes 2011 Article, # 33 Exhibit
                      OU Medical Center Medical Records of A.S., # 34 Exhibit Roth Declaration, # 35
                      Exhibit Saints Pediatrics Medical Records, # 36 Exhibit Snyder Police Interview
                      Transcript, # 37 Exhibit Application for Temporary Order, # 38 Exhibit Sooner Start
                      Records, # 39 Exhibit Trial Transcript Volume I, # 40 Exhibit Trial Transcript
                      Volume II Part 1, # 41 Attachment Trial Transcript Volume II Part 2, # 42 Exhibit
                      Trial Transcript Volume III, # 43 Exhibit Trial Transcript Volume IV, # 44 Exhibit
                      Ty Tagami News Report, # 45 Exhibit Goldsmith and Plunkett Article)(Cave,
                      Christine) (Entered: 01/31/2011)
    02/07/2011   89   MOTION for Extension of Time to File Response/Reply as to 12 Order,, Reply in
                      Support of Motion for Summary Judgment by Millicent Newton Embry. Motions
                      referred to Robert Bacharach. (Looper, Jared) (Entered: 02/07/2011)
    02/08/2011   90   ORDER on this 8th day of February 2011, before the Court is Respondent's Motion
                      for Extension of Time to file a Reply in Support of the Motion for Summary
                      Judgment (Doc. #89). For good cause shown, Respondent is granted thirty (30) days
                      from and after February 7, 2011 (or until March 9, 2011) to file a Reply. granting 89
                      Motion for Extension of Time to File Response/Reply. Signed by Magistrate Judge
                      Robert Bacharach on 2/8/2011. (sr, ) (Entered: 02/08/2011)
    02/10/2011   91   ENTER ORDER. The Court will confer with counsel for both parties on 2/15/11, at
                      2:00 p.m., in Room 1305. Counsel can appear by telephone or in person, whichever
                      they prefer. Entered by direction of Magistrate Judge Robert Bacharach on 2/10/11.
                      (lb) (Entered: 02/10/2011)
    02/16/2011   93   ENTER ORDER. Judge Bacharach conducted a conference on 2/15/11, at 2:00 p.m.
                      (recorded). Christine Cave appeared for the Petitioner, and Donald Self and Jared
                      Looper participated by telephone for the Respondent. The Respondent orally
                      requested conversion of the summary judgment briefs to a limited answer on the
                      issue of timeliness. The Petitioner stated that she did not object. The Court granted
                      the Respondent's request. Therefore, the motion to dismiss (later converted to a
                      summary judgment motion), the Petitioner's response, and the Respondent's
                      subsequent reply will be considered as an answer on the issue of timeliness. If the
                      Court concludes that the habeas claim is timely, the Respondent will be permitted to
                      file a subsequent answer on the merits, AS MORE FULLY SET OUT. Entered by
                      direction of Judge Robert Bacharach on 2/16/11.(lb) (Entered: 02/16/2011)
    02/24/2011   94   ORDER. The Court requests that Respondent's counsel file by 3/7/11, anyof the
                      items required by Rule 5(c)−(d) that have not already been filed, AS MORE FULLY
                      SET OUT. Signed by Magistrate Judge Robert Bacharach on 2/24/11. (lb) (Entered:
                      02/24/2011)
    03/02/2011   95   NOTICE of Conventional Filing Ex Parte Motion to Authorize Payment of
                      Psychology Expert by Christine M Cave on behalf of Beverly M Moore (Cave,

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                       Christine) (Entered: 03/02/2011)
    03/02/2011    96   NOTICE of Conventional Filing Ex Parte Motion to Authorize Payment of
                       Ophthalmology Expert by Christine M Cave on behalf of Beverly M Moore (Cave,
                       Christine) (Entered: 03/02/2011)
    03/02/2011    97   MOTION for Order by Beverly M Moore. Motions referred to Robert Bacharach.
                       (Attachments: # 1 Exhibit 1 − Curriculum Vitae)(cps) (Entered: 03/03/2011)
    03/02/2011    98   MOTION for Order by Beverly M Moore. Motions referred to Robert Bacharach.
                       (Attachments: # 1 Exhibit 1 − Curriculum Vitae)(cps) (Entered: 03/03/2011)
    03/04/2011    99   ORDER granting 97 Petitioner's Ex Parte Motion to Authorize Payment; granting 98
                       Petitioner's Ex Parte Motion to Authorize Payment. Signed by Magistrate Judge
                       Robert Bacharach on 3/4/11. (lb) (Entered: 03/04/2011)
    03/07/2011   100   NOTICE (other) by Millicent Newton Embry re 94 Order (Attachments: # 1 Exhibit
                       1 − Brief of Appellant, # 2 Exhibit 2 − Brief of Appellee, # 3 Exhibit 3 −
                       Opinion)(Looper, Jared) (Entered: 03/07/2011)
    03/07/2011   101   NOTICE of Conventional Filing of State Court Record by Jared A Looper on behalf
                       of Millicent Newton Embry (Looper, Jared) (Entered: 03/07/2011)
    03/08/2011   102   STATE COURT RECORDS RECEIVED − CONVENTIONAL FILING by
                       Millicent Newton Embry re 101 Notice of Conventional Filing. (cps) (cps, ).
                       (Additional attachment(s) added on 7/1/2022: # 1 Attachment 1 − State Court
                       Records − Preliminary Hearing and Trial Transcripts, # 2 Attachment 2 − State Court
                       Records − Trial Exhibits, # 3 Attachment 3 − State Court Records − Sentencing and
                       Original Record) (MPF). (Entered: 03/08/2011)
    03/21/2011   103   MOTION for Extension of Time by Beverly M Moore. Motions referred to Robert
                       Bacharach. (Cave, Christine) (Entered: 03/21/2011)
    03/21/2011   104   MOTION for Extension of Time by Beverly M Moore. Motions referred to Robert
                       Bacharach. (Attachments: # 1 Exhibit FedEx Airbill, # 2 Exhibit FedEx Online
                       Tracking, # 3 Exhibit Forensic Neuropathology)(Cave, Christine) (Entered:
                       03/21/2011)
    03/21/2011         Docket Annotation: At docket entry no. 103, Petitioner filed a motion for extension
                       of time but inadvertently failed to attach the exhibits to the motion. Petitioner has
                       refiled her motion for extension of time with the attached exhibits at docket entry no.
                       104. Therefore, docket entry no. 103 is hereby terminated as a pending motion. (lb)
                       (Entered: 03/21/2011)
    03/21/2011   105   RESPONSE in Opposition re 104 MOTION for Extension of Time filed by Millicent
                       Newton Embry. (Looper, Jared) (Entered: 03/21/2011)
    03/23/2011   106   ORDER granting 104 Respondent's Motion for Extension of Time. Signed by
                       Magistrate Judge Robert Bacharach on 3/23/11. (lb) (Entered: 03/23/2011)
    04/08/2011   107   MOTION for Leave to Expand the Record and Hold Evidentiary Hearing on Actual
                       Innocence and Brief in Support by Beverly M Moore. Motions referred to Robert
                       Bacharach. (Attachments: # 1 Exhibit Titsworth v. Mullin)(Cave, Christine) (Entered:
                       04/08/2011)
    04/08/2011   108   APPENDIX Volume 1 by Beverly M Moore. (Attachments: # 1 Exhibit 911
                       Transcript, # 2 Exhibit Am. Academy of Ophthalmology Information Statement, # 3

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                       Exhibit Am. Academy of Pediatrics Paper, # 4 Exhibit Giardino Article, # 5 Exhibit
                       Autopsy Report, # 6 Exhibit B. Moore Declaration, # 7 Exhibit Barnes Preliminary
                       Report, # 8 Attachment Barnes CV − Part 1, # 9 Attachment Barnes CV − Part 2, #
                       10 Attachment Barnes Article, # 11 Exhibit Barnes and Krasnokutsky, # 12 Exhibit
                       Criminal Information, # 13 Exhibit D. Carmichael Declaration, # 14 Exhibit
                       Deaconess Medical Records of A.S., # 15 Exhibit Dena Richardson News Article, #
                       16 Exhibit E. Roth Declaration, # 17 Exhibit EMSA Report, # 18 Exhibit Bandak
                       Article, # 19 Exhibit G. Carmichael Declaration, # 20 Exhibit Gardner Report, # 21
                       Exhibit Graeme Moore News Article, # 22 Exhibit Handler Declaration, # 23 Exhibit
                       IBMC Medical Records of A.S., # 24 Exhibit J. Roth Declaration, # 25 Exhibit J.
                       Roth Supplemental Declaration, # 26 Exhibit Jameson Cook News Article, # 27
                       Exhibit Jan Leestma Book Excerpts, # 28 Exhibit John Plunkett Article)(Cave,
                       Christine) (Entered: 04/08/2011)
    04/08/2011   109   APPENDIX Volume II by Beverly M Moore. (Attachments: # 1 Exhibit M. Jones
                       Declaration, # 2 Exhibit Kassin Article − Part 1, # 3 Attachment Kassin Article − Part
                       2, # 4 Exhibit Mack Preliminary Report − Part 1, # 5 Attachment Mack Preliminary
                       Report − Part 2, # 6 Exhibit Moore Interrogation Transcript, # 7 Exhibit Ophoven
                       Declaration − Part 1, # 8 Attachment Ophoven Declaration − Part 2, # 9 Exhibit OU
                       Medical Center Medical Records of A.S., # 10 Exhibit Preliminary Hearing
                       Transcript − Part 1, # 11 Attachment Preliminary Hearing Transcript − Part 2, # 12
                       Exhibit Roberson Curriculum Vitae, # 13 Exhibit Roberson Report, # 14 Exhibit
                       Saints Pediatrics Medical Records of A.S., # 15 Exhibit Snyder Police Interview
                       Transcript, # 16 Exhibit Snyder Police Interview DVD, # 17 Exhibit Application for
                       Temporary Order, # 18 Exhibit Sooner Start Records, # 19 Exhibit Squier
                       Declaration, # 20 Exhibit T. Moore Declaration, # 21 Exhibit Trial Transcript
                       Volume I, # 22 Exhibit Trial Transcript Volume II − Part 1, # 23 Attachment Trial
                       Transcript Volume II − Part 2, # 24 Exhibit Trial Transcript Volume III, # 25 Exhibit
                       Trial Transcript Volume IV, # 26 Exhibit Ty Tagami News Article, # 27 Exhibit
                       Goldsmith and Plunkett Article)(Cave, Christine) (Entered: 04/08/2011)
    04/08/2011   110   NOTICE of Conventional Filing of Video Exhibits by Christine M Cave on behalf of
                       Beverly M Moore (Cave, Christine) (Entered: 04/08/2011)
    04/08/2011   111   REPLY by Petitioner Beverly M Moore on Issue of Timeliness filed by Beverly M
                       Moore. (Attachments: # 1 Exhibit Wisconsin v. Louis)(Cave, Christine) (Entered:
                       04/08/2011)
    04/08/2011   112   EXHIBIT in disc format for exhibits 6−A and 37 by Petitioner Beverly M Moore.
                       (cps) (Entered: 04/08/2011)
    06/13/2011   114   MOTION for Leave to File Excess Pages by Millicent Newton Embry. Motions
                       referred to Robert Bacharach. (Looper, Jared) (Entered: 06/13/2011)
    06/13/2011   115   ORDER granting 114 Respondent's Motion for Leave to File Excess Pages.
                       Respondent's consolidated response brief shall not exceed 65 pages. Signed by
                       Magistrate Judge Robert Bacharach on 6/13/11. (lb) (Entered: 06/13/2011)
    06/14/2011   116   SURREPLY re 107 MOTION for Leave to Expand the Record and Hold Evidentiary
                       Hearing on Actual Innocence and Brief in Support, 111 Reply filed by Millicent
                       Newton Embry. (Attachments: # 1 Exhibit 1 − Hollie v. Booher, unpublished
                       opinion, # 2 Exhibit 2 − Price v. Friel, unpublished, # 3 Exhibit 3 − U.S. v. Starr,
                       unpublished, # 4 Exhibit 4 − Affidavit of Sara McAmis, # 5 Exhibit 5 − Howard v.
                       Wolfe, unpublished, # 6 Exhibit 6 − Stein v. Eberlin, unpublished, # 7 Exhibit 7 −


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                       Affidavit of Eric Reynolds, # 8 Exhibit 8 − MSNBC article, # 9 Exhibit 9 − Bedford
                       County, VA article, # 10 Exhibit 10 − The Record article, # 11 Exhibit 11 − Orlando
                       Press article, # 12 Exhibit 12 − Virginia Beach article, # 13 Exhibit 13 − CBC News
                       article, # 14 Exhibit 14 − Mayo Clinic report, # 15 Exhibit 15 − National Institute of
                       Neurological Disorders report, # 16 Exhibit 16 − National Instistutes of Health report,
                       # 17 Exhibit 17 − CDC report, # 18 Exhibit 18 − American Academy of Pediatrics
                       report, # 19 Exhibit 19 − AA of Pediatrics Letters to Editor NY Times, # 20 Exhibit
                       20 − J Neurosurg Pediatrics report, # 21 Exhibit 21 − WebMD report, # 22 Exhibit 22
                       − Hess v. Tilton, unpublished, # 23 Exhibit 23 − Jones v. Knoles, unpublished, # 24
                       Exhibit 24 − Johnson v. Felker, unpublished, # 25 Exhibit 25 − Crossley v. Bell,
                       unpublished, # 26 Exhibit 26 − Flick v. Warren, unpublished, # 27 Exhibit 27 − ABA
                       Journal article, # 28 Exhibit 28 − BMJ letter, # 29 Exhibit 29 − Phillips v. Steele,
                       unpublished, # 30 Exhibit 30 − NY Times article, # 31 Exhibit 31 − Discover
                       Magazine article, # 32 Exhibit 32 − Washington Post article, # 33 Exhibit 33 −
                       Watertown Daily Times article, # 34 Exhibit 34 − Minnesota Medicine letters to
                       Editor, # 35 Exhibit 35 − John Plunkett, Forensic Pathologist report, # 36 Exhibit 36
                       − New Hampton article, # 37 Exhibit 37 − New Hampton article−2, # 38 Exhibit 38 −
                       Beyond reasonable doubt article)(Looper, Jared) (Entered: 06/14/2011)
    06/15/2011   117   MOTION for Extension of Time by Beverly M Moore. Motions referred to Robert
                       Bacharach. (Cave, Christine) (Entered: 06/15/2011)
    06/15/2011   118   MOTION for Leave, MOTION for Leave to File Reply to Brief on the Merits of
                       Actual Innocence Claim by Beverly M Moore. Motions referred to Robert Bacharach.
                       (Cave, Christine) (Entered: 06/15/2011)
    06/16/2011   119   ORDER granting 117 Petitioner's Motion for Extension of Time. Petitioner shall
                       have until 6/24/11, in which to file her Reply in support of her Motion for Leave to
                       Expand the Record and Hold Evidentiary Hearing on Actual Innocence. Signed by
                       Magistrate Judge Robert Bacharach on 6/16/11. (lb) (Entered: 06/16/2011)
    06/16/2011   120   ORDER granting 118 Petitioner's Motion for Leave to File Reply Brief on the merits
                       of her actual innocence. The deadline for the reply brief in 6/30/11. Signed by
                       Magistrate Judge Robert Bacharach on 6/16/11. (lb) (Entered: 06/16/2011)
    06/23/2011   121   REPLY to Response to Motion re 107 MOTION for Leave to Expand the Record and
                       Hold Evidentiary Hearing on Actual Innocence and Brief in Support filed by Beverly
                       M Moore. (Attachments: # 1 Exhibit Declaration of Janus Roth, # 2 Exhibit
                       Declaration of Edward Roth)(Cave, Christine) (Entered: 06/23/2011)
    06/29/2011   122   REPLY by Petitioner Beverly M Moore re 111 Reply (Supplemental) on Issue of
                       Actual Innocence filed by Beverly M Moore. (Attachments: # 1 Exhibit Autopsy
                       Report, # 2 Exhibit Supplemental Declaration of Dr. Ophoven, # 3 Exhibit Trial
                       Transcript Excerpts)(Cave, Christine) (Entered: 06/29/2011)
    07/15/2011   123   ENTER ORDER. The Court conducted a telephonic conference on 7/15/11. Donald
                       Self and Jared Looper participated by telephone and Christine Cave participated in
                       person. Both sides' attorneys expressed the preliminary view that Dr. Ingels
                       Bacharach's limited involvement would not merit recusal, but would file a request for
                       recusal by 7/19/11, if they gained further information suggesting greater involvement
                       by Dr. Ingels Bacharach. Entered by direction of Judge Robert Bacharach on 7/15/11.
                       (lb) (Entered: 07/15/2011)
    07/19/2011   124   MOTION for Recusal Limited by Millicent Newton Embry. (Looper, Jared) (Entered:
                       07/19/2011)

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    07/20/2011   125   ORDER. The present order addresses the evidence attached to the Respondent's
                       surreply, the materials attached to the Petitioner's response to the Respondent's
                       surreply, and identification of the items that the Petitioner wants to be included in the
                       expanded record, AS MORE FULLY SET OUT. Signed by Magistrate Judge Robert
                       Bacharach on 7/20/11. (lb) (Entered: 07/20/2011)
    07/22/2011   126   MOTION for Leave to Expand the Record (Limited) by Millicent Newton Embry.
                       Motions referred to Robert Bacharach. (Looper, Jared) (Entered: 07/22/2011)
    07/25/2011   127   NOTICE (other) by Beverly M Moore re 125 Order, in Response to July 20,2011,
                       Court Order (Cave, Christine) (Entered: 07/25/2011)
    07/27/2011   128   RESPONSE to Motion re 124 MOTION for Recusal Limited filed by Beverly M
                       Moore. (Attachments: # 1 Exhibit US v Siegleman, # 2 Exhibit IBMC Pediatric
                       Assess, # 3 Exhibit Trial Transcript Excerpts)(Cave, Christine) (Entered: 07/27/2011)
    08/04/2011   129   NOTICE (other) by Millicent Newton Embry re 125 Order, (Looper, Jared) (Entered:
                       08/04/2011)
    08/15/2011   130   ENTER ORDER. The Court conducted a brief telephonic conference on 8/12/11
                       regarding the multiple copies of the police interview of Beverly Moore, States
                       Exhibit 48/Ct. Exh. 1, in the Court file. Entered by direction of Judge Robert
                       Bacharach on 8/15/11. (lb) (Entered: 08/15/2011)
    08/15/2011   131   RESPONSE to Motion re 126 MOTION for Leave to Expand the Record (Limited)
                       filed by Beverly M Moore. (Cave, Christine) (Entered: 08/15/2011)
    09/07/2011   132   ORDER granting in part and denying in part 107 Petitioner's Motion for Leave to
                       Expand the Record and Hold Evidentiary Hearing. Signed by Magistrate Judge
                       Robert Bacharach on 9/7/11. (lb) (Entered: 09/08/2011)
    09/07/2011   133   ORDER granting in part and denying in part 126 Respondent's Motion for Leave to
                       Expand the Record. Signed by Magistrate Judge Robert Bacharach on 9/7/11. (lb)
                       (Entered: 09/08/2011)
    09/07/2011   134   ORDER denying 124 Respondent's Motion for Recusal. Signed by Magistrate Judge
                       Robert Bacharach on 9/7/11. (lb) (Entered: 09/08/2011)
    09/07/2011   135   PROPOSED Findings of Fact and Conclusions of Law re 22 Petition for Writ of
                       Habeas Corpus (Amended) filed by Beverly M Moore. With the new evidence, the
                       Court should apply an exception to the time−bar because Ms. Moore has proven her
                       actual innocence. Objections to R&R due by 9/26/2011. This referral is discharged.
                       Signed by Magistrate Judge Robert Bacharach on 9/7/11. (lb) (Entered: 09/08/2011)
    09/26/2011   136   OBJECTION TO REPORT AND RECOMMENDATION 135 filed by Millicent
                       Newton Embry. (Looper, Jared) (Entered: 09/26/2011)
    09/26/2011   137   OBJECTION TO REPORT AND RECOMMENDATION 135 on Limited Issue of
                       Causation filed by Beverly M Moore. (Cave, Christine) (Entered: 09/26/2011)
    10/11/2011   138   RESPONSE re 136 Objection to Report and Recommendation filed by Beverly M
                       Moore. (Attachments: # 1 Exhibit Declaration of Cave, # 2 Attachment Medical
                       Examiner Records Part 1, # 3 Attachment Medical Examiner Records Part 2)(Cave,
                       Christine) (Entered: 10/11/2011)
    10/28/2011   139   ORDER ADOPTING 135 Findings of Fact and Conclusions of Law; ORDER
                       REFERRING CASE to Magistrate Judge Robert Bacharach.. Signed by Honorable

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                       Robin J. Cauthron on 10/28/11. (lg, ) (Entered: 10/28/2011)
    11/07/2011   140   ORDER FOR RESPONSE ON THE MERITS The Court orders as follows: The
                       Respondent shall file a response on the merits to the habeas petition by November 28,
                       2011. With the response, the Respondent shall file any additional exhibits that it
                       wishes to be considered in connection with the habeas record (if any). The Petitioner
                       may file a reply brief by December 9, 2011. With the reply brief, the Petitioner may
                       file any: (1) objections to the Respondent's additions to the habeas record (if any),
                       and (2) additional exhibits to be considered in connection with the habeas record (if
                       any). By December 23, 2011, the Respondent may file any objections to the
                       Petitioner's additions to the habeas record (if any).. Signed by Magistrate Judge
                       Robert Bacharach on 11/7/2011. (sr, ) (Entered: 11/07/2011)
    11/10/2011   141   MOTION for Discovery by Beverly M Moore. Motions referred to Robert
                       Bacharach. (Attachments: # 1 Exhibit Aug. 23, 2005, Vanderventer Email to
                       Funderburk, # 2 Exhibit Sept. 4, 2005, Vanderventer Email to Funderburk, # 3
                       Exhibit T. Moore Decl., # 4 Exhibit Aug.24, 2006, Vanderventer Letter re:
                       Funderburk Bar Grievance, # 5 Exhibit July 30, 2005, Vanderventer Letter to
                       Funderburk, # 6 Exhibit Vanderventer Bar Grievance)(Cave, Christine) (Entered:
                       11/10/2011)
    11/28/2011   142   MOTION to Dismiss Amended Petition for Habeas Corpus for Failure to Exhaust by
                       Millicent Newton Embry. Motions referred to Robert Bacharach. (Looper, Jared)
                       STRICKEN by Order dated 11/29/11 (Doc. 145). Modified on 11/29/2011 (lb).
                       (Entered: 11/28/2011)
    11/28/2011   143   BRIEF IN SUPPORT re 142 MOTION to Dismiss Amended Petition for Habeas
                       Corpus for Failure to Exhaust by Millicent Newton Embry. (Attachments: # 1
                       Exhibit 1 − Chart of Procedural History)(Looper, Jared) (Entered: 11/28/2011)
    11/28/2011   144   RESPONSE in Opposition re 141 MOTION for Discovery filed by Millicent Newton
                       Embry. (Looper, Jared) (Entered: 11/28/2011)
    11/29/2011   145   ORDER striking 142 Respondent's Motion to Dismiss. The Court sua sponte extends
                       the Respondent's deadline for a response on the merits to 12/2/11. Signed by
                       Magistrate Judge Robert Bacharach on 11/29/11. (lb) (Entered: 11/29/2011)
    12/02/2011   146   NOTICE of Hearing on Motion re 141 Petitioner's MOTION for Discovery : Motion
                       Hearing set for 12/12/2011 at 2:00 PM in Courtroom 101 before Magistrate Judge
                       Robert Bacharach. (lb) (Entered: 12/02/2011)
    12/02/2011   147   MOTION for Order Motion and Brief in Support to Modify the Court's Order of
                       November 7, 2011, MOTION for Leave to File a Successive Motion Requesting
                       Dismissal for Failure to Exhaust State Remedies, OR in the Alternative, MOTION for
                       Extension of Time to File Response/Reply as to 140 Order,,, 22 Petition for Writ of
                       Habeas Corpus (Amended) by Millicent Newton Embry. Motions referred to Robert
                       Bacharach. (Looper, Jared) (Entered: 12/02/2011)
    12/02/2011   148   REPLY to Response to Motion re 141 MOTION for Discovery filed by Beverly M
                       Moore. (Attachments: # 1 Attachment In re Davis, # 2 Attachment McKnight v.
                       Bobby)(Cave, Christine) (Entered: 12/02/2011)
    12/06/2011   149   ENTER ORDER. In light of the pendency of the motion for leave to file a successive
                       motion to dismiss, the Court extends the Respondent's deadline to comply with the
                       order of 11/7/11, as more fully set out in the Enter Order. Entered by direction of


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                       Judge Robert Bacharach on 12/6/11. (lb) (Entered: 12/07/2011)
    12/08/2011   150   ENTER ORDER regarding 147 Motion for Leave to file successive motion to
                       dismiss on the issue of exhaustion, as more fully set out in the Enter Order.
                       Petitioner's response to the motion is due 12/23/11. A hearing will be conducted in
                       Courtroom 101 on 1/10/12, at 1:30 p.m. Entered by direction of Judge Robert
                       Bacharach on 12/8/11. (lb) (Entered: 12/08/2011)
    12/08/2011         Set/Reset Deadlines as to 147 MOTION for Leave to File a Successive Motion
                       Requesting Dismissal for Failure to Exhaust State Remedies. Motion Hearing set for
                       1/10/2012 at 1:30 PM in Courtroom 101 before Magistrate Judge Robert Bacharach.
                       (lb) (Entered: 12/08/2011)
    12/08/2011   151   AMENDED ENTER ORDER re 147 Motion for Leave to file successive motion to
                       dismiss on the issue of exhaustion, as more fully set out in the Amended Enter Order.
                       Petitioner's response to the motion is due 12/23/11. A hearing will be conducted in
                       Courtroom 101 on 1/10/12, at 1:30 p.m. Entered by direction of Judge Robert
                       Bacharach on 12/8/11. (lb) (Entered: 12/08/2011)
    12/09/2011   152   ENTER ORDER. The Court conducted a telephonic conference with counsel for both
                       parties. The Court concluded that it should postpone the hearing on the motion for
                       leave to conduct discovery. That hearing will be conducted on 1/10/2012, after the
                       Court conducts the hearing on the Respondent's motion for leave to file a second
                       motion to dismiss. Entered by direction of Judge Robert Bacharach on 12/9/11. (lb)
                       (Entered: 12/12/2011)
    12/09/2011         Set/Reset Hearings as to 141 Petitioner's MOTION for Discovery. Motion Hearing
                       reset for 1/10/2012 at 1:30 PM in Courtroom 101 before Magistrate Judge Robert
                       Bacharach. (lb) (Entered: 12/12/2011)
    12/16/2011   153   NOTICE of Hearing on Motion 141 Petitioner's MOTION for Discovery, 147
                       Respondent's MOTION for Leave to File a Successive Motion Requesting Dismissal
                       for Failure to Exhaust State Remedies. Motion Hearing set for 1/18/2012 at 1:30 PM
                       in Courtroom 101 before Magistrate Judge Robert Bacharach. (lb) (Entered:
                       12/16/2011)
    12/21/2011   154   RESPONSE to Motion re 147 MOTION for Order Motion and Brief in Support to
                       Modify the Court's Order of November 7, 2011 MOTION for Leave to File a
                       Successive Motion Requesting Dismissal for Failure to Exhaust State Remedies, OR
                       in the Alternative MOTION for Extension of Time to File Response/Reply as to 140
                       Order,,, 22 Petition for Writ of Habeas Corpus (Amended) MOTION for Extension
                       of Time to File Response/Reply as to 140 Order,,, 22 Petition for Writ of Habeas
                       Corpus (Amended) filed by Beverly M Moore. (Cave, Christine) (Entered:
                       12/21/2011)
    12/29/2011   155   MOTION to Withdraw as Attorney by Millicent Newton Embry. Motions referred to
                       Robert Bacharach. (Looper, Jared) (Entered: 12/29/2011)
    12/29/2011   156   ORDER granting 155 Motion to Withdraw as Attorney. Attorney Jared A Looper
                       terminated. Signed by Magistrate Judge Robert Bacharach on 12/29/2011. (brs)
                       (Entered: 12/29/2011)
    01/18/2012   158   Minute Entry for proceedings held before Magistrate Judge Robert Bacharach:
                       Motion Hearing held on 1/18/2012 re 147 Respondent's MOTION and Brief in
                       Support to Modify the Court's Order of November 7, 2011, MOTION for Leave to


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                       File a Successive Motion Requesting Dismissal for Failure to Exhaust State
                       Remedies, OR in the Alternative, MOTION for Extension of Time to File
                       Response/Reply, and 141 Petitioner's MOTION for Discovery. For the reasons stated
                       on the record, the Court granted the motions. Respondent to file a limited answer on
                       the issue of exhaustion by 1/20/12. (#13:35:08.) (lb) (Entered: 01/19/2012)
    01/20/2012   159   RESPONSE to Petition for Writ of Habeas Corpus (Amended) limited answer on
                       exhaustion by Millicent Newton Embry. (Attachments: # 1 Exhibit Chart of
                       Procedural History)(Self, Donald) (Entered: 01/20/2012)
    01/23/2012   160   ENTER ORDER: The Petitioner is granted 21 days, or until February 13, 2012, to
                       reply to Respondents limited answer on the issue of exhaustion. Signed by Magistrate
                       Judge Robert Bacharach on 1/23/2012. (brs) (Entered: 01/23/2012)
    01/30/2012   161   REPLY by Petitioner Beverly M Moore re 159 Response to Habeas Petition
                       (Amended) on Issue of Exhaustion filed by Beverly M Moore. (Attachments: # 1
                       Exhibit Form 13.11, # 2 Exhibit State's Response, # 3 Exhibit Petition for
                       Appeal)(Cave, Christine) (Entered: 01/30/2012)
    02/10/2012   162   REPORT AND RECOMMENDATION re 159 Limited Answer on the Issue of
                       Exhaustion by Millicent Newton Embry. IT IS RECOMMENDED that the Court
                       overrule the Respondent's limited answer. Objections to R&R due by 2/27/2012. The
                       referral is not discharged. Signed by Magistrate Judge Robert Bacharach on 2/10/12.
                       (lb) (Entered: 02/10/2012)
    02/10/2012   163   ORDER. The undersigned is contemporaneously issuing a report, which recommends
                       that the Court overrule the Respondent's limited answer on the issue of exhaustion of
                       state court remedies. In light of this report, the Court orders the Respondent to file an
                       answer to the amended habeas petition by 3/12/12. Petitioner's reply is due 15 days
                       after the filing of Respondent's answer. Signed by Magistrate Judge Robert
                       Bacharach on 2/10/12. (lb) (Entered: 02/10/2012)
    02/24/2012   164   NOTICE of Change of Address by Christine M Cave (Cave, Christine) (Entered:
                       02/24/2012)
    02/27/2012   165   OBJECTION TO REPORT AND RECOMMENDATION 162 Exhaustion filed by
                       Millicent Newton Embry. (Self, Donald) (Entered: 02/27/2012)
    02/27/2012   166   MOTION to Stay Case answer on merits by Millicent Newton Embry. Motions
                       referred to Robert Bacharach. (Self, Donald) (Entered: 02/27/2012)
    02/29/2012   167   ORDER deferring ruling on 166 Motion to Stay Case. The Court sua sponte extends
                       the Respondent's deadline to file an answer on the merits of the amended habeas
                       petition to 3/27/12. Signed by Magistrate Judge Robert Bacharach on 2/29/12. (lb)
                       (Entered: 02/29/2012)
    03/09/2012   168   MOTION for Leave to Expand the Record and Hold Evidentiary Hearing by Beverly
                       M Moore. Motions referred to Robert Bacharach. (Attachments: # 1 Exhibit
                       Declaration of Beverly Moore)(Cave, Christine) (Entered: 03/09/2012)
    03/12/2012   169   ENTER ORDER regarding 168 Motion for Leave to expand the record and conduct
                       evidentiary hearing. The Court will hold in abeyance the request for an evidentiary
                       hearing. Respondent has until 3/30/12, in which to object to the motion for leave to
                       expand the record. The Court again sua sponte extends the Respondent's deadline for
                       an answer from 3/27/12, to 4/10/12. Entered by direction of Judge Robert Bacharach
                       on 3/12/12. (lb) (Entered: 03/12/2012)

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    03/12/2012   170   APPENDIX Second by Beverly M Moore. (Attachments: # 1 Exhibit Autopsy Report
                       re Isaac Funderburk, # 2 Exhibit Bev Moore 2nd Declaration, # 3 Exhibit Christine
                       Cave Declaration, # 4 Exhibit Citibank v Isaac Funderburk, # 5 Exhibit Isaac
                       Funderburk's Death Certificate, # 6 Exhibit Donna Carmichael Declaration, # 7
                       Exhibit El Nacional v Isaac Funderburk, # 8 Exhibit Funderburk's Grievance
                       Response, # 9 Exhibit IRS Tax Lien filed against Isaac Funderburk 7−11−06, # 10
                       Exhibit Janus Roth Declaration−Third, # 11 Exhibit Judkins et al Am Journal of
                       Forensic Med Article 2004, # 12 Exhibit Learned Declaration − Medical Examiner's
                       office, # 13 Exhibit Dr Corey May Subpoena Documents, # 14 Exhibit Michael
                       Moore Declaration, # 15 Exhibit Mortg Elec Reg Systems v Isaac Funderburk, # 16
                       Exhibit Oklahoma v. IF Child Support Enforcement Action, # 17 Exhibit Oklahoma
                       v. Isaac Funderburk Criminal Case, # 18 Exhibit MI−2005−2563 Criminal Minute
                       Sheet, # 19 Exhibit Oklahoma v Martinez, # 20 Exhibit OK County Jail Records of
                       Visits to Moore, # 21 Exhibit Okla Co Treasurer Property Tax Records re
                       Funderburk, # 22 Exhibit SWBell v Isaac Funderburk, # 23 Exhibit Steffen Article re
                       Papilledema and acute ICP, # 24 Exhibit Terri Moore 2d Declaration, # 25 Exhibit
                       US v Isaac Funderburk − MO −Criminal Felony, # 26 Exhibit Union Federal Bank v
                       Funderburk, # 27 Exhibit Wecht Forensic Sciences 2008 Ophoven Ch Excerpts, # 28
                       Exhibit Vanderventer Declaration 12−6−11)(Cave, Christine) (Entered: 03/12/2012)
    03/15/2012   171   RESPONSE re 165 Objection to Report and Recommendation on Issue of Exhaustion
                       filed by Beverly M Moore. (Cave, Christine) (Entered: 03/15/2012)
    03/19/2012   172   RESPONSE to Motion re 166 MOTION to Stay Case answer on merits filed by
                       Beverly M Moore. (Cave, Christine) (Entered: 03/19/2012)
    03/19/2012   173   NOTICE of Hearing on Motion 166 Respondent's MOTION to Stay Case answer on
                       merits : Motion Hearing set for 4/6/2012 at 1:30 PM in Courtroom 101 before
                       Magistrate Judge Robert Bacharach. (lb, ) (Entered: 03/19/2012)
    03/23/2012   174   SUPPLEMENT re 170 Appendix,,,,,, by Beverly M Moore. (Attachments: # 1
                       Attachment Exhibit 18B to Second Appendix, # 2 Attachment Exhibit 19B to Second
                       Appendix, # 3 Attachment Exhibit 25B to Second Appendix)(Cave, Christine)
                       STRICKEN by Order dated 3/26/12. Modified on 3/26/2012 (lb, ). (Entered:
                       03/23/2012)
    03/26/2012   175   SUPPLEMENT re 170 Appendix,,,,,, by Beverly M Moore. (Attachments: # 1
                       Attachment Attachment Exhibit 18B to Second Appendix, # 2 Attachment 19B to
                       Second Appendix, # 3 Attachment Attachment Exhibit 25B to Second
                       Appendix)(Cave, Christine) (Entered: 03/26/2012)
    03/26/2012   176   MOTION to Strike 174 Supplement to Second Appendix by Beverly M Moore.
                       Motions referred to Robert Bacharach. (Cave, Christine) (Entered: 03/26/2012)
    03/26/2012   177   ORDER granting 176 Motion to Strike 174 Supplement. Signed by Magistrate Judge
                       Robert Bacharach on 3/26/12. (lb, ) (Entered: 03/26/2012)
    03/27/2012   178   MOTION for Extension of Time to respond to motion by Millicent Newton Embry.
                       Motions referred to Robert Bacharach. (Self, Donald) (Entered: 03/27/2012)
    03/29/2012   179   ORDER granting 178 Motion for Extension of Time. The Court grants the proposed
                       extension and gives the Respondent until 4/19/12, to respond to the motion for leave
                       to expand the habeas record. Signed by Magistrate Judge Robert Bacharach on
                       3/29/12. (lb, ) (Entered: 03/29/2012)



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    03/30/2012   180   FIRST MOTION for Leave to Submit Interim Voucher by Beverly M Moore.
                       Motions referred to Robert Bacharach. (Cave, Christine) (Entered: 03/30/2012)
    03/30/2012   181   ORDER The Court grants the Petitioner's Motion for Leave to Submit an Interim
                       Voucher (Dkt. No. 180). Petitioner's counsel may submit an interim voucher for work
                       performed and expenses incurred from the time of appointment through March 15,
                       2012.granting 180 Motion for Leave to. Signed by Magistrate Judge Robert
                       Bacharach on 3/30/2012. (sr, ) (Entered: 03/30/2012)
    04/06/2012   182   ORDER declines to Adopt 162 Report and Recommendation; moot 166 Motion to
                       Stay Case filed by Millicent Newton Embry ; administratively closed. Signed by
                       Honorable Robin J. Cauthron on 4/6/12. (lg, ) (Entered: 04/06/2012)
    04/11/2012   183   CERTIFICATE 18 USC 3006A(d)(3). Signed by Honorable Robin J. Cauthron on
                       4/11/12. (lg, ) (Entered: 04/11/2012)
    04/11/2012   184   EX PARTE MOTION to Clarify by Beverly M Moore. Motions referred to Robert
                       Bacharach. (Cave, Christine) (Entered: 04/11/2012)
    04/12/2012   185   AMENDED CERTIFICATE 18 USC 3006A(d)(3). Signed by Honorable Robin J.
                       Cauthron on 4/12/12. (lg, ) (Entered: 04/12/2012)
    04/16/2012   186   ORDER regarding 184 Motion to Clarify. The Court gave Ms. Cave until 5/3/12, in
                       which to file supplemental authorities and sua sponte extended the deadline for
                       initiation of post−conviction proceedings by 30 days. The Court will give
                       Respondent's counsel until 4/20/12, to state whether he wishes to respond to the
                       motion to clarify. Signed by Magistrate Judge Robert Bacharach on 4/16/12. (lb, )
                       (Entered: 04/16/2012)
    04/16/2012   187   SEALED DOCUMENT (Re: 186 Order on Motion to Clarify − Tape Recording of
                       Ex Parte Conference conducted 4/13/12).(lb, ) (Entered: 04/17/2012)
    04/20/2012   188   RESPONSE to Order Apr. 16, 2012 filed by Millicent Newton Embry. (Self, Donald)
                       (Entered: 04/20/2012)
    04/23/2012   189   Minute Entry for proceedings held before Magistrate Judge Robert Bacharach:
                       Telephone Conference held on 4/23/2012. (lb, ) (Entered: 04/24/2012)
    05/03/2012   190   SUPPLEMENT to Ex Parte Motion to Clarify by Beverly M Moore. (Attachments: #
                       1 Exhibit Puksar v Beard Stay and Abey, # 2 Exhibit Beaty v Ryan, # 3 Exhibit
                       Gwinn v Beard Stay and Abey, # 4 Exhibit Geren v Carey)(Cave, Christine)
                       (Entered: 05/03/2012)
    05/03/2012   191   ** SEALED DOCUMENT ** CJA 20: Authorization to Pay Cave. Voucher #
                       120430000049. Signed by Honorable Robin J. Cauthron on 4/10/12. (kr) (Entered:
                       05/03/2012)
    05/10/2012   192   RESPONSE in Opposition re 184 EX PARTE MOTION to Clarify filed by Millicent
                       Newton Embry. (Self, Donald) (Entered: 05/10/2012)
    05/16/2012   193   NOTICE of Hearing on Motion 184 EX PARTE MOTION to Clarify : Motion
                       Hearing set for 5/22/2012 at 2:00 PM in Courtroom 101 before Magistrate Judge
                       Robert Bacharach. (lb, ) (Entered: 05/16/2012)
    05/22/2012   194   Minute Order. Proceedings held before Magistrate Judge Robert Bacharach: Oral
                       argument held on 5/22/1012 re 184 EX PARTE MOTION to Clarify filed by Beverly
                       M Moore. For the reasons stated in open court, the Court clarified the ruling but

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                       declined to authorize compensation for the state post−conviction proceedings.
                       (#14:09:10.) (lb) (Entered: 05/23/2012)
    06/05/2012   195   NOTICE (other) by Beverly M Moore Regarding Initiation of State Proceedings
                       (Cave, Christine) (Entered: 06/05/2012)
    06/14/2012   196   CJA 24: Authorization to Pay Cave Voucher # 120601000005,
                       120601000007,120601000008, 120601000009. Signed by Magistrate Judge Robert
                       Bacharach on 5/29/12. (kr) (Entered: 06/14/2012)
    06/25/2012   197   SECOND MOTION for Leave to Submit Interim Voucher by Beverly M Moore.
                       Motions referred to Robert Bacharach. (Cave, Christine) (Entered: 06/25/2012)
    06/26/2012   198   ORDER granting 197 Petitioner's Second Motion for Leave to Submit Interim
                       Voucher. Signed by Magistrate Judge Robert Bacharach on 6/26/12. (lb) (Entered:
                       06/26/2012)
    08/06/2012   199   ** SEALED DOCUMENT ** CJA 20: Authorization to Pay Cave Voucher #
                       120709000130. Signed by Magistrate Judge Robert Bacharach on 7/2/12. (kr)
                       (Entered: 08/06/2012)
    11/15/2013   200   STATUS REPORT First by Petitioner Beverly M Moore. (Cave, Christine) (Entered:
                       11/15/2013)
    05/15/2014   201   STATUS REPORT (SECOND) by Petitioner Beverly M Moore. (Cave, Christine)
                       (Entered: 05/15/2014)
    05/15/2014   202   UNOPPOSED MOTION for Order to Use Federal Hearing Room for State Hearings
                       by Beverly M Moore. Motions referred to Robert Bacharach. (Attachments: # 1
                       Exhibit State's Resp to 2nd App for Post−Conviction Relief)(Cave, Christine)
                       (Entered: 05/15/2014)
    10/03/2014   203   MOTION to Lift Stay and Excuse Exhaustion by Beverly M Moore. Motions referred
                       to Robert Bacharach. (Attachments: # 1 Exhibit State's Response to 2nd App for
                       Relief final, # 2 Exhibit June 25, 2013 Hearing Transcript, # 3 Exhibit July 09, 2013
                       Hearing Transcript, # 4 Exhibit May 23, 2014 Hearing Transcript, # 5 Exhibit Cave
                       Declaration)(Cave, Christine) (Entered: 10/03/2014)
    10/03/2014   204   MOTION to Expedite CONSIDERATION OF PETITIONERS POST−REMAND
                       MOTION TO LIFT STAY AND EXCUSE EXHAUSTION by Beverly M Moore.
                       Motions referred to Robert Bacharach. (Cave, Christine) (Entered: 10/03/2014)
    10/06/2014   205   ORDER granting 204 MOTION to Expedite CONSIDERATION OF PETITIONERS
                       POST−REMAND MOTION TO LIFT STAY AND EXCUSE EXHAUSTION filed by
                       Beverly M Moore.. Signed by Honorable Robin J. Cauthron on 10/6/14. (lg)
                       (Entered: 10/06/2014)
    10/09/2014   206   RESPONSE in Opposition re 203 MOTION to Lift Stay and Excuse Exhaustion filed
                       by Millicent Newton Embry. (Attachments: # 1 Exhibit 1 − Oklahoma County Case
                       CF−2004−351, docket sheet, # 2 Exhibit 2 − Motion Hearing transcript, June 25,
                       2013, # 3 Exhibit 3 − Motion to Quash transcript, May 23, 2014, # 4 Exhibit 4 −
                       Status Conference transcript, July 9, 2013, # 5 Exhibit 5 − Order to Dr. John C. Yang
                       filed Sept. 28, 2012, # 6 Exhibit 6 − Order to Coyle Law Firm filed Oct. 3, 2012, # 7
                       Exhibit 7 − Order to Prohealth Pharmacy filed Oct 3, 2012, # 8 Exhibit 8 − Order to
                       Dr. Larry Prater filed Oct. 31, 2012, # 9 Exhibit 9 − Order to Dr. Lanny G. Anderson
                       filed Oct. 31, 2012, # 10 Exhibit 10 − Petitioner's Second Motion for Discovery, # 11


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                       Exhibit 11 − Order to Dr. Charles H. Funderburk filed Dec. 18, 2012, # 12 Exhibit 12
                       − Order to Walgreens filed Dec. 18, 2012, # 13 Exhibit 13 − Order to Walmart filed
                       Dec. 18, 2012, # 14 Exhibit 14 − Order to Dr. Claudia Rossavik filed Dec. 18, 2012,
                       # 15 Exhibit 15 − Order to Dr. Sally Varghese filed Dec. 18, 2012, # 16 Exhibit 16 −
                       Order to Mercy Hospital filed Dec. 18, 2012, # 17 Exhibit 17 − Order to Integris
                       Baptist Medical Ctr filed Dec. 18, 2012, # 18 Exhibit 18 − Order to Dr. Erin Glasgow
                       filed Dec. 18, 2012, # 19 Exhibit 19 − Order to Dr. Billy Buffington filed Dec. 18,
                       2012, # 20 Exhibit 20 − Minute Order filed Dec. 18, 2012, # 21 Exhibit 21 − Order to
                       Dr. Carla Werner filed Jan. 31, 2013, # 22 Exhibit 22 − Order to Buy for Less
                       Pharmacy filed Jan. 31, 2013, # 23 Exhibit 23 − Order to Dr. John Pittman filed Jan.
                       31, 2013, # 24 Exhibit 24 Order to Wheeler Stuckey filed Jan. 31, 2013, # 25 Exhibit
                       25 − Order to Dr. Sally Varghese filed Jan. 31, 2013, # 26 Exhibit 26 − Order to First
                       Med filed Feb. 22, 2013, # 27 Exhibit 27 − Order to CVS filed Feb. 22, 2013, # 28
                       Exhibit 28 − Order to Target filed Feb. 22, 2013, # 29 Exhibit 29 − Order First Med
                       filed Feb. 22, 2013, # 30 Exhibit 30 − OK Bar Assoc. Special Appearance and
                       Motion to Quash, # 31 Exhibit 31 − Court Minute Order filed May 5, 2014, # 32
                       Exhibit 32 − Court Minute Order filed Jun 10, 2014)(Self, Donald) (Entered:
                       10/09/2014)
    10/14/2014   207   REPLY to Response to Motion re 203 MOTION to Lift Stay and Excuse Exhaustion
                       filed by Beverly M Moore. (Cave, Christine) (Entered: 10/14/2014)
    11/05/2014   208   ORDER denying 203 Petitioner Moore's Post−Remand Motion to Lift Stay and
                       Excuse Exhaustion. Signed by Honorable Robin J. Cauthron on 11/5/14. (lg)
                       (Entered: 11/05/2014)
    12/11/2014   209   NOTICE (other) by Beverly M Moore re 202 UNOPPOSED MOTION for Order to
                       Use Federal Hearing Room for State Hearings (Cave, Christine) (Entered:
                       12/11/2014)
    12/16/2014   210   ORDER withdrawing 202 Unopposed Motion for Use of Federal Court Hearing
                       Room. Signed by Honorable Robin J. Cauthron on 12/16/14. (lg) (Entered:
                       12/16/2014)
    09/07/2017   211   STATUS REPORT On State Proceedings by Petitioner Beverly M Moore. (Cave,
                       Christine) (Entered: 09/07/2017)
    02/27/2018   212   NOTICE of Change of Address by Christine M Cave (Cave, Christine) (Entered:
                       02/27/2018)
    03/23/2018   213   SECOND MOTION to Lift Stay and Excuse Exhaustion by Beverly M Moore.
                       (Cave, Christine) (Entered: 03/23/2018)
    04/02/2018   214   RESPONSE in Opposition re 213 SECOND MOTION to Lift Stay and Excuse
                       Exhaustion filed by Millicent Newton Embry. (Attachments: # 1 Exhibit 1 − Order
                       Denying PC Relief after EH)(Self, Donald) (Entered: 04/02/2018)
    04/09/2018   215   REPLY to Response to Motion re 213 SECOND MOTION to Lift Stay and Excuse
                       Exhaustion filed by Beverly M Moore. (Cave, Christine) (Entered: 04/09/2018)
    05/30/2018   216   MEMORANDUM OPINION AND ORDER denying 213 SECOND MOTION to
                       Lift Stay and Excuse Exhaustion. Signed by Honorable Robin J. Cauthron on
                       05/30/18. (wh) (Entered: 05/30/2018)
    09/12/2018   217   ORDER REASSIGNING CASE. Case reassigned to Honorable Charles Goodwin for
                       all further proceedings. Honorable Robin J. Cauthron no longer assigned to case.

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                       Signed by Honorable Robin J. Cauthron on 9/12/18. (wh) (Entered: 09/12/2018)
    11/09/2018   218   MOTION to Lift Stay to Resume Habeas Proceedings by Beverly M Moore.
                       (Attachments: # 1 Exhibit State District Court Denies Post−Conviction Application, #
                       2 Exhibit OCCA Order Affirming Denial of Subsequent Application for
                       Post−Conviction Relief)(Cave, Christine) (Entered: 11/09/2018)
    01/18/2019   219   ORDER granting 218 MOTION to Lift Stay to Resume Habeas Proceedings filed by
                       Beverly M Moore as set forth herein. Signed by Honorable Charles Goodwin on
                       01/18/2019. (jb) (Entered: 01/18/2019)
    02/13/2019   220   ENTRY of Appearance by Tessa L Henry on behalf of Millicent Newton Embry
                       (Henry, Tessa) (Entered: 02/13/2019)
    03/14/2019   221   MOTION to Withdraw as Attorney Donald D. Self by Millicent Newton Embry.
                       (Slayton, Diane) (Entered: 03/14/2019)
    03/14/2019   222   UNOPPOSED MOTION for Extension of Time to File Amended Pleading and
                       Related Legal Briefs by Beverly M Moore. (Cave, Christine) (Entered: 03/14/2019)
    03/20/2019   223   ORDER granting 221 Motion to Withdraw as Attorney. Attorney Donald D Self
                       terminated. Signed by Honorable Charles Goodwin on 03/20/2019. (jb) (Entered:
                       03/20/2019)
    03/20/2019   224   ORDER granting 222 Motion for Extension of Time. Petitioner shall file her
                       amended petition on or before April 19, 2019. No later than June 18, 2019,
                       Respondent shall file an answer addressing the allegations of Petitioners amended
                       petition, as set forth more particularly in the Courts January 18, 2019 order. Signed
                       by Honorable Charles Goodwin on 03/20/2019. (jb) (Entered: 03/20/2019)
    04/04/2019   225   ENTER ORDER REFERRING CASE to Magistrate Judge Gary M. Purcell. Signed
                       by the direction of Honorable Charles Goodwin on 04/04/2019. (jb) (Entered:
                       04/04/2019)
    04/19/2019   226   SECOND PETITION for Writ of Habeas Corpus (Amended) filed by Beverly M
                       Moore.(Cave, Christine) (Entered: 04/19/2019)
    04/19/2019   227   BRIEF IN SUPPORT re 226 Petition for Writ of Habeas Corpus (Amended) by
                       Beverly M Moore. (Attachments: # 1 Attachment A − COCA Order Affirming
                       Denial of Subsequent Application for Post−Conviction Relief, # 2 Attachment B −
                       State Court's Order Denying PC Relief, # 3 Attachment C − State's Proposed
                       Findings of Facts and Conclusions of Law)(Cave, Christine) (Entered: 04/19/2019)
    04/19/2019   228   MOTION for Hearing re 226 Petition for Writ of Habeas Corpus (Amended) by
                       Beverly M Moore. Motions referred to Gary M. Purcell. (Cave, Christine) (Entered:
                       04/19/2019)
    04/24/2019   229   MOTION for Extension of Time to File Response/Reply as to 228 MOTION for
                       Hearing re 226 Petition for Writ of Habeas Corpus (Amended) by Millicent Newton
                       Embry. Motions referred to Gary M. Purcell. (Slayton, Diane) (Entered: 04/24/2019)
    04/25/2019   230   ORDER granting 229 Motion for Extension of Time to File Response/Reply..
                       Respondent shall file the Response to Petitioner's Motion to Hold Evidentiary
                       Hearing no later than June 18, 2019. Signed by Magistrate Judge Gary M. Purcell on
                       4/25/2019. (cps) (Entered: 04/25/2019)
    06/17/2019   231

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                       UNOPPOSED MOTION for Extension of Time to File Response/Reply as to 226
                       Petition for Writ of Habeas Corpus (Amended), 228 MOTION for Hearing re 226
                       Petition for Writ of Habeas Corpus (Amended) by Millicent Newton Embry. Motions
                       referred to Gary M. Purcell. (Slayton, Diane) (Entered: 06/17/2019)
    06/19/2019   232   ORDER granting 231 Motion for Extension of Time to File Response/Reply.
                       Responses due by 7/18/2019. Respondent shall file the Response(s) to Petitioner's
                       Second Amended Habeas Petition and Motion to HoldEvidentiary Hearing Docs. 226
                       and 228 no later than July 18, 2019. Signed by Magistrate Judge Gary M. Purcell on
                       6/19/2019. (cps) (Entered: 06/19/2019)
    07/18/2019   233   RESPONSE in Opposition re 228 MOTION for Hearing re 226 Petition for Writ of
                       Habeas Corpus (Amended) filed by Millicent Newton Embry. (Slayton, Diane)
                       (Entered: 07/18/2019)
    07/18/2019   234   RESPONSE re 227 Brief, 226 Petition for Writ of Habeas Corpus (Amended) filed
                       by Millicent Newton Embry. (Attachments: # 1 Exhibit 1 − Opinion Case No.
                       F−06−63, # 2 Exhibit 2 − Amended Judgment and Sentence, # 3 Exhibit 3 − App. for
                       PCR 9−26−08, # 4 Exhibit 4 − Order Denying PCR 10−23−08, # 5 Exhibit 5 −
                       Petition in Error HC−09−33 1−16−09, # 6 Exhibit 6 − Order Declining Jurisdiction
                       and Dismissal 3−9−09, # 7 Exhibit 7 − 2nd App. for PCR, # 8 Exhibit 8 − Brief in
                       Suppt of 2nd App. for PCR, # 9 Exhibit 9 − Joint Statement of Procedural Hist., # 10
                       Exhibit 10 − Order Denying App. for PCR after Evid. Hrg., # 11 Exhibit 11 − Org.
                       Brief for Beverly Moore, # 12 Exhibit 12 − Order Affirming Denial of Sub. App. for
                       PCR, # 13 Exhibit 13 − Relevant PC OR pages, # 14 Exhibit 14 − Evid. Hrg. Ex. 45,
                       # 15 Exhibit 15 − Defendant's Witness and Exhibit List, # 16 Exhibit 16 − Motion in
                       Limine, # 17 Exhibit 17 − Motion for Continuance, # 18 Exhibit 18 − Motion for
                       Cont. and Waiver of Speedy Trial, # 19 Exhibit 19 − Relavant Trial Transcript Pages,
                       # 20 Exhibit 20 − Relevant Evid. Hrg. Pgs)(Slayton, Diane) (Entered: 07/18/2019)
    07/23/2019   235   ENTRY of Appearance by Andrea D Miller on behalf of Beverly M Moore (Miller,
                       Andrea) (Entered: 07/23/2019)
    07/24/2019   236   UNOPPOSED MOTION for Extension of Time to File Response/Reply as to 234
                       Response,,,, 233 Response in Opposition to Motion by Beverly M Moore. Motions
                       referred to Gary M. Purcell. (Cave, Christine) (Entered: 07/24/2019)
    07/25/2019   237   ORDER granting 236 Motion for Extension of Time to File Response/Reply.
                       Responses due by 8/15/2019. Petitioner may submit her reply to Respondent's
                       Response to Petitioner's Motion to Hold Evidentiary Hearing; and her reply to
                       Respondent's Response to Second Amended Petition for Writ of Habeas Corpus no
                       later than August 15, 2019.Signed by Magistrate Judge Gary M. Purcell on
                       7/25/2019. (cps) (Entered: 07/25/2019)
    08/15/2019   238   REPLY to Response to Motion re 228 MOTION for Hearing re 226 Petition for Writ
                       of Habeas Corpus (Amended) filed by Beverly M Moore. (Cave, Christine) (Entered:
                       08/15/2019)
    08/15/2019   239   REPLY to Response re 227 Brief in Support re 226 Petition for Writ of Habeas
                       Corpus (Amended) filed by Beverly M Moore. (Attachments: # 1 Exhibit 1 − Tr. July
                       9 2013, # 2 Exhibit 2 − Pet's Proposed Findings of Facts)(Cave, Christine) (Entered:
                       08/15/2019)
    09/03/2019   240   STATE COURT RECORDS RECEIVED − CONVENTIONAL FILING − Received
                       on 07/18/19. (ank) (Entered: 09/03/2019)


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    10/15/2019   241   MOTION to Withdraw as Attorney by Millicent Newton Embry. Motions referred to
                       Gary M. Purcell. (Slayton, Diane) (Entered: 10/15/2019)
    10/17/2019   242   ORDER granting 241 Motion to Withdraw as Attorney. Attorney Diane L Slayton
                       terminated. Signed by Magistrate Judge Gary M. Purcell on 10/17/2019. (cps)
                       (Entered: 10/17/2019)
    12/12/2019   243   ORDER denying 228 Motion for Evidentiary Hearing without prejudice. Signed by
                       Magistrate Judge Gary M. Purcell on 12/12/2019. (cps) (Entered: 12/12/2019)
    12/12/2019   244   REPORT AND RECOMMENDATION: it is recommended that Respondent be
                       ordered to respond to the merits of Petitioners constitutional claims. Objections to
                       R&R due by 1/2/2020.This Report and Recommendation disposes of all issues
                       referred to the undersigned Magistrate Judge in the captioned matter. Signed by
                       Magistrate Judge Gary M. Purcell on 12/12/2019. (cps) (Entered: 12/12/2019)
    12/12/2019         Magistrate Judge Gary M. Purcell no longer assigned to case. (cps) (Entered:
                       12/12/2019)
    01/02/2020   245   OBJECTION TO REPORT AND RECOMMENDATION 244 Petitioner's Limited
                       Objection to Report and Recommendation filed by Beverly M Moore. (Attachments:
                       # 1 Exhibit 1 − 2012 09 04 − State's Response to Second App. for Relief)(Cave,
                       Christine) (Entered: 01/02/2020)
    01/09/2020   246   ENTRY of Appearance by Caroline EJ Hunt on behalf of Millicent Newton Embry
                       (Hunt, Caroline) (Entered: 01/09/2020)
    01/14/2020   247   RESPONSE re 245 Objection to Report and Recommendation, filed by Millicent
                       Newton Embry. (Henry, Tessa) (Entered: 01/14/2020)
    05/14/2020   248   ORDER ADOPTING 244 REPORT AND RECOMMENDATION. Respondent shall
                       be permitted to file an answer to the Second Amended Petition that addresses the
                       merits of the federal habeas claims raised therein. This matter is again referred to
                       Magistrate Judge Purcell for further proceedings consistent with the previous order of
                       referral. Signed by Honorable Charles Goodwin on 05/14/2020. (jb) (Entered:
                       05/14/2020)
    05/15/2020   249   ENTER ORDER. Respondent shall file a response to Petitioners Second Amended
                       Petition addressing the merits of the same no later than June 15, 2020. Signed by
                       Magistrate Judge Gary M. Purcell on 5/15/2020. (cps) (Entered: 05/15/2020)
    06/15/2020   250   RESPONSE re 226 Petition for Writ of Habeas Corpus (Amended), 227 Brief, filed
                       by Millicent Newton Embry. (Hunt, Caroline) (Entered: 06/15/2020)
    06/16/2020   251   ENTER ORDER. Petitioner may reply to the Supplemental Response to Second
                       Amended Petition Doc. 250 on or before July 6th, 2020 if she so desires. Signed by
                       Magistrate Judge Gary M. Purcell on 6/16/2020. (cps) (Entered: 06/16/2020)
    07/02/2020   252   UNOPPOSED MOTION for Extension of Time to File Response/Reply as to 251
                       Order, 250 Response Re: Supplemental Response to Second Amended Petition for
                       Writ of Habeas Corpus by Beverly M Moore. Motions referred to Gary M. Purcell.
                       (Cave, Christine) (Entered: 07/02/2020)
    07/06/2020   253   ORDER granting 252 Motion for Extension of Time to File Response/Reply.
                       Petitioner may submit her reply to Respondent's Supplemental Response to Second
                       Amended Petition no later than July 27, 2020. Signed by Magistrate Judge Gary M.


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                       Purcell on 7/6/2020. (cps) (Entered: 07/06/2020)
    07/20/2020         IMPORTANT NOTICE: The United States District Court for the Western District
                       of Oklahoma (OKWD) is upgrading its current CM/ECF system to the Next
                       Generation of CM/ECF (NextGen CM/ECF) on Monday, August 3, 2020. Complete
                       information regarding the OKWD NextGen CM/ECF implementation is available at
                       http://www.okwd.uscourts.gov/nextgen−information.****Currently, you may share a
                       single PACER account with other attorneys in your firm. With the new OKWD
                       NextGen CM/ECF system, sharing of individual PACER accounts is prohibited. You
                       must have an individual upgraded PACER account linked to your e−filing account.
                       Once again, shared PACER accounts cannot be used by OKWD e−filing attorneys.
                       ****Preparing for NextGen CM/ECF is a two−step process. Step one is to upgrade
                       your PACER account and step two is to link your upgraded PACER account to the
                       OKWD e−filing account in the upgraded NextGen CM/ECF system. This notice only
                       addresses the first step because the second step cannot be completed until on or after
                       August 3, 2020. ****Many PACER accounts have already been upgraded. The first
                       step is to determine whether you have an "Upgraded" PACER account. If any of the
                       following is true, you have an upgraded PACER account and no action is required
                       until after the OKWD NextGen CM/ECF upgrade on August 3, 2020: 1) You have an
                       upgraded PACER account for another NextGen court or 2) Your PACER account
                       was created after August 10, 2014. If neither of these is true, you must upgrade your
                       legacy PACER account before you can link your PACER account to your new
                       NextGen CM/ECF account. ****OKWDs current CM/ECF system will NOT be
                       available from 11:00 AM on 07/31/20 until 8:00 AM on 08/03/20 due to the upgrade.
                       ****Additional notices will be sent at a later date regarding the second step of this
                       process. If you have questions, please contact the PACER Service Center at
                       800−676−6856 or the OKWD Clerk's Office CM/ECF Help Desk at 405−609−5555.
                       (Pigott, William) (ADI) (Entered: 07/20/2020)
    07/27/2020   254   REPLY by Petitioner Beverly M Moore re 226 Petition for Writ of Habeas Corpus
                       (Amended), 227 Brief, 250 Response filed by Beverly M Moore. (Attachments: # 1
                       Attachment Facts Alleged to Support Claim of Def. Performance, # 2 Attachment
                       Summary of Material Facts Alleged to Support Conflict of Interest Claim, # 3 Exhibit
                       2017 01 17 − Pet'r's Proposed Findings of Facts, # 4 Exhibit Medical Examiner's
                       Report)(Cave, Christine) (Entered: 07/27/2020)
    07/27/2020   255   MOTION for Hearing Mot for Evidentiary Hearing by Beverly M Moore. Motions
                       referred to Gary M. Purcell. (Attachments: # 1 Attachment Attachment A − Facts
                       Alleged to Support Claim of Deficient Performance, # 2 Attachment Attachment B −
                       Summary of Material Facts Alleged to Support Conflict of Interest Claim)(Cave,
                       Christine) (Entered: 07/27/2020)
    08/17/2020   256   OBJECTIONS re 255 MOTION for Hearing Mot for Evidentiary Hearing filed by
                       Aboutanaa El Habti. (Hunt, Caroline) (Entered: 08/17/2020)
    08/24/2020   257   UNOPPOSED MOTION for Extension of Time to File Response/Reply as to 256
                       Objections, 255 MOTION for Hearing Mot for Evidentiary Hearing by Beverly M
                       Moore. Motions referred to Gary M. Purcell. (Cave, Christine) (Entered: 08/24/2020)
    08/24/2020   258   ORDER granting 257 Motion for Extension of Time to File Response/Reply.
                       Responses due by 8/31/2020. Signed by Magistrate Judge Gary M. Purcell on
                       8/24/2020. (cps) (Entered: 08/24/2020)
    08/31/2020   259


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                       REPLY to Response to Motion re 255 MOTION for Hearing Mot for Evidentiary
                       Hearing filed by Beverly M Moore. (Cave, Christine) (Entered: 08/31/2020)
    03/22/2021   260   ORDER denying 255 Motion for Hearing. Signed by Magistrate Judge Gary M.
                       Purcell on 3/22/2021. (cps) (Entered: 03/22/2021)
    03/22/2021   261   SUPPLEMENTAL REPORT AND RECOMMENDATION − It is recommended the
                       Petitioner's Second Amended Petition for Writ of Habeas Corpus be granted.
                       Objections to R&R due by 4/12/2021. It is further recommended that the Writ of
                       Habeas Corpus be issued, unless within ninety (90) days of the entry of an Order
                       adopting this Supplemental Report and Recommendation, the State grants Petitioner
                       a new trial or, in the alternative, orders her permanent release from custody. This
                       Supplemental Report and Recommendation disposes of all issues referred to the
                       undersigned Magistrate Judge in the captioned matter, and any pending motion not
                       specifically addressed herein is denied. Signed by Magistrate Judge Gary M. Purcell
                       on 3/22/2021. (cps) (Entered: 03/22/2021)
    03/22/2021         Magistrate Judge Gary M. Purcell no longer assigned to case. (cps) (Entered:
                       03/30/2021)
    04/07/2021   262   MOTION for Extension of Time to File Response/Reply as to 261 REPORT AND
                       RECOMMENDATION re 22 Petition for Writ of Habeas Corpus (Amended) filed by
                       Beverly M Moore by Aboutanaa El Habti. (Hunt, Caroline) (Entered: 04/07/2021)
    04/07/2021   263   ORDER granting 262 Motion for Extension of Time to File Response/Reply re 261
                       REPORT AND RECOMMENDATION re 22 Petition for Writ of Habeas Corpus
                       (Amended) filed by Beverly M Moore. Responses due by 4/26/2021. Signed by
                       Honorable Charles Goodwin on 04/07/2021. (jb) (Entered: 04/07/2021)
    04/26/2021   264   OBJECTION TO REPORT AND RECOMMENDATION 261 filed by Aboutanaa El
                       Habti. (Hunt, Caroline) (Entered: 04/26/2021)
    05/07/2021   265   UNOPPOSED MOTION for Extension of Time to File Response/Reply as to 264
                       Objection to Report and Recommendation, 261 REPORT AND
                       RECOMMENDATION re 22 Petition for Writ of Habeas Corpus (Amended) filed by
                       Beverly M Moore by Beverly M Moore. (Cave, Christine) (Entered: 05/07/2021)
    05/07/2021   266   ORDER granting 265 UNOPPOSED MOTION for Extension of Time to File
                       Response/Reply as to 264 Objection to Report and Recommendation, 261 REPORT
                       AND RECOMMENDATION re 22 Petition for Writ of Habeas Corpus (Amended)
                       filed by Beverly M Moore . Petitioner's response is due on or before May 17, 2021.
                       Signed by Honorable Charles Goodwin on 05/07/2021. (jb) (Entered: 05/07/2021)
    05/17/2021   267   RESPONSE re 264 Objection to Report and Recommendation re 261 Supplemental
                       Report and Recommendation re 22 Petition for Writ of Habeas Corpus (Amended)
                       filed by Beverly M Moore. (Attachments: # 1 Exhibit 1 − Declaration of Eric
                       Reynolds)(Cave, Christine) (Entered: 05/17/2021)
    08/14/2023   268   MOTION for Hearing Status Conference by Beverly M Moore. (Cave, Christine)
                       (Entered: 08/14/2023)
    09/11/2023   269   ORDER ADOPTING 261 SUPPLEMENTAL REPORT AND
                       RECOMMENDATION as modified. The Second Amended Petition for Writ of
                       Habeas Corpus (Doc. No. 226 ) is CONDITIONALLY GRANTED as to Ground One
                       as follows: The State of Oklahoma may commence proceedings for a new trial on the
                       underlying charge within 90 days of the entry of this Order. Failure to commence

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                       such proceedings within 90 days shall result in this Court ordering Petitioner Beverly
                       Michelle Moore's permanent discharge and release from all restraints and custody of
                       the State of Oklahoma on the conviction at issue. IT IS FURTHER ORDERED that
                       Petitioner's Request for Status Conference (Doc. No. 268 ) is DENIED AS MOOT.
                       Signed by Judge Charles Goodwin on 09/11/2023. (jb) (Entered: 09/11/2023)
    09/11/2023   270   JUDGMENT. The Second Amended Petition for Writ of Habeas Corpus (Doc. No.
                       226 ) is CONDITIONALLY GRANTED as to Ground One as follows: The State of
                       Oklahoma may commence proceedings for a new trial on the underlying charge
                       within 90 days of the entry of this Order. Failure to commence such proceedings
                       within 90 days shall result in this Court ordering Petitioner's permanent discharge and
                       release from all restraints and custody of the State of Oklahoma on the conviction at
                       issue. Grounds Two through Five of the Second Amended Petition for Writ of
                       Habeas Corpus are hereby dismissed without prejudice. Signed by Judge Charles
                       Goodwin on 09/11/2023. (jb) (Entered: 09/11/2023)
    09/14/2023   271   NOTICE OF APPEAL by Aboutanaa El Habti. Filing fee $ 505, receipt number
                       AOKWDC−4250468. (Hunt, Caroline) (Entered: 09/14/2023)




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             IN THE UNITED STATES DISTRICT COURT FOR THE
                    WESTERN DISTRICT OF OKLAHOMA

 BEVERLY MICHELLE MOORE,     )
                             )
     Petitioner,             )
                             )
 v.                          )                CIV-09-985-G
                             )
 ABOUTANAA EL HABTI, Warden, )
                             )
     Respondent.             )

            SUPPLEMENTAL REPORT AND RECOMMENDATION

       Petitioner, a state prisoner appearing through counsel, brings this habeas

 action under 28 U.S.C. § 2254 challenging her state court conviction of Murder in

 the First Degree. United States District Judge Charles Goodwin has referred this case

 for initial proceedings consistent with 28 U.S.C. § 636(b)(1)(B). Respondent has

 filed a Supplemental Response, Doc. No. 250, and Petitioner has filed a Reply. Doc.

 No. 254. For the reasons set forth herein, it is recommended the Second Amended

 Petition be granted.

 I.    Background Information

       On January 13, 2004, at approximately 2:58 p.m., Petitioner called 911

 explaining that A.S., her boyfriend’s son who was 18 months old, had fallen, had a

 bump on the back of his head, and was “sort of” breathing. Todd Snyder, A.S.’s

 father, had left the home at approximately 2:45 p.m. to go to a pawn shop and A.S.

 had been upset when his father left. Following the arrival of EMSA and the fire

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 department, A.S. was taken by ambulance to Baptist Integris Medical Hospital

 (“Integris”). The following day, A.S. was pronounced brain dead, the physicians

 withdrew life support, and he passed away.

        The Integris treating physicians immediately suspected that child abuse

 caused A.S.’s condition. Dr. Johnny Griggs, one of A.S.’s treating physicians,

 diagnosed A.S.’s cause of death as shaken baby syndrome. Dr. Chai Choi, who

 performed A.S.’s autopsy, concluded the cause of death was blunt force head

 trauma.1 Dr. Griggs later testified that Mr. Snyder and Petitioner told him that prior

 to January 13, 2004, A.S. was a well-developed, functioning, and very healthy child.

       Prior to A.S.’s death, police interviewed both Petitioner and Mr. Snyder

 separately. Eventually, Petitioner offered a confession of “shaking” A.S. There is

 conflicting evidence regarding whether the confession was coerced, voluntary,

 and/or whether her descriptions of shaking A.S. correspond with his injuries.

 Petitioner was ultimately charged with First Degree Murder by “on or about the 13th

 day of January 2004 . . . willfully or maliciously injur[ing] . . . or using unreasonable

 force upon a child under the age of eighteen, specifically: [A.S.], thereby . . .

 caus[ing] his death.” Doc. No. 108-12 at 1. Following a jury trial held from

 September 12-16, 2005, Petitioner was found guilty and sentenced to life



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  In the interest of clarity, the Court notes this combination may be referred to as “shaken
 impact.”

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 imprisonment. The legal representation Petitioner received during her criminal

 proceedings is the primary basis of her claim for habeas relief and the claim the

 Court addresses herein.

       Of particular relevance, it is undisputed A.S. was not an entirely healthy, well-

 developed child prior to January 13, 2004. He was diagnosed with failure to thrive

 and displayed significant developmental delays and behavioral problems, including

 tantrums in which he would throw himself backward onto the floor. He experienced

 multiple falls during the few months before his death, including one resulting in

 hitting his head and being taken to the emergency room for medical care, though no

 scans or x-rays were performed. During the week prior to his death, A.S. fell in a

 cast iron tub at his biological mother’s home. He was also lethargic and experiencing

 diarrhea during that week.

       Petitioner retained Isaac Funderburk to represent her during her criminal

 proceedings. He enlisted the assistance of David Slane who had more experience in

 criminal defense. Prior to Petitioner’s trial, funds were provided to Mr. Funderburk

 to, inter alia, hire medical expert witnesses. Initially, the defense theory was based

 upon the contention that A.S.’s fatal injuries were incurred outside of the

 approximately thirteen minutes in which Petitioner was alone with him prior to his

 collapse. Petitioner and her supporters communicated to Mr. Funderburk their desire

 to obtain a medical expert witness from the Shaken Baby Syndrome Defense



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 website. This was one resource out of several that had arisen from a growing debate

 within the medical community regarding whether short falls could explain injuries

 to children that were being diagnosed as shaken baby syndrome. It is undisputed the

 defense did not contact an expert witness from this or any similar resource.

        On September 1, 2005, less than two weeks before trial, Mr. Funderburk

 contacted Dr. Corrie May, a medical expert witness located in Kansas City. Dr. May

 reviewed the records provided by Mr. Funderburk and the defense received her

 opinion during the weekend before Petitioner’s trial. Therein, she concluded that

 A.S.’s injuries were consistent with the opinions of the medical examiner and

 treating physician. However, she also suggested additional testing or evaluations by

 certain specialists, but these were not performed.

        The defense did not offer any expert witness testimony during Petitioner’s

 trial. Instead, they relied on attacking the State’s case through cross-examination of

 its medical experts. They also put forth the theory that Mr. Snyder inflicted A.S.’s

 fatal injuries.

        During post-conviction proceedings, Petitioner obtained further medical

 evaluations, including histological slides taken during A.S.’s autopsy. She has

 presented five different expert witness opinions detailing their findings and

 indicating A.S.’s fatal injuries were incurred days, if not weeks or months, prior to

 January 13, 2004. One of her primary claims in requesting habeas relief is that Mr.



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 Funderburk provided ineffective assistance of counsel based on his failure to obtain

 and present medical expert witness testimony. Respondent contends that any such

 expert testimony would have been challenged as a “minority” opinion within the

 medical community and found not credible.

       Additionally, following her conviction, Petitioner suspected Mr. Funderburk

 had misappropriated the funds provided for her defense. Petitioner and individuals

 who provided funds for her defense filed grievances with the Oklahoma Bar

 Association (“OBA”) regarding Mr. Funderburk’s representation and possible

 misappropriation of funds. The OBA requested responses from Mr. Funderburk,

 including but not limited to an accounting of the funds received and disbursed for

 Petitioner’s defense. The OBA found that Mr. Funderburk’s accounting was

 inadequate, but it did not choose to further prosecute him. The record contains an

 indication that the OBA never reviewed Mr. Funderburk’s financial records,

 specifically in relation to his trust account.

       Further, it is undisputed that at times prior to and certainly after Mr.

 Funderburk represented Petitioner, he struggled with substance abuse problems.

 There is evidence suggesting this also occurred during Mr. Funderburk’s

 representation of Petitioner. In the years following Petitioner’s trial, Mr.

 Funderburk’s difficulties in this regard worsened. He died from an accidental drug




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 overdose in January 2010. Whether and/or to what extent these issues affected his

 representation of Petitioner is unclear.

       By this action, as well as in her lower court proceedings on her second

 application for post-conviction relief, Petitioner asserts claims of ineffective

 assistance of counsel based on failure to fully investigate A.S.’s cause of death and

 the timing of his fatal injuries, failure to timely consult with and retain expert

 witnesses regarding the same, conflict of interest, failure to interview witnesses,

 failure to present a cohesive defense, failure to communicate with his client, and

 failure to act diligently on Petitioner’s behalf. Doc. Nos. 226, 227. Petitioner also

 raises a claim under Brady v. Maryland, 373 U.S. 83 (1963) that the State failed to

 disclose exculpatory evidence. Id. Finally, Petitioner asserts a claim of ineffective

 assistance of appellate counsel based on appellate counsel’s failure to raise these

 claims in her direct appeal. Id.2

 II.   Procedural Background

       As noted in this Court’s previous Report and Recommendation, the summary

 of the lengthy procedural history of this case is primarily based upon the undisputed


 2
   Mr. Funderburk handled all the financial aspects of Petitioner’s representation. There is
 some dispute regarding the extent of Mr. Slane’s involvement in Petitioner’s
 representation. Based on the record, including the testimony of multiple witnesses and
 various documents, the Court concludes it is likely Mr. Slane did not become actively
 involved in Petitioner’s defense until immediately before trial. Regardless, although Mr.
 Slane’s testimony is discussed in detail herein, the Court primarily addresses Petitioner’s
 ineffective assistance of counsel claims with regard to Mr. Funderburk.

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 procedural history included in Petitioner’s Brief in Support of Second Amended

 Petition for Writ of Habeas Corpus, Doc. No. 227 at 27-34, documents attached to

 Respondent’s Response to Second Amended Petition for Writ of Habeas Corpus,

 Doc. No. 234, and additional documents filed in this habeas action.

       At trial, Petitioner was initially represented by Assistant Public Defender,

 Jennifer Richard. After Petitioner’s mother retained Mr. Funderburk, he and Mr.

 Slane filed their entries of appearance on February 10, 2005. Doc. No. 227 at 27.

 Approximately one to two weeks before trial, attorney Eric Reynolds joined the

 team. Id. The three represented Petitioner at the jury trial held from September 12-

 16, 2005. Id.

       After a jury found Petitioner guilty, the Honorable Susan P. Caswell followed

 the jury’s recommendation and entered judgment and sentence in the District Court

 of Oklahoma County on October 11, 2005. Petitioner was sentenced to life without

 possibility of parole. Id.

       Mr. Slane filed an application for post-conviction relief, seeking an appeal out

 of time on November 9, 2005, and the application was granted. Id. Through counsel,

 Petitioner filed a notice of intent to appeal on January 20, 2006, with the following

 proposed list of errors:

       a.     Defendant was not allowed to put on evidence of her theory of
              the case, which was crucial to her defense.




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       b.     Defendant’s witnesses were limited to character testimony
              only.

       c.     Defendant was not allowed to introduce a taped police interview
              of Todd Snyder.

       d.     Potential ineffective assistance of counsel.

       e.     Any additional error found by Appellate Counsel.

 Id. at 27-28. However, the attorney who ultimately filed Petitioner’s appellate brief

 on direct appeal alleged only two propositions of error:

       Proposition I: The jury should have been instructed on the definition of
       Life Without Parole and that if sentenced to Life With Parole, Ms.
       Moore would have to serve 85% of her sentence; and

       Proposition II: Defense counsel rendered ineffective assistance of
       counsel by not requesting argument or instruction on parole ineligibility
       or application of the 85% Rule to any sentence given to Ms. Moore.

 Id. at 28. On June 11, 2007, the Oklahoma Court of Criminal Appeals (“OCCA”)

 affirmed Petitioner’s conviction on direct appeal, Case No. F-2006-63, but modified

 her sentence to life imprisonment with the possibility of parole based on the trial

 court’s failure to instruct the jury on the 85% Rule. Id.

       Petitioner filed a pro se application for post-conviction relief on September

 26, 2008, alleging a single proposition for relief:

       Proposition I: Defense counsel rendered ineffective assistance of
       counsel by failing to have a medical expert testify to medical evidence
       proving [the] child was not killed by shaking.




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 Id. The Oklahoma County District Court denied Petitioner’s application on October

 23, 2008, and notified her of her right to appeal to the OCCA. Id. Petitioner, still

 proceeding pro se, filed a petition in error in the OCCA on January 16, 2009, alleging

 the following thirteen instances of ineffective assistance of counsel by Mr.

 Funderburk:

       [a]. Counsel failed to communicate with co-counsel as to the
       existence of two favorable exculpatory witnesses that [she] explicitly
       requested to be put on the stand in [her] defense.

       [b]. Co-counsel[, Mr. Slane,] was never made aware of the fact that
       there was over $40,000 in a trust account for expert witnesses and
       investigators, which he complained to [her] about after [her] trial.

       [c]. Because of counsel’s flawed defense, he excluded valuable
       foundational evidence.

       [d]. Counsel failed to elicit evidence from character witnesses who
       would have been vital defense witnesses, because it did not fit with his
       flawed defense.

       [e]. Counsel did not try to exclude the coerced confession, which was
       the sole evidence for prosecution.

       [f]. Counsel did not give an alternative theory for [her] defense that
       further compounded his flawed defense and his lack of strategy in
       clearing [her] of the charge of Murder in the 1st Degree.

       [g]. [She] had insufficient counsel which resulted in sufficient
       prejudice to warrant a retrial.

       [h]. The crib sheet that was admitted as evidence was not disputed by
       counsel even though the father’s testimony told the court that the stain
       was not current.




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          [i]. The daycare provider was brought in as a character witness,
          which limited her testimony. Had she been brought in as an exculpatory
          witness, her testimony would have been beneficial to the outcome of
          the trial. Her testimony was vital to [Petitioner’s] defense.

          [j].   Counsel did not even counter any of the prosecution’s assertions.

          [k]. Counsel forced [her] on the stand without adequate preparation
          and told [her] that [she] would definitely be convicted [if she] upheld
          [her] adamant reluctance to testify. Counsel did not prepare [her]
          adequately before [she] took the stand.

          [l]. It would behoove counsel for [her] to be found guilty so that his
          financial misconduct would not be brought to light.

          [m]. Counsel’s failure to focus attention on the actual [perpetrator],
          the victim’s father, resulted in sufficient harm for reversible error per
          Strickland v. Washington.

 Id. at 29. The OCCA dismissed Petitioner’s appeal for lack of jurisdiction on

 procedural grounds—Petitioner had failed to attach a certified copy of the district

 court’s order denying post-conviction relief to her petition in error. Id. at 29-30.

          On September 4, 2009, Petitioner, still proceeding pro se, filed a Petition for

 Writ of Habeas Corpus in this Court, alleging ineffective assistance of counsel. Doc.

 No. 1. Respondent filed a Motion to Dismiss the Petition and Brief in Support, Doc.

 Nos. 10, 11, on grounds that the Petition was filed after the statute of limitations in

 the Antiterrorism and Effective Death Penalty Act of 1996 (“AEDPA”) had expired.

 Then Magistrate Judge Robert Bacharach,3 to whom the case had been referred for



 3
     Judge Bacharach is currently sitting as a Judge on the Tenth Circuit Court of Appeals.

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 initial proceedings, converted Respondent’s Motion to Dismiss to a Motion for

 Summary Judgment on November 4, 2009. Doc. No. 12.

       On December 9, 2009, Petitioner filed a Motion for Leave to Amend Habeas

 Petition. Doc. No. 17. Judge Bacharach granted the Motion, Doc. No. 21, and

 Petitioner filed her Amended Petition and Brief in Support, Doc. Nos. 22, 23, on

 February 2, 2010, alleging the same propositions of error as the first Petition and

 claiming that she was entitled to equitable tolling because she was actually innocent

 of the crime for which she was convicted.

       Respondent filed a Motion to Dismiss the Amended Petition on February 23,

 2010, again alleging it was time-barred. Doc. Nos. 24, 25. After a telephone

 conference with the parties, Judge Bacharach appointed counsel to represent

 Petitioner on July 14, 2010, Doc. No. 57, and Petitioner, through her court-appointed

 attorney, engaged in discovery and filed a Response on January 31, 2011. Doc. No.

 88.

       On February 16, 2011, the Court converted the State’s Motion to Dismiss to

 a limited Answer on the issue of timeliness. Petitioner replied on April 8, 2011, and

 filed two appendices with documented newly-discovered evidence supporting her

 claim that she was actually innocent of the crime for which she had been convicted.

 Doc. Nos. 108-11. Respondent filed a Sur-Reply. Doc. No. 116. Judge Bacharach

 considered the evidence included in the appendices and filed an Order granting the



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 admission of certain exhibits included in Petitioner’s Motion to Expand the Record,

 and denying the admission of certain other exhibits. Doc. No. 132.

       Thereafter, Petitioner filed a Motion for Leave to File Reply to Brief on the

 Merits of Actual Innocence Claim. Doc. No.118. The Court granted the Motion, and

 Petitioner filed her Supplemental Reply on June 29, 2011. Doc. No. 122.

       The expert evidence Petitioner submitted with her brief, particularly the expert

 evidence on the issue of the time the fatal injury was inflicted, was compelling. So

 compelling in fact that on September 7, 2011, Judge Bacharach issued Proposed

 Findings of Fact and Conclusions of Law finding Petitioner had produced sufficient

 new scientific evidence from medical experts to support the miscarriage of justice,

 or actual innocence, exception to the time-bar:

       [N]o reasonable jury could have found guilt of murder without some
       reason to believe the actions [of Petitioner] on January 13, 2004, had
       contributed to the death [of A.S.]. Doctors Mack, Barnes, Squier,
       Ophoven, and Gardner have uniformly opined, based on the medical
       findings of the State’s own expert witnesses, that the fatal injuries
       would have preceded January 13, 2004, by days, weeks, or months.

       The only persons to express a different conclusion were Doctors Griggs
       and Choi, and both assumed that A.S. had been a perfectly healthy child
       before January 13, 2004. And, of course, they thought so only because
       Dr. Griggs had either misunderstood or Ms. Moore had given
       misinformation. But no one disputes the evidence of: (1) falls in
       October 2003, December 2003, and January 2004: (2) the existence of
       significant developmental delays; and (3) lethargy in the week
       preceding A.S.’s death. With this undisputed evidence, no reasonable
       juror would have accepted the testimony of Doctors Griggs and Choi
       regarding the immediacy of the fatal injuries. Without this testimony,
       the jury would have had no basis to tie A.S.’s death to anything Ms.

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       Moore had done on or about January 13, 2004, as charged in the
       Information. The omission of any such evidence on this crucial link in
       the prosecution’s case would have required any reasonable jury to find
       Ms. Moore not guilty with the benefit of the old and new evidence.
       Thus, Ms. Moore has shown her actual innocence on the charged
       offense and that innocence entitles her to avoid the time-bar.

 Doc. No. 135 at 33-34. Over Respondent’s objection, Judge Cauthron adopted the

 Proposed Findings of Fact and Conclusions of Law in full on October 28, 2011.

 Doc. No. 139.

       Although Judge Bacharach ordered Respondent to file a response to the merits

 of Petitioner’s grounds for habeas relief, Respondent instead filed a limited answer

 contending Petitioner had failed to exhaust state court remedies as to the claims in

 her Amended Petition. Doc. No. 159. Judge Bacharach entered a Report and

 Recommendation in which he determined that requiring Petitioner to return to state

 court to exhaust state court remedies would be futile because the state courts would

 find Petitioner was procedurally barred from asserting her claims in a second

 application for post-conviction relief. On this basis, Judge Bacharach recommended

 Petitioner’s failure to exhaust be excused as it would be futile for her to return to the

 state courts. He further recommended Petitioner be allowed to proceed with her

 habeas action. Doc. No. 162.

       On April 6, 2012, Judge Cauthron declined to adopt Judge Bacharach’s

 recommendation and did not address whether the conclusions in the Report and

 Recommendation were accurate. Instead, Judge Cauthron focused on the newly-

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 discovered evidence, the state attorneys’ insistence Petitioner be required to present

 this matter to the state courts before continuing with habeas proceedings, and the

 doctrines of comity and federalism. Based on these considerations, Judge Cauthron

 entered an Order staying the habeas case until Petitioner had presented her claims to

 the state courts. Doc. No. 182.

       As directed, on June 5, 2012, Petitioner filed a second application for post-

 conviction relief and brief in support in the Oklahoma County District Court, along

 with a motion for evidentiary hearing, motion for discovery, and motion for

 appointment of counsel. In her application, she raised six propositions for relief:

       Proposition 1: Ineffective [a]ssistance of [t]rial [c]ounsel for (a) failure
       to fully investigate the cause of death and the timing of the injuries
       attributed to Petitioner, including the failure to timely consult with and
       retain expert witnesses, and (b) failure to present testimony from expert
       witnesses as to the cause and timing of the fatal injuries.

       Proposition 2: Ineffective [a]ssistance of [t]rial [c]ounsel resulting from
       conflicts of interest.

       Proposition 3: The State of Oklahoma [d]eprived Petitioner of her
       [r]ight to [d]ue [p]rocess [w]hen it [f]ailed to [d]isclose [e]xculpatory
       [e]vidence.

       Proposition 4: Ineffective [a]ssistance of [a]ppellate [c]ounsel due to
       failure to raise the claim of ineffective assistance of trial counsel arising
       out of failure to investigate medical issues and present medical
       testimony.

       Proposition 5: Ineffective [a]ssistance of [a]ppellate [c]ounsel due to
       failure to uncover the conflict of interest of trial counsel and raise the
       claim of ineffective assistance of trial counsel arising from the conflict.



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       Proposition 6: Ineffective [a]ssistance of [a]ppellate [c]ounsel due to
       [failure to] discover[] the violation of Brady v. Maryland and raise the
       claim on direct appeal.

 Doc. No. 227 at 31-32; Doc. No. 234-7.

       After a hearing, Judge Kenneth C. Watson granted Petitioner’s motion for

 discovery and ordered the State to make its file in Petitioner’s criminal case and the

 file in the case of State v. Funderburk, CF-2003-6954,4 available to Petitioner. Doc.

 No. 227 at 32. Additionally, the trial court permitted discovery of the medical

 examiner’s file and the financial and medical records of Mr. Funderburk. Id.

       The State filed a response to Petitioner’s second application for post-

 conviction relief on September 4, 2012, arguing Petitioner’s claims were

 procedurally barred by the doctrines of waiver and res judicata and, alternatively,

 were without merit. Id. On July 9, 2013, Judge Watson announced his finding that

 Petitioner was not barred from presenting the claims raised in the application and

 overruled the State’s request for dismissal based on procedural bar grounds. By

 agreement of the parties, Petitioner’s claims were divided into two separate parts:

 the first hearing would be devoted to consideration of whether trial counsel rendered

 deficient performance or labored under a conflict of interest. Id. If the court so found,


 4
  State v. Funderburk, District Court of Oklahoma County, Case No. CF-2003-6954, was
 a case involving criminal charges against Mr. Funderburk, wherein he was convicted of
 misdemeanor possession of a Schedule III controlled dangerous substance and driving
 under the influence of alcohol. The case was ongoing during Petitioner’s criminal
 proceedings.

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 the second hearing would consider whether Petitioner suffered resulting prejudice.

 Petitioner’s Brady claim was also to be considered at the second hearing. Id.

        In an evidentiary hearing held sporadically over nine months, the trial court

 heard testimony on the issue of whether Petitioner’s trial counsel had either rendered

 deficient performance or labored under a conflict of interest. Id. at 33. Petitioner

 appeared and was represented by appointed counsel Christine Cave and Assistant

 Public Defender Andrea Miller. The State was represented by Assistant District

 Attorneys Gayland Gieger and Jennifer Hinsperger. Id. at 33.5




 5
   The Court notes a great deal of confusion by the state district court and the State’s counsel
 regarding the posture of this matter upon remand. The state district court initially indicated
 utter confusion regarding why the case was before it and the issues it was supposed to
 address. Tr. June 25, 2013 at 9, 13-15, 23-27; Tr. July 9, 2013 at 4-13. At one point, in
 referencing Petitioner’s ineffective assistance of counsel claims, Judge Watson stated, “I
 will not let federal court dictate to me what I should do. I mean, if they felt so strongly in
 favor of that they should have done it themselves. You know, I still maintain my opinion
 about it and I’m not going to succumb to their opinion just because they have found
 something different.” Tr. July 9, 2013 at 9. However, contrary to these statements, the
 federal court had not issued an opinion regarding Petitioner’s ineffective assistance claims.
 Similarly, counsel for the State, during cross-examination of Dr. Laura Burdette who was
 testifying regarding Mr. Funderburk’s prescription medications during his representation
 of Petitioner, stated that an affidavit she provided to the federal court regarding the same
 was “one of the reasons we’re here, isn’t it?” Tr. Jan. 8, 2015 at 65. Again, this Court never
 previously considered whether Mr. Funderburk was ineffective, much less whether he was
 impaired by prescription medications during Petitioner’s criminal proceedings. At the end
 of the proceedings, after nine months of hearings, the state district judge asked, “[T]his
 isn’t necessarily - - this hearing hasn’t necessarily been on post-conviction, has it? I mean,
 it was - - a post-conviction was filed, went to the Federal Court and then sent back to this
 Court to make some - - to have an evidentiary hearing. Is that - -” Tr. Aug. 4, 2015 at 28.
 Counsel for both parties explained the procedural history again, followed by more inquiry
 from the court regarding Petitioner’s post-conviction application history, and further
 explanation from counsel. Id. at 28-30.

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        Almost four years after Judge Watson’s order granting an evidentiary hearing,

 the attorneys finally received transcripts of the hearing and filed their proposed

 findings of facts and conclusions of law, as ordered by the trial court, on January 17,

 2017. Id. After another fourteen months had elapsed with no ruling from the trial

 court, Petitioner, on March 23, 2018, requested this Court lift the stay in Petitioner’s

 federal habeas action and excuse her from having to further exhaust her claims.

 Petitioner contended that her due process rights had been violated by the lengthy

 state court proceedings and the anticipated future state court proceedings. Doc. No.

 213.

        Four days later, on March 27, 2018, the trial court entered its findings of fact

 and conclusions of law. Doc. No. 227-2. The trial court essentially adopted the

 State’s proposed findings from January 2017, Doc. No. 227-3, reached the merits of

 Petitioner’s ineffective assistance of counsel claim, and denied her application for

 post-conviction relief. Doc. No. 227-2. Judge Cauthron denied Petitioner’s

 previously-filed Motion to Lift the Stay on May 30, 2018. Doc. No. 216.

        Petitioner filed a notice of post-conviction appeal on April 5, 2018, and filed

 a brief in support of her post-conviction appeal in the OCCA on August 1, 2018.

 Doc. No. 227 at 33. The OCCA declined to reach the merits of Petitioner’s appeal,

 finding all claims waived because they had not been raised in her direct appeal. Doc.

 No. 234-12 at 9.



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        On November 9, 2018, Petitioner notified this Court that the OCCA had

 rendered its decision, resolving the appeal from the trial court’s post-conviction

 ruling. Doc. No. 218. For good cause shown, Judge Goodwin granted Petitioner’s

 Motion to Lift Stay on January 18, 2019, and ordered Petitioner to file “any amended

 pleading” on or before March 19, 2019. Doc. No. 219. After the deadline was

 extended, Petitioner filed her Second Amended Petition and Brief in Support on

 April 19, 2019, raising the same claims she had raised in her second application for

 post-conviction relief. Doc. Nos. 226, 227.

        Rather than addressing the merits of Petitioner’s Second Amended Petition,

 Respondent filed a Response arguing Petitioner’s grounds for relief are unexhausted,

 untimely, and/or procedurally barred. Doc. No. 234. Respondent also asserted that

 the scientific evidence supporting Petitioner’s actual innocence claim does not apply

 to her claims for ineffective assistance of counsel. Id. Ultimately, the Court rejected

 these arguments and directed Respondent to respond to the merits of Petitioner’s

 claims. Doc. Nos. 244, 248. Respondent filed a Supplemental Response to the

 Second Amended Habeas Petition on June 15, 2020, Doc. No. 250, to which

 Petitioner filed a Reply on July 27, 2020. Doc. No. 254.

 III.   Standard of Review

        The AEDPA provides for consideration of a prisoner’s writ of habeas corpus

 on the ground that “he is in custody in violation of the Constitution or laws or treaties



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 of the United States.” 28 U.S.C. § 2254(a). Generally, the AEDPA requires

 deference by a federal court to a state court’s adjudication of a claim on the merits.

 28 U.S.C. § 2254(d). However, in the present case, the last reasoned decision from

 the state courts was the OCCA’s ruling that Petitioner’s claims were procedurally

 barred from review. “[C]laims not ‘adjudicated on the merits’ in state court are

 entitled to no deference.” Harmon v. Sharp, 936 F.3d 1044, 1057 (10th Cir. 2019)

 (quoting Fairchild v. Trammell, 784 F.3d 702, 711 (2015)). The parties agree that in

 this situation, § 2254(d)’s deference does not apply, and Petitioner’s claims are

 entitled to de novo review before this Court. Wilson v. Sellers, __ U.S. __, 138 S.Ct.

 1188, 1192 (2018) (explaining that § 2254(d) focuses on last reasoned opinion from

 the state courts); Ylst v. Nunnemaker, 501 U.S. 797, 799-805 (1991) (explaining that

 courts are to look at last reasoned decision from a state court to determine whether

 the claim was adjudicated on the merits); Williams v. Alabama, 791 F.3d 1267 (11th

 Cir. 2015) (holding that where the state district court ruled on the merits but the state

 criminal appeals court ruled claim was procedurally barred, § 2254(d) deference

 does not apply and the claim is subject to de novo review by federal habeas court).

 IV.   State Court’s Findings of Fact

       28 U.S.C. § 2254(e)(1) provides, “In a proceeding instituted by an application

 for a writ of habeas corpus . . . a determination of a factual issue made by a State

 court shall be presumed to be correct. The applicant shall have the burden of



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 rebutting the presumption of correctness by clear and convincing evidence.” In other

 words, when a state court makes a factual finding, the Court presumes the

 determination to be correct; a petitioner can only rebut this presumption with clear

 and convincing evidence. Davis v. Ayala, 576 U.S. 257, 271 (2015); see also Grant

 v. Royal, 886 F.3d 874, 889 (10th Cir. 2018) (“[E]ven in the setting where we lack

 a state court merits determination, ‘[a]ny state-court findings of fact that bear upon

 the claim are entitled to a presumption of correctness rebuttable only by clear and

 convincing evidence.’” (quoting 28 U.S.C. § 2254(e)(1)).

       The parties each offer lengthy arguments regarding whether, in light of the

 OCCA’s ruling that did not address the merits but instead, ruled Petitioner’s claims

 were procedurally barred, the state district court’s findings of fact are entitled to

 § 2254(e)(1)’s presumption of correctness. Although in Grant, the Tenth Circuit

 stated that § 2254(e)(1)’s presumption would apply in the absence of any ruling on

 the   merits,   the   Tenth   Circuit   has    not   addressed   the   application   of

 § 2254(e)(1) in this circumstance.

       At least two Circuit Courts that have addressed this issue have concluded the

 presumption of correctness applies to a state district court’s findings of fact where

 the state appellate court dismissed the underlying claims for relief on procedural

 grounds but did not vacate or otherwise address the merits. See Wardlow v. Davis,

 750 F. App’x 374, 377-78 (5th Cir. 2018) (holding that the “AEDPA requires



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 deference to a state trial court’s factual findings unless they are expressly rejected

 by, or are directly inconsistent with, the highest state court’s ultimate resolution of

 the case” and that this “is true even when the state high court’s ultimate resolution

 is on procedural grounds.”); Taylor v. Roper, 577 F.3d 848, 856 (8th Cir. 2009)

 (applying § 2254(e)(1)’s presumption of correctness to state court’s factual findings

 where the state appellate court found the underlying basis for relief “waived” but did

 not reject or otherwise vacate the lower court’s factual findings).

       The Court finds it is not necessary to resolve whether § 2254(e)(1)’s

 presumption applies. As set out more fully below, presuming, without deciding, that

 said presumption applies, Petitioner has met her burden of rebutting the presumption

 by clear and convincing evidence as to several factual findings relevant to her claims.

       The undersigned also notes the manner in which the state district court issued

 its findings of fact. The state court had the parties’ proposed findings of fact and

 conclusions of law for well over one year prior to issuing its ruling. Doc. Nos. 227-

 2, 227-3, 254-3. Petitioner submitted for the court’s consideration proposed findings

 of fact and conclusions of law totaling 117 substantive pages, Doc. No. 254-3, and

 the State’s totaled 23 substantive pages. Doc. No. 227-3. The state district court

 entered its ruling two business days after Petitioner filed her request to this Court to

 lift its stay on proceedings due to the state court’s delay in issuing a ruling. As

 Petitioner points out and Respondent concedes, the state district court’s ruling



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 mirrored the State’s proposed findings of fact almost verbatim. Doc. Nos. 227-2 at

 7-31, 227-3 at 3-25. Indeed, the state court’s order includes the typographical errors

 and misused vocabulary from the State’s proposed factual findings and conclusions

 of law. Doc. Nos. 227-2 at 12, 15; Doc. No. 227-3 at 8, 11.

         Respondent contends the manner of the lower court’s adoption of the State’s

 proposed ruling is outside the purview of this Court. According to Respondent, the

 “federal courts have no authority to impose mandatory opinion-writing standards on

 state courts.” Doc. No. 250 at 61 (quoting Johnson v. Williams, 568 U.S. 289, 298,

 300 (2013)). In Johnson, the Court addressed whether a federal court should

 conclude that a state court failed to decide a case on the merits merely because the

 state court did not address one argument, among many, that it regarded “as too

 insubstantial to merit discussion . . . .” Id. at 299. That is not the situation presented

 here.

         More significant to the present case is the Supreme Court precedent criticizing

 courts that adopt verbatim proposed orders from prevailing parties.

         We [] have criticized courts for their verbatim adoption of findings of
         fact prepared by prevailing parties, particularly when those findings
         have taken the form of conclusory statements unsupported by citation
         to the record. We are also aware of the potential for overreaching and
         exaggeration on the part of attorneys preparing findings of fact when
         they have already been informed that the judge has decided in their
         favor.




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 Anderson v. City of Bessemer City, N.C., 470 U.S. 564, 572 (1985) (citations

 omitted).6 See also Avila v. Jostens, Inc., 316 F. App’x 826, 831 (10th Cir. 2009)

 (“The Supreme Court has criticized [] verbatim adoption of one parties’ proposed

 findings of fact, and this court has noted that it provides ‘little aid on appellate

 review.’” (quoting Flying J Inc. v. Comdata Network, Inc., 405 F.3d 821, 830 (10th

 Cir. 2005) (additional citation omitted)); Rosa v. Williams, No. 07–0713 JH/CG,

 2010 WL 11523658, at *6 n.9 (D.N.M. June 15, 2010) (“The Supreme Court has

 criticized the practice of a court’s ‘verbatim adoption of findings of fact prepared by

 prevailing parties.’” (quoting Jefferson v. Upton, 560 U.S. 284, 293 (2010)).

        Nevertheless, the state court’s findings of fact, though adopted verbatim from

 the State’s proposed findings, are accepted as the lower court’s findings and the same

 review applies. Jefferson, 560 U.S. at 293 (“Although we have stated that a court’s

 ‘verbatim adoption of findings of fact prepared by prevailing parties’ should be

 treated as findings of the court, we have also criticized that practice.” (quoting

 Anderson, 470 U.S. at 572)); Avila, 316 F. App’x at 831; Rosa, 2010 WL 11523658,

 at *6 n.9. Thus, this Court should accept the state court’s findings of fact and apply




 6
   While the State had presumably not been informed prior to submitting its proposed
 findings to the state court that it would ultimately prevail, the criticism of a court’s verbatim
 adoption of proposed factual findings from the prevailing party and an attorney’s potential
 for overreaching and/or selective factual choosing remains relevant to the underlying
 events in this matter.

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 the § 2254(e)(1) standard of review. However, the manner in which they were

 adopted does provide relevant context in considering the same.

       In its order the state court set forth eighteen findings of fact, preceded by a

 narrative of supportive reasoning. Doc. No. 227-2. The Court will discuss only those

 factual findings most relevant to Petitioner’s grounds for relief addressed herein.

       A. Finding of Fact #13: Misappropriation of Funds

       Petitioner contends that during his representation of her, Mr. Funderburk

 misappropriated funds provided for her criminal defense. The state court finding of

 fact with regard to this issue provided, “While the evidence presented to this Court

 supports that Mr. Funderburk did not provide an adequate accounting for Petitioner’s

 client-trust fund, there has been no evidence to support Petitioner’s allegation that

 Mr. Funderburk misappropriated those funds for his own benefit.” Doc. No. 227-2

 at 30. In thoroughly reviewing the state court record, the Court finds Petitioner has

 presented a significant amount of evidence indicating Mr. Funderburk likely

 misappropriated funds provided for her defense. The Court shall address this issue

 somewhat briefly because, while it may provide context for the remainder of the

 claims addressed herein, it is not determinative of the ultimate issues.

       There is absolutely no dispute that Mr. Funderburk’s accounting of the funds

 received and disbursed related to his representation of Petitioner was abysmal, at

 best. Although recognizing that abysmal accounting practices do not equate to



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 misappropriation per se, the record creates significant questions regarding how

 Petitioner’s funds were handled and ultimately disbursed. Significant to Petitioner’s

 specific claims herein, it is clear funds were provided to Mr. Funderburk for

 investigators and expert witnesses that were not used for their intended purpose.

        Jeff Trevillion, an attorney and certified public accountant, performed an

 accounting of the funds provided to Mr. Funderburk for Petitioner’s defense. Tr.

 March 3, 2015 at 66, 79-82. He concluded, and Respondent does not dispute, that

 Mr. Funderburk received a total of $81,000.00. Id. at 97-98. Of that amount,

 $50,000.00 was to be paid toward attorney fees. Tr. March 3, 2015 at 76, 87-88, 97,

 111, 122-25; St. Ct. Ex. 3 at 2-3.7 Mr. Trevillion noted that of the remaining

 $31,000.00 (“Defense Funds”), the money was authorized to be spent as follows:

 $20,000.00 on expert witnesses, $7,500.00 for consultation/assistance by Marion

 Stinson,8 $6,000.00 for investigators, and $2,000.00 for investigation. Tr. March 3,


 7
  The representation agreement between Petitioner and Mr. Funderburk indicated Petitioner
 would pay $35,000.00 in attorney fees and she would be “responsible for expert fees if the
 innocence project can’t provide funding.” St. Ct. Ex. 3 at 2-3. The evidentiary hearings
 included significant debate about whether counsel were entitled to only $35,000.00 in
 attorney fees or if instead another $15,000.00 was later authorized and if so, whether Mr.
 Funderburk had already withdrawn the additional $15,000.00 before receiving such
 authorization. In concluding Petitioner had not presented evidence supporting
 misappropriation, the state court partially relied on its conclusion that Mr. Funderburk was
 in fact entitled to this additional $15,000.00. Doc. No. 227-2 at 25. For purposes of this
 recommendation, the Court presumes, without deciding, that the $15,000.00 additional fee
 was proper.
 8
  Ms. Stinson was a municipal judge in 2005 in Adair, Oklahoma and Pryor, Oklahoma.
 Tr. Dec. 2, 2014 at 140. Though she does not recall the defendant’s name, during that time

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 2015 at 102-03.9 Mr. Trevillion concluded that only $1,040.00 of the Defense Funds

 were spent as authorized, specifically $650.00 was paid to Mr. Reynolds for

 investigation and $390.00 was paid to Lynn McComber as an “expert ex-police

 officer with experience in confessions.” Id. at 103, 112; St. Ct. Ex. 39 at 35, 44; St.

 Ct. Ex. 45 at 20.10

        Mr. Trevillion also testified that Mr. Funderburk’s accounting submitted to

 the OBA did not accurately report the amount of funds he paid to himself. Tr. March

 3, 2015 at 107-08. For example, Mr. Funderburk’s banking records include a $5,000

 check, dated August 31, 2005, made out to “BOK” for cash and on the Memo line,




 period she recalls Mr. Funderburk, who had been a law school classmate, requesting her
 assistance in a murder trial on multiple occasions over a three to four month period and she
 declined each time. Id. at 140-41, 143-45.
 9
   The Court is aware the total of these designations is greater than the total of the Defense
 Funds. Mr. Funderburk’s accounting was not amenable to proper balancing. However, as
 established below, the fact that the totals do not balance is only somewhat relevant to
 Petitioner’s ineffective assistance claim because regardless of the poor accounting, the
 funds were not spent according to these authorizations.
 10
   In Mr. Funderburk’s accounting submitted to the OBA, he indicates that an additional
 payment of $350.00 was paid to Mr. Reynolds as an “Investigator Fee prior to being hired
 as a part of the trial team.” St. Ct. Ex. 45 at 20. However, the only check from Mr.
 Funderburk’s account to Mr. Reynolds reflecting a $350.00 payment is dated October 20,
 2005, one month after Petitioner’s trial. St. Ct. Ex. 39 at 46. The notation in the Memo
 portion of the check is illegible, but it does not appear to reference Petitioner’s case. The
 Court notes Mr. Trevillion’s testimony that no evidence supports a finding that the OBA
 reviewed Mr. Funderburk’s financial records in considering the grievances submitted
 against him. Tr. March 4, 2015 at 51.


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 he indicated it was an “advance for expenses” in Petitioner’s case. St. Ct. Ex. 39 at

 17. This payment is not reflected in his OBA accounting. St. Ct. Ex. 45 at 18-20.

       Additionally, Mr. Funderburk paid Mr. Reynolds $5,000.00 for representation

 in Petitioner’s case and those payments are not reflected in the OBA accounting. St.

 Ct. Ex. 39 at 45, 47; St. Ct. Ex. 45 at 18-20. Mr. Funderburk’s banking records also

 reflect a significant number of checks from his Trust Account from July through

 September 2005 written to restaurants, residential facilities, supply stores, a hotel,

 credit cards, and staff members, including $7,635.00 for “case prep” in Petitioner’s

 case to Delisa Camp, Mr. Funderburk’s girlfriend who worked as his assistant. St.

 Ct. Ex. 39 at 15, 18, 29, 31, 32, 34, 37, 39; St. Ct. Ex. 45 at 19; Tr. Dec. 3, 2014 at

 6-7; Tr. Jan. 22, 2015 at 13-14.

       In its ruling, the state court provided the following reasoning regarding the

 question of misappropriation:

       Mr. Trevillion [] conceded he had no knowledge regarding what Mr.
       Funderburk did with funds withdrawn from Petitioner’s client trust
       account that were made out to “cash.” He further conceded it was
       possible such funds went to pay expert witnesses although it was not
       documented. Similarly, his opinion did not account for funds which
       may have been withdrawn in relation to trips to Kansas City and San
       Antonio in relation to Petitioner’s case.

 Doc. No. 227-2 at 25 (citations omitted). The Court notes again that the state court

 merely adopted wholesale Respondent’s proposed findings of fact and conclusions




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 of law. A more thorough review of the record reveals substantial flaws in this

 reasoning.

       The only medical expert witness the defense retained was Dr. May and, as

 addressed more thoroughly below, her bill was never paid, in cash or otherwise.

 Moreover, presuming, without deciding, Mr. Funderburk used the funds received

 through the checks made out to cash on expenses related to Petitioner’s case, as

 noted, he wholly failed to include at least one in the amount of $5,000.00 in his

 accounting to the OBA. St. Ct. Ex. 39 at 17; St. Ct. Ex. No. 45 at 18-20. He also did

 not include any notation of travel reimbursement in his accounting to the OBA. St.

 Ct. Ex. 45 18-20; Tr. March 3, 2015 at 59-60. Additionally, the record is devoid of

 any documentation authorizing, separate from the agreed upon attorney fees, the

 over $7,500.00 in payments to Ms. Camp, Mr. Funderburk’s assistant/girlfriend, for

 “case prep.” St. Ct. Ex. 39 at 15, 29, 34.

       While the above is by no means a comprehensive discussion of every

 discrepancy and/or red flag raised by Mr. Funderburk’s financial records and

 accounting, it is sufficient to establish that serious questions exist as to the propriety

 of Mr. Funderburk’s handling of the funds provided to him for Petitioner’s defense.

 Petitioner has certainly presented clear and convincing evidence, see Grant, 886

 F.3d at 889, to rebut the state court finding that “there has been no evidence to

 support Petitioner’s allegation that Mr. Funderburk misappropriated [Defense



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 Funds] for his own benefit.” Doc. No. 227-2 at 30 (emphasis added). Most

 significant to the present case, however, it is clear funds available to the defense for

 expert witnesses were not used for that purpose.

       B. Finding of Fact #12: Mr. Funderburk’s Substance Abuse Issues

       Petitioner also challenges the state court’s finding of fact #12 in which it

 stated, “There has been no evidence presented that Mr. Funderburk was impaired or

 under the influence of intoxicating substances at the time he represented Petitioner

 in this matter. On the contrary, witness testimony supports that Mr. Funderburk was

 functioning normally throughout the course of his representation.” Doc. No. 227-2

 at 29-30. In the Response, Respondent focuses solely on Mr. Funderburk’s behavior

 during Petitioner’s criminal trial, even though the majority of Petitioner’s grounds

 for habeas relief focus on the time period during which Mr. Funderburk should have

 been preparing for the same. That time period is also imperative to a successful

 criminal defense.

       Petitioner presented evidence that from February 2005 through September

 2005, Petitioner filled prescriptions for 500 tablets of diazepam and 500 tablets of

 clonezapem, as well as six bottles of promethazine with codeine cough syrup. Tr.

 Jan. 8, 2015 at 29-30. A pharmaceutical expert, Dr. Laura Burdette, testified on

 behalf of Petitioner that these prescriptions far exceeded the therapeutic benefit of

 these medications. Id. Presuming without deciding that Mr. Funderburk took these



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 prescription medications, Dr. Burdette indicated this would constitute abuse of the

 medications. Id. at 31.

        Dr. Burdette also identified drug seeking behaviors on the part of Mr.

 Funderburk during this time period including multiple prescribers, multiple

 pharmacies, high quantities of duplicate commonly abused medications, paying cash

 for prescriptions, and refilling prescriptions early. Id. at 26-27. Dr. Burdette further

 explained that an individual taking these medications can be impaired without

 appearing to be so to other individuals. Id. at 36.11

        Additionally, various circumstances in Mr. Funderburk’s life throughout 2005

 are indicative of an individual with a drug problem. Records from Mr. Funderburk’s

 therapist during 2005 and early 2006 indicate many missed appointments and/or on

 multiple occasions arriving in the morning for afternoon appointments. St. Ct. Ex.

 100 at 10-12. He was also experiencing severe financial difficulties, including a

 foreclosure action commenced in June 2005 resulting in a judgment of foreclosure


 11
    The Court notes Mr. Funderburk’s apparent substance abuse problems did not form in a
 vacuum. He was convicted on federal drug-related charges in the early 1990s. St. Ct. Ex.
 101. Medical records from 2001 reflect an extreme behavioral and belligerent reaction
 when a doctor failed to timely refill a Valium prescription and the doctor’s office described
 him as “med-seeking” and “drug seeking.” St. Ct. Ex. 54 at 4, 6. In April 2004, Mr.
 Funderburk visited an emergency room where the physician diagnosed him with, inter alia,
 “benzo withdrawal” and recommended he follow up with a psychiatrist for “benzo
 dependence” and “detox.” Tr. March 3, 2015 at 7-10; St. Ct. Ex. 55R at 31. As noted, Mr.
 Funderburk’s drug-related problems continued to worsen, and he passed away from an
 accidental drug overdose of diazepam and morphine in January 2010. Tr. Dec. 4, 2014 Vol
 II at 58.


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 issued on November 1, 2005,12 the filing of various creditor liens upon real property,

 state court judgments based upon nonpayment of debts, and ongoing proceedings

 regarding failure to pay child support. St. Ct. Ex. 104 at 1-2, 4-5, St. Ct. Ex. 108, St.

 Ct. Ex. 109, St. Ct. Ex. 123, St. Ct. Ex. 124, St. Ct. Ex. 126. Additionally, Mr.

 Funderburk had been charged in December 2003 with drug-related criminal charges

 and that case was ongoing until November 4, 2005, when a plea deal was reached.

 St. Ct. Ex. 105.

       It appears an exceedingly reasonable conclusion that Mr. Funderburk was

 abusing prescription medications during his representation of Petitioner. The parties

 have presented conflicting evidence regarding whether it affected his performance

 during trial. Tr. Dec. 1, 2014 at 184; Tr. Dec. 2, 2014 at 178; Tr. Dec. 3, 2014 at 31-

 32, 58-65, 81-82; Tr. Dec. 4, 2014 Vol. I at 12-13, 128-30; Tr. March 20, 2015 at

 59-60. However, as this case illustrates, an attorney’s representation of a client is not

 limited merely to his performance in the courtroom. On the other hand, an attorney

 who is abusing prescription medications is not per se ineffective.

       Regardless, it is not necessary for the Court to make a specific determination

 as to whether Petitioner met her burden in rebutting the state court’s finding that no



 12
   Notably, Mr. Funderburk wrote a check from his trust account to Lakeview Towers on
 August 8, 2005, approximately one month prior to Petitioner’s trial, in the amount of
 $791.00. St. Ct. Ex. 39 at 37. The Memo portion indicates it was for an application fee,
 deposit, and one month of rent. Id.

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 evidence was presented indicating Mr. Funderburk’s performance was impaired

 during his representation of Petitioner. While Mr. Funderburk’s use, and likely

 abuse, of prescription medication during his representation of Petitioner may provide

 context for various issues raised herein, the Court’s finding that Petitioner received

 ineffective assistance of counsel is not dependent upon the same.

       C. Finding of Fact #4: Two Experts

       The state court’s fourth finding of fact stated, “The defense did consult with

 two ‘mainstream’ medical experts, Dr. Corrie May and an unnamed male doctor,

 prior to Petitioner’s trial. Both doctors indicated they would be harmful to

 Petitioner’s defense.” Doc. No. 227-2 at 28. The existence of this unknown male

 expert is significant because otherwise, it is clear the defense did not contact a single

 medical expert witness until less than two weeks before trial. The Court finds

 Petitioner has presented clear and convincing evidence to rebut § 2254(e)(1)’s

 presumption of correctness that the defense consulted with an unnamed male expert

 witness prior to contacting Dr. May.

       Respondent concedes that the evidence supporting this finding is the

 testimony of Mr. Slane. Doc. No. 250 at 72-75. However, the bulk of Mr. Slane’s

 testimony related to expert witnesses is not merely lacking in support in the record

 but is directly contradicted by additional state court findings, multiple witnesses, and

 underlying documentation from multiple sources, including Mr. Funderburk.



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 Respondent argues that because Mr. Slane’s testimony was the sole evidentiary

 support for this finding, the state court clearly found the testimony credible. Based

 on this, Respondent contends that as a credibility determination, it must stand. Id. at

 73-75. The undersigned and the United States Supreme Court disagree.

       In El-Miller v. Cockrell, 537 U.S. 322 (2003), the Supreme Court issued a

 lengthy decision discussing, inter alia, § 2254(e)(1)’s presumption of correctness

 and its application to state court factual findings.

       A federal court’s collateral review of a state-court decision must be
       consistent with the respect due state courts in our federal system.
       Where 28 U.S.C. § 2254 applies, our habeas jurisprudence embodies
       this deference. Factual determinations by state courts are presumed
       correct absent clear and convincing evidence to the contrary,
       § 2254(e)(1) . . . .

       Even in the context of federal habeas, deference does not imply
       abandonment or abdication of judicial review. Deference does not by
       definition preclude relief. A federal court can disagree with a state
       court’s credibility determination and, when guided by AEDPA,
       conclude the decision was unreasonable or that the factual premise was
       incorrect by clear and convincing evidence.

 Id. at 340 (emphasis added). Thus, contrary to Respondent’s assertions, credibility

 determinations are not insulated from review and can be rebutted. A federal court

 can not only disagree with a state court’s credibility determination but, as here, can

 find said determination was unreasonable or incorrect based on clear and convincing

 evidence. Id.




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       As an initial matter, this Court is not making an affirmative finding that Mr.

 Slane was intentionally untruthful during his testimony. Mr. Slane acknowledged

 that his memory regarding Petitioner’s case was not entirely reliable at the time of

 the evidentiary hearing as it had been ten years since Petitioner’s trial. Moreover,

 Mr. Slane no longer possessed a file from Petitioner’s case or any of his notes. Tr.

 Dec. 4, 2014 Vol. I at 27. By 2015, when Mr. Slane testified in this matter, he had

 practiced twenty-one years, represented thousands of defendants, tried hundreds of

 cases, and noted that his cases ran together in his memory. Id. at 7, 24. The Court

 finds this reasonable. Indeed, Petitioner’s own evidentiary hearing expert, criminal

 defense attorney Robert Wyatt, stated that he could not remember every expert he

 had hired over the years without consulting a case file. Tr. March 19, 2015 at 144-

 45.

       Mr. Slane testified that he, along with Mr. Funderburk, spoke with two doctors

 regarding Petitioner’s case, a male expert and Dr. May. He testified that they first

 spoke with a male doctor “that we sent the information to.” Tr. Dec. 4, 2014 Vol. I

 at 26. He thinks the male doctor was a forensic pathologist. Id. at 26, 85. Mr. Slane

 testified that he cannot recall this male doctor’s name, when they spoke with him,

 where he resided other than it was not in Oklahoma, nor when they received his

 opinion. Id. at 26, 29, 85-86. Indeed, the only things he can recall are that the male




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 expert charged them a fee for his services and that the expert’s opinion would have

 been harmful to their case.

       There are three amounts Mr. Slane believes they paid to doctors - $1,000.00,

 $2,000.00, and $5,000.00. Id. at 27.13 “I don’t remember who got what and when.

 But I thought that we had sent a packet to a male doctor and asked him to review the

 information to see if he could help us. And we got a pretty quick response back from

 him.” Id. Mr. Slane later testified he thought they paid the unknown male doctor

 $1,000.00 to review their materials. Id. at 84-85. Mr. Slane indicated they later spoke

 with the male doctor on the speakerphone in Mr. Slane’s office. Id. at 27-28, 85-86.

 The doctor informed them that he would be harmful to their case and therefore, they

 did not speak with him further. Id.

       By contrast to Mr. Slane’s vague testimony, the record has a wealth of

 evidence that undermines or outright contradicts his testimony. Petitioner was never

 told that her attorneys had consulted with a male doctor as a potential expert witness,

 or any medical expert witness other than Dr. May. Tr. March 5, 2015 at 54. On

 September 4, 2012, Mr. Slane signed an affidavit pertaining to the work he

 performed on Petitioner’s case. Tr. Dec. 4, 2014 Vol. I at 83-85. The affidavit does




 13
   Although Mr. Slane also testified that they contacted only two doctors, the unnamed
 male doctor and Dr. May. Id. at 29-30.

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 not mention consulting with any other expert witness besides Dr. May. Id. He does

 not recall why the affidavit did not include any mention of the male doctor. Id.

       As of three weeks before trial, Petitioner’s mother, Donna Carmichael,

 understood from a meeting with Mr. Funderburk that the defense had not hired any

 expert witnesses. Tr. Dec. 1, 2013 at 165-66, 177-78. Also, no member of the defense

 team ever mentioned to Dr. May that another expert had been consulted and/or

 concurred with her findings. Tr. Jan. 22, 2015 at 24.

       Granted, one could interpret Ms. Carmichael’s impression to be that the

 defense had not secured expert witness testimony, which does not mean defense

 counsel had not consulted an expert witness they could not use. Doc. No. 250 at 75

 n.25. Moreover, Respondent notes Mr. Slane’s statement that there are other things

 he did in the case that are not reflected in his 2012 affidavit. Doc. No. 250 at 74

 (citing Tr. Dec. 4, 2014 Vol I at 84-85). However, this evidence coupled with the

 remainder discussed below sufficiently rebuts the presumption of correctness that

 might otherwise apply to this finding of fact.

       Mr. Slane testified that although he did not handle the financial aspects of

 Petitioner’s case, he recalls they paid the male expert and he thinks the amount was

 $1,000.00. Tr. Dec. 4, 2014 Vol. 1 at 27, 85 (“I kind of think we may have paid a

 doctor $1,000 to review the medical records to see if he could even be of help. . . . I

 think we paid a male doctor $1,000 or he was going to be paid $1,000 to review it.



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 And he reviewed it and wasn’t helpful to us.”). Mr. Funderburk’s records do not

 include any payment to an unknown male expert witness. St. Ct. Ex. 39 at 12-22,

 29-39, 42-48, 51-58, 61-73, 76-81, 86, 90-93, 96, 98; St. Ct. Ex. 45 at 18-20.

 Additionally, in Mr. Funderburk’s responses to the OBA regarding the grievances

 against him that included allegations regarding his failure to secure a medical expert

 witness, he did not include any reference to consultation with this unknown male

 expert witness or any medical expert witness other than Dr. May. Doc. No. 45 at 1-

 6, 18-20.

        Respondent argues Mr. Funderburk did refer to this second expert witness in

 his response to the OBA based on his use of the word, “experts.” Doc. No. 250 at

 74. However, a reading of Mr. Funderburk’s response in its entirety belies this

 argument as he was clearly referencing spending funds on a medical expert, Dr. May,

 and a confession expert. Doc. No. 45 at 3-4. After discussing each, the relevant

 portion of his response ends with the following: “In my professional opinion the

 money for the experts would be better spent employing a medical expert to try to

 combat the bunt [sic] force trauma issue and a confession expert to see if we could

 find any type of coercion to get the confession thrown out.” Id. at 4.14 Thus, in a

 response to the OBA in which Mr. Funderburk had to defend his representation of


 14
   As previously noted, Mr. Funderburk did pay Lynn McComber $390.00 and indicated
 that she was an “expert ex-police officer with experience in confessions.” St. Ct. Ex. 39 at
 44; St. Ct. Ex. 45 at 20.

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 Petitioner based on, inter alia, his failure to secure expert witness testimony to

 support her defense, Mr. Funderburk never mentioned a consultation with an

 additional medical expert prior to deciding not to present the testimony of any such

 experts at trial. Also, Mr. Funderburk’s accounting did not include any payment to

 any other expert witness other than Ms. McComber. Id. at 18-20.

       Relying on an Eleventh Circuit case, Bishop v. Warden, GDCP, 726 F.3d 1243

 (11th Cir. 2013), Respondent argues the Court must apply the presumption of

 correctness to the state court’s finding regarding consultation with two experts

 because the record contains only conflicting evidence. Doc. No. 250 at 74-75. In

 Bishop, the petitioner had been convicted of malice murder and armed robbery and

 sentenced to death. Id. at 1247. There was a co-defendant involved in the underlying

 murder and robbery who was also indicted on the same charges. Id. at 1247-48.

 During the petitioner’s trial, the prosecution repeatedly stated that the co-defendant

 would face his own day in court. Id. The petitioner later raised a Brady claim based

 on his contention that his co-defendant had already accepted a plea deal of life

 imprisonment, and “that the prosecution suppressed the evidence of this plea offer

 by failing to disclose it to Bishop’s defense counsel.” Id. at 1258.

       The Eleventh Circuit affirmed the district court’s denial of habeas relief on

 this ground explaining,

       The record reflects that both District Attorney Bright and Braxley’s
       counsel Prince claimed direct knowledge of the timing of the plea offer.

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        Both were armed only with their own recollections, and neither
        possessed any additional evidence conclusively documenting the
        timing of the plea offer. The state habeas court heard from both
        witnesses and, as we’ve said, credited Bright’s recollection over
        Prince’s. In the absence of clear and convincing evidence, we have no
        power on federal habeas review to revisit the state court’s credibility
        determinations. See Marshall v. Lonberger, 459 U.S. 422, 434 [] (1983)
        (federal habeas courts have “no license to redetermine credibility of
        witnesses whose demeanor has been observed by the state trial court,
        but not by them”); Consalvo v. Sec’y, Dept. of Corr., 664 F.3d 842, 845
        (11th Cir. 2011) (denying habeas relief on Brady and Giglio claims that
        “turn[ed] upon credibility,” because “[d]etermining the credibility of
        witnesses is the province and function of the state courts, not a federal
        court engaging in habeas review”); see also Turner v. Crosby, 339 F.3d
        1247, 1273 (11th Cir. 2003) (The deference compelled by AEDPA
        “requires that a federal habeas court more than simply disagree with the
        state court before rejecting its factual determinations. Instead, it must
        conclude that the state court’s findings lacked even fair support in the
        record.” (quoting Lonberger, 459 U.S. at 432 [])). The state court’s
        factual finding found fair support in the record testimony of District
        Attorney Bright; there was no clear and convincing evidence to rebut
        that testimony. 28 U.S.C. § 2254(e)(1).

 Id. at 1259. Thus, Bishop was limited to the conflicting testimony of two individuals.

        By contrast, the record in the present case contains significant evidence to

 rebut Mr. Slane’s vague testimony regarding this unknown male expert. Not only

 was no one else involved in this case aware of the existence of this previous expert

 consultation, there were indications within three weeks of trial that no medical

 experts had been consulted/hired and there is no receipt of money ever paid to this

 unknown expert,15 Mr. Slane never mentioned this expert in his own 2012 affidavit


 15
   Notably, considering the sole detail Mr. Slane recalls about this alleged male expert
 witness is that he lived out of state, it is exceedingly unlikely, if not entirely unrealistic,

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 pertaining to his work in Petitioner’s case, and Mr. Funderburk never mentioned this

 alleged expert in his response to the OBA even though one of the specific issues

 raised against him was his failure to obtain expert testimony.

       This case, unlike Bishop, does not merely turn on two competing individual

 memories and testimonies. Further, unlike Bishop, the record does not contain “fair

 support” for the state court’s factual finding. Bishop, 726 F.3d at 1259. Instead, there

 is clear and convincing evidence to rebut Mr. Slane’s testimony. The Court

 concludes Petitioner has rebutted the state court’s finding that defense counsel

 consulted with two medical experts prior to Petitioner’s trial.

       D. Finding of Fact #5: Retention of Dr. May

       The state court found, “The defense first retained Dr. May’s services on

 September 1, 2005, and were aware of her opinion that the victim’s injuries were

 consistent with child abuse by September 9, 2005.” Doc. No. 227-2 at 28.

 Petitioner’s challenge to this finding is limited to whether the defense was aware of

 Dr. May’s opinion by Friday, September 9, 2005, or if it was instead Sunday,

 September 11, 2005. Doc. No. 227 at 45-46. In addition to that challenge, Mr.

 Funderburk’s retention of Dr. May and the court’s factual finding in relation thereto

 warrants particular discussion.



 that Mr. Funderburk paid the individual in cash, as suggested by the state court and
 Respondent.

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        During his testimony, Mr. Slane discussed contacting Dr. May as a potential

 expert witness. His testimony in this regard is entirely contradicted by multiple

 witnesses, including Dr. May and Dr. May’s contemporaneous notes from

 Petitioner’s case. Mr. Slane’s testimony also contradicts this finding of fact by the

 state court.

        According to Mr. Slane, he and Mr. Funderburk spoke with Dr. May on the

 telephone several times. Tr. Dec. 4, 2014 Vol. I at 30-31. During that process, Dr.

 May asked for more information on several occasions, and they provided it to her.

 Id. Mr. Slane testified that approximately two to three weeks before trial, they spoke

 with Dr. May by telephone and she relayed her opinion, which was that A.S.’s

 injuries were consistent with child abuse. Id. at 31-32. Mr. Slane also testified that

 Dr. May explained the medical records to him over the telephone. Id. at 82-83. He

 stated that her opinion was consistent with that of the unidentified male doctor. Id.

 at 33. Mr. Slane testified that he and Mr. Funderburk decided together at that point

 not to consult a third doctor and instead, to change their defense theory to asserting

 that someone else had harmed A.S., specifically A.S.’s father. Id. at 33-34, 47-48,

 79-81.

        Thus, according to Mr. Slane, the defense knew two to three weeks before

 trial that they were not going to use Dr. May as an expert witness. Id. at 31-32. He




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 testified that they nevertheless had her travel to Oklahoma during the trial in order

 to explain her findings to Petitioner’s family. Id. at 88-89, 92-93.

        Additionally, Dr. May’s expert report included a suggestion that a

 neuropathologist could do a better evaluation of the timing of A.S.’s injuries and that

 it may be similarly beneficial for an ophthalmic pathologist to review the autopsy

 report. Id. at 104-06; Doc. No. 32 at 51. Mr. Slane testified that they did not follow

 up on any of these because in their conversation with Dr. May two to three weeks

 before trial she told him that additional doctors would not get around the problematic

 areas she highlighted in her conclusion. Tr. Dec. 4, 2014 Vol. I at 110.

        By contrast, Dr. May’s testimony and the notes from her work on Petitioner’s

 case contradicts every aspect of Mr. Slane’s testimony.16 Dr. May testified, and her

 contemporaneous notes confirm, that she was first contacted about Petitioner’s case

 by Mr. Funderburk on September 1, 2005, less than two weeks before trial. Tr. Jan.

 22, 2015 at 7-8. Mr. Funderburk contacted her by telephone. Id. Her notes reflect

 they spoke for approximately one hour and forty-five minutes during which she

 requested autopsy records and medical records because she understood A.S. died in

 the hospital. Id. at 10-11. She also requested autopsy photographs, a time line

 regarding the events and when they happened, and a report of death, which is an


 16
    Mr. Slane hired Dr. May as an expert witness in a case at some point after Petitioner’s
 trial. Tr. Jan. 22, 2015 at 38. It is possible Mr. Slane’s own acknowledgment that his cases
 run together after so many years explains these discrepancies.

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 independent investigatory report from the medical examiner’s office. Id. The only

 individual with whom she spoke was Mr. Funderburk. Id. at 11. Her understanding

 was that trial was imminent. Id. Her general role in these types of cases is to “go

 through the medical records and the autopsy, explain the medical data and then talk

 about how these injuries may have occurred.” Id. at 12. At some point, Mr.

 Funderburk requested she prepare a list of potential questions for the State’s medical

 witnesses, though that might not have been during the initial consultation. Id. at 12,

 23-24.

       Dr. May lives in Kansas. Id. at 4. On September 3, 2005, Mr. Funderburk met

 Dr. May at an Applebee’s restaurant in Kansas City. Id. at 12-13.17 He was

 accompanied by his girlfriend and several children. Id. at 13. They met for

 approximately one hour, during which Mr. Funderburk provided Dr. May documents

 totaling 209 pages that included the records she requested, except for the time line

 of events and a report of death from the medical examiner. Id. at 14-16, 40; St. Ct.

 Ex. 32 at 51.18 With regard to the report of death, the only thing included was the

 initial page of the autopsy report – location of the incident, age of child, but no



 17
    The mother of Mr. Funderburk’s girlfriend, Ms. Camp, was ill and lived in Iowa. They
 were driving back and forth from Oklahoma City to Iowa when they met with Dr. May. Id.
 at 49.
 18
   Mr. Funderburk did possess a time line of events but did not provide it to Dr. May. St.
 Ct. Ex. 29; Tr. Dec. 1, 2014 at 168-69.


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 formal narrative. Tr. Jan. 22, 2015 at 14. Dr. May stated that Mr. Funderburk may

 not have had a formal narrative from the medical examiner. Id. She also did not

 receive any radiological, or histological, slides. Tr. Jan. 22, 2015 at 18.19 She

 received photographs of A.S. after his autopsy but no photographs of the internal

 injuries the pathologist detailed in the autopsy report. Id. at 16.

        Dr. May began reviewing the records on September 5, 2005. Id. at 18. She

 reviewed them through Friday, September 9, 2005. Id. at 18-19. One week is the

 common amount of time she spends on a case and she felt she had enough time to

 form her opinion. Id. at 41-42. She does not always have microscopic, or

 histological, slides in every case. Id. She explained that she does not know if such

 slides would have affected her opinion in this matter since she has no way of

 knowing what they would have shown. Id. at 43. Dr. May further explained such

 slides are most useful when a question of timing of an injury has arisen in a case. Id.

 at 51. She was never asked specifically about the timing of A.S.’s injuries. Id.

        Dr. May never went through the medical records with any member of the

 defense in order to explain them. Id. at 17. The medical records she reviewed referred

 to A.S. throwing “tantrums,” but she did not receive any information about him

 routinely throwing himself backward and hitting his head on the ground. Id. The


 19
   Microscopic, or histological slides, reflect biopsy size specimens of organs that are taken
 at the time of autopsy, then prepared for examination under a microscope. Id. at 42. The
 relevance of such slides in the present case is discussed more thoroughly below.

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 medical records did not reflect, nor did any individual inform her, that A.S. had been

 diagnosed with failure to thrive, or of the fall A.S. experienced in the week leading

 up to his death, nor that he was lethargic and experiencing positional discomfort

 during that week. Id. at 17-18.

       Upon review of the records, she agreed with the pathologist’s opinions that

 A.S.’s injuries resulted from abuse. Id. at 43. Dr. May testified that the abdominal

 injuries were significant because they indicated another area of the body that was

 injured besides the head. Id. at 46. The location of that injury typically signifies force

 being applied to the abdominal area and therefore, could not have been caused by a

 tantrum, hitting the back of the head, or a fall. Id. at 46. However, included in the

 report, Dr. May stated that the injury may have been caused by Petitioner’s attempt

 to perform CPR on A.S. at the residence following his collapse. Id. at 55; St. Ct. Ex.

 32 at 51. The injury was consistent with “inappropriate cardiopulmonary

 resuscitation by pressing too low on the abdomen of a small child.” Id.

       On September 9, 2005, Dr. May sent her report by Federal Express and

 facsimile to Mr. Funderburk’s office. Tr. Jan. 22, 2015 at 18-19, 33. The Federal

 Express package was due to arrive to Mr. Funderburk’s office by 3:00 p.m. on

 Monday, September 12, 2005, the first day of trial. Id. at 20-21. She also met with

 Mr. Funderburk, again at Applebee’s with his girlfriend and several children on

 Sunday, September 11, 2005, and provided the report to him there. Id. at 21. She



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 stated that prior to that date, no one on the defense team could have known her

 conclusions. Id. They met for approximately one hour. Id. at 22.

        Her notes indicate Mr. Funderburk called her on Monday, September 12,

 2005, at 2:08 p.m. and because she recorded no billable hours, she believes the call

 was brief, consistent with her memory of it. Id. at 24. Mr. Funderburk told her that

 she would not be expected to testify at the trial in Oklahoma, but he would like her

 to be present for the testimony of the medical examiner who performed the autopsy.

 Id. at 25-26. However, that decision was not made until a telephone conversation on

 Tuesday evening when she spoke with Eric Reynolds and Mr. Funderburk. Id. At

 that time, she brought Mr. Reynolds up to speed on her conclusions. Id. at 25-26, 50;

 Tr. Dec. 3, 2014 at 22-26. Mr. Funderburk wanted her to be at the trial the following

 day. Tr Jan. 22, 2015 at 25-26. It is a five hour drive from where she lived to

 Oklahoma City, so she did not arrive at trial until after the medical examiner had

 already testified. Id.20 She saw a portion of the testimony of Dr. Griggs, the attending


 20
    During his testimony, Mr. Slane repeatedly referenced the defense “flying her out” in
 reference to Dr. May’s travel to Oklahoma City, allegedly so that she could explain her
 findings to Petitioner and her family. Indeed, he referenced already having paid her travel
 expenses as a reason for her to attend trial even though they allegedly knew well in advance
 that she would not testify. Tr. Dec. 4, 2014 Vol. I at 89, 93-94, 140-42. However, Dr. May
 drove to Oklahoma City on the Wednesday of trial and drove back that night as no
 accommodations had been reserved or arranged for her. Tr. Jan. 22, 2015 at 25-26, 28-30.
 In fact, she ran into bad weather on her return trip and had to stay overnight in Perry,
 Oklahoma. Id. She included travel expenses in the bill she sent to Mr. Funderburk. Id. at
 30. Mr. Slane later admitted in his testimony that he does not know whether any expert
 witness was paid. Tr. Dec. 4, 2014 Vol. I at 140. Yet, he continued to cite her having been
 paid $5,000.00 as the reason they asked her to come to Oklahoma City. Id. at 142.

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 physician at Integris where A.S. passed away, and that of an ophthalmologist. Id. at

 26-27.

       Dr. May does not know why the defense team wanted her to go to Oklahoma

 City. Id at 27. “[I]t may have [had] something to do with the medical examiner, but

 because of the travel distance and the late notification I did not hear the medical

 examiner’s testimony.” Id.21 After trial ended that day, Mr. Funderburk, Mr. Slane,

 and she went to where Petitioner was incarcerated and had a discussion. Id. at 27-

 28, 38. They met with Petitioner for approximately one hour. Id. at 28, 38. After that,

 they went to dinner with members of Petitioner’s family. Id. at 28. Dr. May does not

 know the purpose of her presence at dinner. Id. Between 7:45 and 8:00 p.m. the

 dinner ended, and someone gave her directions to get back onto Interstate 35 to drive

 back to Kansas City. Id. at 28, 38.

       Dr. May sent a bill totaling $3,946.02 to Mr. Funderburk on September 20,

 2005, and sent it to him again in December 2005. Id. at 30-31. Mr. Funderburk never

 paid Dr. May for her time and services. Id.

       Prior to arriving in Oklahoma City and going to the courthouse, Dr. May had

 never spoken with or heard of David Slane. Id. at 26. Contrary to Mr. Slane’s



 21
   Mr. Slane testified that Dr. May helped them during trial by meeting with them during
 breaks and helping formulate questions. Tr. Dec. 4, 2014 at 93-94. Dr. May testified this
 never happened. Tr. Jan. 22, 2015 at 49-50. Indeed, Dr. May did not give the attorneys any
 notes that she took during trial until after trial concluded that day. Id.

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 testimony, Dr. May never brought him up to speed on her conclusions. When asked

 if she had ever discussed the case with Mr. Slane, Dr. May testified, “We may have

 had some discussion at the correctional facility but I don’t have specific notes

 regarding that.” Id. at 29-30.

       Other witness testimony also contradicted Mr. Slane’s recollection of Dr.

 May’s involvement in Petitioner’s case. Mr. Funderburk hired Mr. Reynolds to work

 on Petitioner’s case approximately two weeks before trial started. Tr. Dec. 3, 2014

 at 8.22 The prosecution’s theory was that A.S. had been injured and died almost

 immediately. Tr. Dec. 3, 2014 at 15. Mr. Reynolds testified that prior to trial starting,

 the defense theory was focused on the timing of A.S.’s injuries, that A.S. had been

 injured outside of that time frame and therefore, someone else could have injured

 the child. Id. He explained that they received Dr. May’s opinion either immediately

 before or after the trial started. Id. at 23-24, 30. He stated this made it “much less

 likely that [they] were going to succeed” as they could not argue as well that the

 injuries occurred outside the prosecution’s time frame. Id. at 30.

       Additionally, in August 2005, approximately three weeks before Petitioner’s

 trial, Mr. Funderburk had the previously referenced meeting with Ms. Carmichael in


 22
   Contrary to Mr. Slane’s testimony in which he stated that he asked Mr. Reynolds to meet
 with and coordinate character witnesses, Tr. Dec. 4, 2014 Vol. I at 67, Mr. Reynolds stated
 that Mr. Funderburk hired him to do so. Tr. Dec. 3, 2014 at 7-8. He explained that he did
 not meet Mr. Slane until Petitioner’s trial began and they did not spend time together
 preparing for trial. Id.

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 San Antonio, Texas. Tr. Dec. 1, 2014 at 165-66. Ms. Carmichael understood from

 that meeting that Mr. Funderburk had not yet hired any expert medical witnesses. Id.

 at 177-78. Following that meeting and before trial, Ms. Carmichael requested Mr.

 Funderburk attempt to delay the trial due to the lack of expert witnesses. Id. at 177.

 However, Mr. Funderburk did not want to do so. Id. at 180. Ms. Carmichael learned

 on the second day of Petitioner’s trial that Dr. May had been hired. Id. at 180-81.

       Petitioner challenges this finding to the extent it states defense counsel

 received Dr. May’s opinion on September 9, 2005. Doc. No. 227 at 45-46. The Court

 determines the finding is entitled to § 2254(e)(1)’s presumption of correctness. It is

 unlikely a member of the defense team reviewed Dr. May’s opinion prior to the night

 of Sunday, September 11, 2005, when Mr. Funderburk met with Dr. May in Kansas

 City. Certainly that was Dr. May’s impression. Tr. Jan. 22, 2015 at 21. Nevertheless,

 Dr. May did send the report by facsimile to Mr. Funderburk’s office on the afternoon

 of Friday, September 9, 2005. Petitioner has not presented clear and convincing

 evidence that no one accessed the report prior to Sunday. In any event, whether the

 defense first reviewed the opinion on the Friday or Sunday before trial began on

 Monday has no effect on the Court’s determinations.

 V.    Ineffective Assistance of Trial Counsel

       Petitioner contends her trial counsel was ineffective in seven ways.

 Specifically, Mr. Funderburk failed to (1) investigate A.S.’s medical records and



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 behavioral history, multiple resources and information regarding potential expert

 witnesses provided by the assistant public defender who initially represented

 Petitioner, and follow up analysis based on an expert witness’s recommendations in

 order to develop a cohesive defense strategy prior to trial; (2) interview potential fact

 and expert witnesses necessary to present a defense to the State’s case; (3) timely

 consult with and present qualified expert witnesses; (4) present a cohesive defense

 theory; (5) request a continuance in order to consult with other potential expert

 witnesses and interview the State’s medical witnesses; (6) act diligently on

 Petitioner’s behalf; and (7) adequately communicate with Petitioner. Although the

 undersigned will focus primarily on Petitioner’s claim as to Mr. Funderburk’s failure

 to secure and present expert medical testimony, this issue overlaps with several of

 the bases for this claim.

       To prevail on a claim of ineffective assistance of counsel, a petitioner must

 establish the following: (1) “counsel’s performance was deficient” and (2) “the

 deficient performance prejudiced the defense.” Strickland v. Washington, 466 U.S.

 668, 687 (1984). Regarding the first prong of a Strickland claim, i.e., deficient

 performance, the Supreme Court has held that “[t]he proper measure of attorney

 performance remains simply reasonableness under prevailing professional norms.”

 Id. at 688. Of course, whether an attorney’s conduct is reasonable will depend on the

 facts of the particular case. Id. To avoid the “distorting effects of hindsight,” an



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 attorney’s conduct should be judged “from counsel’s perspective at the time.” Id. at

 689. Review of an attorney’s performance is highly deferential, and there is a strong

 presumption that counsel “rendered adequate assistance and made all significant

 decisions in the exercise of reasonable professional judgment.” Id. at 690.

       In addition to deficient performance, a petitioner must also satisfy the second

 prong under Strickland by showing his counsel’s errors were prejudicial to the

 defense. Id. at 692. Prejudice exists where there is “a reasonable probability that, but

 for counsel’s unprofessional errors, the result of the proceeding would have been

 different.” Id. at 694. “If the alleged ineffective assistance occurred during the guilt

 stage, the question is whether there is a reasonable probability the jury would have

 had reasonable doubt regarding guilt.” Moore v. Gibson, 195 F.3d 1152, 1178 (10th

 Cir. 1999).

       A. Deficient Performance

       The record establishes Mr. Funderburk did not retain Dr. May until September

 1, 2005, less than two weeks prior to trial. As an initial matter, Respondent’s

 argument challenging Petitioner’s claim is based almost entirely on the premise that

 defense counsel consulted with two medical expert witnesses prior to deciding not

 to present expert testimony. Doc. No. 250 at 93-99. This Court has already

 determined Petitioner successfully rebutted by clear and convincing evidence that




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 finding of fact with regard to the unknown male expert. Regardless, the timing of

 Dr. May’s retention does not constitute effective assistance of counsel.

       The parties argue at length regarding whether Mr. Funderburk was ineffective

 based on his failure to interview and/or hire an expert witness who held a “minority”

 opinion with regard to shaken baby syndrome. These discussions are not entirely

 without relevance. However, in a case where the timing of A.S.’s injuries were of

 critical importance, Mr. Funderburk did not contact a medical expert holding any

 opinion until less than two weeks before trial, endorsed her (likely as a result of this

 delay) as an expert witness prior to knowing her opinion, and did not realistically

 have enough time after receiving her opinion to follow up on her suggestions or

 consult other experts for a potentially more helpful opinion.23 This, standing alone,

 raises the specter at the very least of ineffective assistance.

       With regard to the majority/minority view regarding shaken baby syndrome,

 the Court will discuss two cases cited by the parties in which the courts addressed

 the competing views and their history. In Commonwealth v. Epps, 53 N.E.3d 1247

 (Mass. 2016), the defendant was convicted of assault and battery on a child. Id. at

 1249. Epps shares some similarities with the present case.

       The prosecution contended that the defendant violently shook the two
       year old child in his care based on medical testimony that the child was

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   The degree to which following up on Dr. May’s suggestions may have affected the
 outcome of Petitioner’s case is discussed in the section below addressing the prejudice
 prong of Strickland.

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       diagnosed with traumatic brain injury, and scans of her brain that
       showed retinal hemorrhages, subdural hematoma, and brain swelling,
       the three symptoms known as “the triad” associated with shaken baby
       syndrome. The defendant, when interviewed by the police, denied
       having injured the child and reported that, hours before the child’s
       grievous injuries became manifest, she had fallen down the wooden
       stairs in her home and had later fallen off a kitchen stool, leaving a
       bump on her forehead. The Commonwealth’s medical expert offered
       the opinion that injuries of the type and severity suffered by the child
       could not have been caused by the short falls described by the
       defendant. The defendant called no expert to offer an opinion to the
       contrary.

 Id. at 1249-50. The defendant filed a postconviction motion for a new trial asserting,

 inter alia, ineffective assistance of counsel based on counsel’s failure to “retain a

 medical expert to question whether [the subject child’s] injuries were caused by

 shaken baby syndrome and to acknowledge the possibility that her injuries could

 have been caused by an accidental short-distance fall.” Id. at 1255.

       While the defendant’s ineffective assistance claim is certainly similar to the

 present case, the factual events regarding defense counsel’s performance differ. In

 Epps, trial counsel retained one expert, Dr. Edward Sussman, and counsel was aware

 before doing so that Dr. Sussman believed in the validity of shaken baby syndrome

 as a diagnosis. Id. Without viewing the CT and other radiological scans, Dr. Sussman

 advised counsel that the child’s injuries were compatible with impact to the left

 temporal lobe of the brain and “the tearing of veins in her brain and bilateral retinal

 hemorrhaging were some evidence of shaking.” Id. at 1255 (quotations omitted). He

 also concluded portions of the child’s injuries were not compatible with the reported

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 falls because he did not believe the falls were of a great enough height. Id. Based on

 this, “counsel chose not to call Dr. Sussman as a witness because counsel did not

 believe that he would be of value.” Id. (quotations omitted).

       The court further explained,

       Trial counsel also contacted other attorneys who had worked on shaken
       baby cases to find out which experts they had used. At the time of the
       motion hearing, he could recall that he had spoken with only one
       attorney and that the attorney had consulted with Dr. Plunkett, but had
       not called him to testify at trial. Counsel said that the attorney expressed
       an opinion about Dr. Plunkett that led him to decide that Dr. Sussman
       was “best.” Counsel spoke with Dr. Sussman about Dr. Plunkett's
       research regarding short falls, and Dr. Sussman told him that Dr.
       Plunkett was an opponent of shaken baby syndrome but that his
       opinions “had been refuted in several peer review articles.”

       Although trial counsel read literature critical of shaken baby syndrome,
       he did not contact any of the authors of that literature and did not seek
       to retain any other critics who could be helpful as expert witnesses. He
       testified that he did not choose to call an expert because he believed,
       based on his conversations with other attorneys, that doctors who
       questioned the validity of shaken baby syndrome were subject to attack
       by their peers, which would render them more vulnerable to cross-
       examination and might lead to a counter-expert being called by the
       Commonwealth. He said, however, that if he had found an expert from
       out-of-State who had solid credentials and could assist the defense, he
       would have “brought in” that witness to testify.

  Id. at 1255-56 (additional quotations omitted).

       At the evidentiary hearing on the motion for new trial, the defendant presented

 an expert, Dr. Joseph Scheller, a pediatrician and child neurologist, who described

 the questionable validity of shaken baby syndrome as a valid and scientifically

 supported diagnosis, the lack of scientific evidence to support the same, that the

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 confessions in these types of cases are usually “either exaggerated or coerced,” and

 that he had “never once seen a confession that explains every injury.” Id. (quotations

 omitted). He also challenged Dr. Wilson’s diagnosis. In detailing the medical

 evidence of the child’s injuries, he concluded that the injuries could have resulted

 from either a short fall, such as three stairs or a fall from 1½ to 2 feet, or an

 intentional act, and that there was no way to tell from the CT scans and other medical

 evidence. Id. at 1257.

       In considering the defendant’s claims, the court discussed the evolving

 literature and opinions on shaken baby syndrome and its influence on the medical

 field overall. Id. at 1257-58, 1260-61, 1264-65.

       [] Dr. Scheller testified that shaken baby syndrome is the subject of
       heated debate and widespread disagreement among forensic
       pathologists, radiologists, pediatricians, ophthalmologists, and
       physicists and biomedical engineers. He stated that, although in 2006
       every pediatrician and child abuse specialist he met believed strongly
       that shaken baby syndrome was a valid diagnosis, in the more recent
       past a “significant minority” has recognized that the science behind
       shaken baby syndrome is questionable and has instead adopted the term
       “abusive head trauma” or “abusive head injury” as a more general term
       for inflicted injury. He stated that ophthalmologists disagree on whether
       retinal hemorrhages prove shaken baby syndrome; although the
       majority agree that retinal hemorrhages provide some evidence in
       support of a shaken baby syndrome diagnosis, a minority of
       ophthalmologists believe that their presence does not point to a specific
       diagnosis. Dr. Scheller testified that, among radiologists, pathologists,
       and pediatricians, the majority supporting the shaken baby syndrome
       theory has shrunk.
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        At the time of trial [in 2007], there was substantial scientific and
        medical literature that recognized the possibility that accidental short
        falls can cause serious head injuries in young children of the type
        generally associated with shaken baby syndrome. Numerous studies
        had also been published at the time of trial challenging the view that
        shaking alone can produce the types of injuries associated with shaken
        baby syndrome. Although these issues were hotly contested in the
        relevant medical and scientific fields, see People v. Ackley, [] 870
        N.W.2d 858 (2015); State v. Edmunds, [] 746 N.W.2d 590 (2008), and
        although the experts who would support the positions beneficial to the
        defense were in the minority in this debate, there was significant
        medical and scientific support for these minority positions. See notes
        15 and 16, supra; note 17, infra; Millien, [] 50 N.E.3d 808. There were
        also published articles that identified the methodological shortcomings
        of the research supporting the majority view on shaken baby syndrome,
        and that highlighted the difficulties faced by physicians in accurately
        diagnosing the cause of injuries that appear to have been caused by
        child abuse.

 Id. at 1257-58, 1260-61 (footnotes omitted).24

        The court in Epps also noted that this growing change in opinions regarding

 shaken baby syndrome influenced the American Academy of Pediatrics (“AAP”) to

 change its position regarding the diagnosis of child abuse in head injuries. Id. at

 1264-65.

        In July[] 2001, the Committee on Child Abuse and Neglect of the AAP
        declared, “Although physical abuse in the past has been a diagnosis of
        exclusion, data regarding the nature and frequency of head trauma
        consistently support the need for a presumption of child abuse when a

 24
    The Court has omitted lengthy footnotes that cite numerous studies and/or literature
 supporting the “minority” view that short falls can cause the head injuries associated with
 shaken baby syndrome, as well as questioning the methodologies used to diagnose the
 same. Id. Though not determinative in this matter, it is noteworthy that the majority of
 these studies and/or literature were published before 2005 when Petitioner’s trial occurred.
 Id.

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       child younger than [one] year has suffered an intracranial injury.”
       Shaken Baby Syndrome: Rotational Cranial Injuries—Technical
       Report, 108 Pediatrics 206, 206 (2001). In 2009, however, the AAP
       acknowledged in a policy statement that “[f]ew pediatric diagnoses
       engender as much debate as [abusive head trauma].” Christian, Block,
       & Committee on Child Abuse and Neglect of American Academy of
       Pediatrics, Abusive Head Trauma in Infants and Children, 123
       Pediatrics 1409, 1410 (2009). The AAP recognized that the
       “[c]ontroversy is fueled because the mechanisms and resultant injuries
       of accidental and abusive head injury overlap, the abuse is rarely
       witnessed, an accurate history of trauma is rarely offered by the
       perpetrator, there is no single or simple test to determine the accuracy
       of the diagnosis, and the legal consequences of the diagnosis can be so
       significant.” Id. The 2009 policy statement no longer spoke of a
       presumption of child abuse, and instead declared, “A medical diagnosis
       of [abusive head trauma] is made only after consideration of all clinical
       data,” noting that pediatricians “have a responsibility to consider
       alternative hypotheses when presented with a patient with findings
       suggestive of [abusive head trauma].” Id.

 Id.

       The court in Epps noted that the defendant’s trial counsel had two alternative

 defense theories: “[H]e could argue that there was a reasonable doubt whether the

 defendant caused [the child’s] injuries because of the possibility that her injuries

 were caused by the accidental falls she sustained earlier that morning . . .; or that

 there was a reasonable doubt whether the defendant caused [the child’s] injuries

 because of the possibility that [the mother] intentionally inflicted the injury.” Id. at

 1260. The court also noted the former theory had significant support in the record as

 the defendant had consistently reported the falls and they were strongly corroborated

 by other evidence. Id. Within this context, the court considered whether “it was



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 manifestly unreasonable for counsel to have decided to confer with no other expert

 who might challenge the diagnosis of shaken baby syndrome or who might challenge

 the opinion that [the child’s] symptoms could not possibly have been caused by the

 accidental falls described by the defendant.” Id.

       Without an expert to testify to the possibility that [the child’s] injuries
       might have been caused by her accidental falls, all that trial counsel was
       able to do to advance the theory of accident was to ask Dr. Wilson to
       acknowledge the existence of Dr. Plunkett’s findings regarding short
       falls, which Dr. Wilson did and then noted that Dr. Plunkett’s findings
       were not widely accepted within the national community of
       pediatricians and were not recognized by the [AAP]. . . . And without
       an expert to testify in support of the minority position, or vigorous
       cross-examination prepared with the assistance of such an expert, there
       is no reason to believe that a jury will be persuaded by a view rejected
       by the majority of experts in a learned field. Defense counsel apparently
       recognized the futility of an accident defense without the testimony or
       aid of such an expert, because, in closing argument, he effectively
       abandoned the accident defense entirely, and asked the jury simply to
       consider who “struck the blow.”

 Id. at 1262.

       The court concluded it was unreasonable for counsel to make so little effort

 in retaining an expert to support the defense of accident. Id. at 1263.

       Having informed the judge at the beginning of trial that he did not plan
       to pursue a third-party culprit defense, defense counsel’s failure to
       consult with any expert other than Dr. Sussman effectively meant that
       the defendant commenced trial without any substantial defense, even
       though further investigation would have supported a potentially
       substantial defense of accident. Trial counsel testified that he would
       have retained an expert to testify if he could have found one with “solid
       credentials” who could assist the defense. But when asked if he made
       “any inquiries into whether any experts other than Dr. Plunkett would
       be helpful as witnesses in this case,” he answered, “No.” He also

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       testified that he never contacted any of the authors of the scholarly
       articles that questioned the validity of shaken baby syndrome or that
       recognized the possibility that short falls could cause the type of injuries
       usually associated with shaken baby syndrome. Where there was
       strong, corroborated evidence that [the child] had suffered a head injury
       from at least one short accidental fall, where accident was the defense
       that counsel presented to the jury in opening statement, and where this
       defense was tenable only with the aid of an expert to challenge the
       majority views on short falls and shaken baby syndrome, it would have
       been manifestly unreasonable for counsel to have made so little effort
       to find and retain such an expert if there were experts available with
       “solid credentials,” that is, experts who could have been found credible
       by a reasonable jury, and who challenged these views.

 Id.

       The court further addressed whether counsel could have been considered

 ineffective in 2007, when the trial occurred, because while there were certainly

 scientific and medical studies supporting the “minority view,” the record was sparse

 on whether there were credible experts available to testify regarding the same. Id.

 Ultimately, the court decided that it did not have to make such a determination.

 Relying on the evolution of scientific and medical studies following 2007 and the

 fact that defense counsel did not present any expert testimony, the court concluded:

       [O]ur touchstone must be to do justice, and that requires us to order a
       new trial where there is a substantial risk of a miscarriage of justice
       because a defendant was deprived of a substantial defense, regardless
       whether the source of the deprivation is counsel’s performance alone,
       or the inability to make use of relevant new research findings alone, or
       the confluence of the two. See Commonwealth v. Brescia, [] 29 N.E.3d
       837 (2015) (“if it appears that justice may not have been done, the
       valuable finality of judicial proceedings must yield to our system’s
       reluctance to countenance significant individual injustices”).



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       Therefore, we need not determine whether it was manifestly
       unreasonable in July [] 2007, for trial counsel to have failed to make
       the additional effort needed to find an appropriate expert. It suffices that
       we conclude that the defendant was deprived of a defense from the
       confluence of counsel’s failure to find such an expert and the evolving
       scientific research that demonstrates that a credible expert could offer
       important evidence in support of this defense.

 Id. at 1266.

       This Court is not performing an appellate review and thus, has less flexibility

 to consider a “confluence” of factors outside of Mr. Funderburk’s performance.

 Unlike the attorney in Epps though, Mr. Funderburk did not consult an expert well

 before trial. As established, counsel did not contact Dr. May until September 1, 2005,

 did not provide the necessary records for her review until the night of September 4,

 2005, so that she began reviewing the records the following morning – one week

 before trial started. Due to the looming trial deadlines, defense counsel endorsed her

 as a witness without knowing Dr. May’s ultimate opinions or suggestions. By the

 time they received Dr. May’s opinion on the eve of trial, there was no time to consult

 with another medical expert to see if they could possibly find an expert that might

 reach a different conclusion. Like the defendant in Epps, this left Petitioner without

 a substantial defense and with no expert testimony to support an alternative cause of

 death or injury.

       The Court agrees that defense counsel was not required to “doctor shop,” as

 Respondent phrased it. In other words, counsel was not required to perpetually



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 continue searching for an expert witness until he found one to support an alternative

 cause of death. However, there is a cavernous divide between “doctor shopping” and

 failing to contact a medical expert witness until less than two weeks before trial. As

 noted, by the time he received Dr. May’s opinions, he had no time to contact another

 expert or consider her follow-up suggestions.

       Another case cited by each party speaks to this issue. In People v. Ackley, 870

 N.W.2d 858 (Mich. 2015), the defendant was convicted by a jury of first-degree

 child abuse. There were no witnesses to the acts that caused the child’s injuries and

 death and, therefore, no direct evidence of causation. To prove causation, the

 prosecution called five medical experts, each of whom testified, similar to the

 present case, that the child had died as the result of nonaccidental shaking, blunt

 force trauma, or a combination of both.

       The defendant denied hurting the child and stated that the child’s injuries and

 death were the result of an accidental fall – he testified that he found the unconscious

 child on the floor in the child’s bedroom. Defense counsel contacted one expert prior

 to trial, Dr. Brian Hunter. Id. at 860. Dr. Hunter informed him immediately of the

 debate within the medical community regarding shaken baby syndrome and/or

 abusive head trauma and that he was not the best expert for the defendant because

 he was on the opposite side of the debate. Id. at 861. Dr. Hunter specifically

 recommended at least one well-known forensic pathologist, Dr. Mark Shuman, who



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 had conducted substantial research on short falls and who may support the

 defendant’s theory. Id. Defense counsel never contacted Dr. Shuman or any other

 expert and instead, consulted with Dr. Hunter a second time stating inexplicably that

 Dr. Shuman was not going to work out. Id. Dr Hunter again advised against using

 him as an expert. Id. Counsel later testified that he nevertheless continued to use Dr.

 Hunter to prepare for trial regarding how to approach the prosecution’s witnesses.

 Id.

       Following his conviction, the defendant filed a motion for new trial raising

 ineffective assistance of counsel based on the above. In support, the defendant

 submitted an affidavit from another well-known expert in forensic pathology who

 opined that the bruises on the child’s body were consistent with the intubation and

 CPR she received on the day of her death. Id. at 861-62. He further explained that

 he would have testified that her injuries could not be attributed to shaken baby

 syndrome, or abusive head trauma, but were caused by a likely accidental ‘mild

 impact.’ Id. at 862. The trial court granted the motion, but the court of criminal

 appeals reversed concluding that “counsel’s decision not to consult a second opinion

 constituted trial strategy.” Id. (quotations omitted).

       The Michigan Supreme Court reversed concluding that counsel did not have

 sufficient information to legitimate his choice to consult only Dr. Hunter. Id. at 863.

       As defense counsel was well aware before trial, the prosecution’s
       theory of the case was that the defendant intentionally caused the

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       child’s unwitnessed injuries, a premise that it intended to prove with
       expert testimony. This testimony would require a response, and indeed,
       the court granted counsel funding to seek expert assistance of his own.
       Yet counsel contacted only Hunter, who repeatedly made clear that he
       credited the prosecution’s SBS/AHT theory and disagreed with the
       defense’s theory. While conceding that the SBS/AHT diagnosis was not
       universally accepted within the medical community, Hunter explained
       to counsel that he “really d[id]n’t think [he] could help” the defendant
       because he was on the wrong side of this debate in his field.

       As a solution, he advised counsel to consult Dr. Shuman, who not only
       was on the defendant’s side of the SBS/AHT debate generally, but was
       significantly more likely to agree with the defendant’s claim that the
       child’s death in this case must have been accidental. Hunter even
       suggested that Dr. Shuman was more qualified because he had studied
       short falls extensively. Whereas Hunter was part of the group of experts
       who “don't have a good model” to support the accidental fall theory,
       Dr. Shuman was “someone who has dug into the physics” and the
       “proposed models” of a short-fall injury. Hunter also characterized Dr.
       Shuman as a “man of science” and as “the best expert in these types of
       situations.” Yet counsel ignored this advice. He did not contact Dr.
       Shuman or any other forensic pathologist with expertise in short falls,
       rendering Hunter his expert by default.

 Id.

       In finding that counsel did not have enough information to label his choice to

 consult only Dr. Hunter “strategic,” the court noted the Supreme Court’s holding,

 “While an attorney’s selection of an expert witness may be a ‘paradigmatic example’

 of trial strategy, that is so only when it is made ‘after thorough investigation of [the]

 law and facts’ in a case.” Id. (quoting Hinton v. Alabama, 571 U.S. 263, 274 (2014))

 (emphasis in Ackley). The court explained, “We fail to see how counsel’s sparse

 efforts satisfied his ‘duty to make reasonable investigations or to make a reasonable



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 decision that makes particular investigations unnecessary.’” Id. at 864 (quoting

 Hinton, 571 U.S. at 274). The court also noted,

       . . . [While] counsel is not required to shop for experts until finding one
       who will offer favorable testimony . . . . we fail to see [the] relevance
       [of that general proposition] here. In this case, counsel did no
       consultation at all beyond settling on the very first expert he
       encountered, despite the importance of expert medical testimony in the
       case and despite that expert’s specific recommendation to contact a
       different and more suitable expert.

              ....

       Accordingly, we conclude that counsel’s efforts to investigate and
       attempt to secure suitable expert assistance in preparing and presenting
       defendant’s case fell below an objective standard of reasonableness.
       While the Court of Appeals may be correct that counsel’s deficiencies
       in this regard did not infect all of his conduct throughout the trial, the
       rest of his advocacy could not cure this crucial error. As the Supreme
       Court has said, “a single, serious error may support a claim of
       ineffective assistance of counsel.” Kimmelman v. Morrison, 477 U.S.
       365, 383 [] (1986). Given the centrality of expert testimony to the
       prosecution’s proofs and the highly contested nature of the underlying
       medical issue, counsel committed exactly that kind of error by failing
       to consult an expert who could meaningfully assist him in advancing
       his theory of defense and in countering the prosecution’s theory of guilt.

 Id. at 864-65 (additional citation omitted)

       Ackley is distinguishable from the present case, though nevertheless relevant.

 Here, Dr. May did not recommend a specific expert witness who may have been

 better suited to consider Petitioner’s defense of an alternative cause of death.

 However, there are similarities. Dr. May did suggest certain follow up tests and/or




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 other types of medical experts who may be able to more directly illuminate the cause

 of death and/or the timing of the injury. In Dr. May’s report, she stated:

        (2) The documentation of the microscopic analysis of the brain by the
        pathologist for the presence or absence of axonal retraction bulbs,
        indicating diffuse axonal injury (DAI) fails to include the use of special
        histological stains and which areas of the brain were sampled.

               ....

        (4) In my view the inclusion of specialized pathology consultants,
        specifically a neuropathologist and ophthalmic pathologist[,] would
        have afforded a more thorough examination of the brain and eyes.

 St. Ct. Ex. 32 at 51.25 During the evidentiary hearing, Dr. May testified that the types

 of medical experts she referenced, including neuropathologists, presumably existed

 in Oklahoma City. Tr. Jan. 25, 2015 at 53-54. However, counsel could not

 realistically make a choice about whether to follow up on her suggestions as trial

 was starting within two days, at most. Furthermore, counsel could not make a

 decision regarding whether it was feasible to consult an additional expert also

 because trial was imminent.

        Thus, as in Ackley, the Court finds counsel’s decisions to either not consult an

 additional expert and/or not follow up on Dr. May’s suggestions were not strategic

 choices. In a case that relied so heavily on medical evidence, “counsel’s efforts to


 25
   At the evidentiary hearing, Dr. May explained that histological slides are helpful when
 there is a question regarding when the subject injury occurred. Tr. Jan. 22, 2015 at 51. She
 further explained that she does not recall being asked any questions in this case regarding
 the timing of A.S.’s injuries. Id.

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 investigate and attempt to secure suitable expert assistance in preparing and

 presenting defendant’s case fell below an objective standard of reasonableness.”

 Ackley, 870 N.W.2d at 865. Counsel was not able to make a “strategic choice” due

 to his delay in consulting a medical expert for Petitioner’s defense. The choice was

 out of his hands at that point, unless he was willing to seek a continuance, and it is

 clear from the record he did not attempt to do so.

       The Supreme Court has explained:

       [S]trategic choices made after thorough investigation of law and facts
       relevant to plausible options are virtually unchallengeable; and strategic
       choices made after less than complete investigation are reasonable
       precisely to the extent that reasonable professional judgments support
       the limitations on investigation. In other words, counsel has a duty to
       make reasonable investigations or to make a reasonable decision that
       makes particular investigations unnecessary. In any ineffectiveness
       case, a particular decision not to investigate must be directly assessed
       for reasonableness in all the circumstances, applying a heavy measure
       of deference to counsel’s judgments.

 Wiggins v. Smith, 539 U.S. 510, 521-22 (2003) (quoting Strickland, 466 U.S. at 690-

 91). Based on the record, the Court cannot conclude Mr. Funderburk engaged in a

 reasonable investigation that would make his decision not to consult with and/or

 potentially present other expert witnesses a strategic choice.

       The deficient performance prong of Strickland is “is necessarily linked to the

 practice and expectations of the legal community: The proper measure of attorney

 performance remains simply reasonableness under prevailing professional norms.”

 Hinton, 571 U.S. at 273 (quotations omitted). Petitioner presented Robert Wyatt, a

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 local criminal defense attorney recognized by various organizations for the quality

 of his legal representation, to offer his opinion regarding whether Mr. Funderburk’s

 representation violated the Strickland standard of effective assistance of counsel. Tr.

 March 19, 2015 at 89-96.

        He testified that specifically in a case that turns so starkly on medical evidence

 and, where funds were provided, it was unreasonable “to not engage an expert until

 about 10 days before trial, which is the day the witness list is due.” Id. at 103.

        [It was not reasonable] for the reason that you don’t know what the
        answers are. If you knew what the answers were, you might be able to
        say yes and have that person ready. But if your witness and exhibit list
        is due 10 days before trial, you can’t wait until that day to provide it,
        because you have to give a significant summary of what the witness
        will testify to.

        They also, the State generally wants a report, and they want to know
        what that person has reviewed and what they are looking at, and what
        they are going to say.

        And in addition to that, let’s say that as a result of the findings of the
        doctor, which I think there are some here that were relevant, they may
        need to send that material off to another expert, someone who’s a
        specialist to look at things. And you can’t have that done if you wait
        until 10 days before trial. It’s just not feasible logistically to do that.

               ....

        So I don’t think that’s reasonable, I don’t think it’s sound trial strategy.

 Id. at 106-07.26


 26
   Notably, during a motion in limine hearing on the first day of Petitioner’s criminal trial,
 the State complained that it had not received timely notice of Petitioner’s defenses, nor the

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        Mr. Wyatt also explained that unless you were using it solely for cross-

 examination purposes, it would not be possible that a report received as close to the

 beginning of trial as Dr. May’s would adequately inform a defense strategy. Id. at

 107. For example, in this case, Dr. May specifically suggested that defense counsel

 investigate particular issues that might show the subject injuries were older than

 alleged in this case. Id. Mr. Wyatt concluded that the delay in obtaining an expert

 witness in this case could not be considered strategic.

        Not a strategic reason, if they didn’t have other expert testimony lined
        up.

        I can’t see that there’s strategy at all when it’s 10 days before trial.
        That’s where I have a problem with it.

               ....

         . . . That’s not a strategic approach. You have to have a game plan
        going into trial, not seat of your pants. And you don’t get the materials
        the Friday before Monday’s trial, or the night before, that’s not strategic
        period.

        So any questions regarding strategy, I have to say that with respect to
        expert testimony in this case, I don’t think it’s strategic, period.

 Id. at 115-16.


 report of Petitioner’s endorsed expert witness, Dr. May. Doc. No. 250 at 101-05.
 Additionally, the court ruled therein that Petitioner could not introduce evidence of A.S.’s
 falls, behavioral problems, and developmental delays because counsel had no expert
 medical testimony to support its relevancy. Id.; Tr. Dec. 2, 2014 at 22-23 (“My concern
 is if you have no medical personnel [who are] going to say these injuries could have
 been caused by the child inflicting them on himself then the fact that this child may
 have had these behavior issues or these things going on is irrelevant.”).

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       Mr. Wyatt also noted that even if the expert witness, such as Dr. May, states

 that they had ample time to review the record and provide an opinion, it is still not

 reasonable performance by counsel because they have no time to adjust their

 strategy. Id. at 139. Mr. Slane stated that they consulted with an additional expert

 witness and he had adequate time to adjust their strategy following receipt of Dr.

 May’s report.27 However, the defense did not have time to follow up on Dr. May’s

 suggestions regarding histological stains and the presence of iron in A.S.’s injuries.

 She indicated further examination and testing of these issues might prove A.S.’s fatal

 injuries were older than the State alleged. Id. at 139.

       Respondent contends that when told about additional elements of the case on

 cross-examination, Mr. Wyatt “substantially revised his opinion.” Doc. No. 250 at

 86-87. A review of the transcript reveals Respondent’s characterization of Mr.

 Wyatt’s testimony in this regard is exaggerated.

       The State, in cross-examining Mr. Wyatt, referenced a taped confession in

 which Petitioner described actions she took that were consistent with the injuries

 A.S. received. State’s counsel then asked Mr. Wyatt if this evidence would change

 his opinion regarding whether it was reasonable for defense counsel to change their

 strategy to “some other person did it?” Tr. March 20, 2015 at 15-16. Mr. Wyatt



 27
   Though Mr. Slane also incorrectly testified they received Dr. May’s opinion weeks
 before Petitioner’s trial. Supra.

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 responded, “Certainly all of those factors would go into a determination of whether

 you would use an alternative theory” and that it “could potentially” change his

 opinion. Id. at 16, 17.

       Respondent does not include Petitioner’s objection at the hearing explaining

 that in actuality, the medical testimony at trial indicated Petitioner’s taped confession

 was not consistent with the medical findings. Id. at 16; Doc. No. 250 at 86 (wherein

 Respondent summarizes this portion of the transcript as “[Petitioner’s objection

 overruled].”). Moreover, Mr. Wyatt continued to testify both during the remainder

 of cross-examination and on redirect following this questioning that these types of

 issues would not affect his conclusion that counsel’s delay in contacting an expert

 witness until 10-12 days before trial was unreasonable, deficient, and not a sound

 strategic decision. Tr. March 20, 2015 at 17-19, 25-27.

       The Court agrees with Mr. Wyatt’s conclusions regarding Mr. Funderburk’s

 representation in this matter. The Court cannot conclude that Mr. Funderburk’s

 failure to engage an expert witness until eleven days before trial “might be

 considered sound trial strategy.” Strickland, 466 U.S. at 689 (quotations omitted).

 While Mr. Funderburk was not required to shop around for an expert until he found

 one that supported an alternative theory of causation, the fact that he did not consult

 a medical expert until trial was imminent, his witness list was due, and he had no

 time to follow up on any potential suggestions from the expert and/or alter his



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 strategy is undeniably deficient. Mr. Funderburk was clearly not making “strategic

 choices . . . after thorough investigation of law and facts . . . .” Id. at 690. His

 “complete lack of pretrial preparation put[s] at risk both [Petitioner’s] right to an

 ‘ample opportunity to meet the case of the prosecution’ and the reliability of the

 adversarial testimony process.” Kimmelman, 477 U.S. at 385 (quoting Strickland,

 466 U.S. at 685, 688) (additional citation omitted).28

        “Strickland recognized that the Sixth Amendment’s guarantee that ‘[i]n all

 criminal prosecutions, the accused shall enjoy the right . . . to have the Assistance of

 Counsel for [her] defence’ entails that defendants are entitled to be represented by

 an attorney who meets at least a minimal standard of competence.” Hinton, 571 U.S.

 at 272 (quoting Strickland, 466 U.S. at 685-87). “Criminal cases will arise where the

 only reasonable and available defense strategy requires consultation with experts or

 introduction of expert evidence.” Hinton, 571 U.S. at 273 (quoting Harrington v.

 Richter, 562 U.S. 86, 106 (2011)). As in Hinton, Ackley, and Epps, where the

 underlying injuries are unwitnessed and the prosecution’s case rests heavily on

 expert testimony, this was such a case.


 28
   The Court notes its conclusion would not be altered if indeed counsel had contacted an
 unknown male witness. Contrary to Mr. Slane’s testimony, it is clear that counsel did not
 contact Dr. May until September 1, 2005, did not deliver records for her to review and
 examine until late on September 4, 2005, and therefore, did not have her opinion until the
 weekend before trial. At that point, it was too late to make any real strategic determination
 as to whether further expert consultations were necessary and/or whether to follow up on
 Dr. May’s suggestions regarding additional testing.

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         Nothing in the record indicates counsel’s failure to contact a medical expert

  witness until September 1, 2005, when trial was imminent, was a strategic decision.

  Counsel simply did not take any action to secure necessary medical expert testimony

  until approximately eleven days before trial. It is clear from the testimony and

  evidence presented at the state’s evidentiary hearing in this matter that Mr.

  Funderburk’s “overall performance” did not live up to “prevailing professional

  norms” and was constitutionally deficient. Hinton, 571 U.S. at 273; Kimmelman,

  477 U.S. at 381. Based on a review of the record in this matter, the relevant law, and

  the state court’s order and reasoning, the Court concludes Petitioner has met the

  deficient performance prong under Strickland.29

          B. Prejudice

         Having established Mr. Funderburk’s performance was constitutionally

  deficient under the first prong of Strickland, Petitioner “must also ‘show that there

  is a reasonable probability that, but for counsel’s unprofessional errors, the result of


  29
     In light of the recommendation, it is unnecessary to address the remaining bases for
  Petitioner’s ineffective assistance of counsel claim. However, Petitioner’s allegations that
  Mr. Funderburk’s failure to adequately investigate her defense, request a continuance in
  order to consult with additional expert witnesses, and present a cohesive defense overlaps
  with the Court’s finding as to his failure to timely consult with and present expert witnesses
  at Petitioner’s trial. Additionally, Petitioner’s claim that counsel failed to present a
  cohesive theory of defense is supported by Tr. Vol. I at 7-20. Finally, it seems unlikely that
  anyone from the defense team met with Petitioner between February 2005 and the weekend
  before her trial. Though Mr. Slane claims to have met with Petitioner between six and
  twelve times during those months and that he signs in at the county jail only “occasionally,”
  the Jail Logs do not show that he signed in on even one occasion. St. Ct. Ex. 43B.


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  the proceeding would have been different.’” Hinton, 571 U.S. at 275 (quoting

  Strickland, 466 U.S. at 694). The primary basis for the Court’s finding that Petitioner

  has met the prejudice prong of Strickland was set forth in this Court’s previous ruling

  finding Petitioner’s evidence, which remains largely unrebutted, from five medical

  experts met the threshold finding of actual innocence and allowed this Court to

  consider her procedurally barred claims. Doc. Nos. 135, 139.30 Thus, the Court will

  review the previous findings, Respondent’s arguments, and additional evidence

  herein.

        In his previous Findings in this case, Judge Bacharach discussed the relevant

  evidence presented by the State’s medical experts regarding the cause and timing of

  A.S.’s injuries. The State’s three medical expert witnesses were Dr. Johnny Griggs,

  Dr. David Korber, and Dr. Chai Choi. Doc. No. 135 at 2.

              Dr. Griggs is a physician who treated A.S. at the hospital and
        opined that the boy had died from shaken-baby syndrome. For this
        opinion, Dr. Griggs relied on subdural hemorrhages in both eyes,
        massive swelling of the brain, and some bleeding into the brain.

                ....

  30
    The Court notes Petitioner’s burden of proof for actual innocence permitting this Court
  to consider otherwise procedurally barred claims is more strenuous than Strickland’s
  prejudice prong. In order to establish “actual innocence,” Petitioner had to establish that
  “in light of the new evidence, no juror, acting reasonably, would have voted to find [her]
  guilty beyond a reasonable doubt.” Schlup v. Delo, 513 U.S. 298, 329 (1995). By
  comparison, Strickland requires Petitioner show only that there is “a reasonable
  probability” that a jury would have believed Petitioner’s new medical experts and
  the result of her criminal proceeding would have been different. Strickland, 466 U.S.
  at 694.

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               Dr. David Korber is an ophthalmologist who treated A.S. on
        January 14, 2005. . . . Dr. Korber concluded that his findings were
        consistent with shaken baby syndrome. These findings involved
        “thousands” of retinal hemorrhages, a “massive amount of blood all
        over the retina,” and two detached retinas. For the level of eye damage
        Dr. Korber saw, he initially stated that he thought the injuries would
        probably have been sustained between “a few days” to “a week” before
        January 13, 2004. Later in his testimony, however, Dr. Korber appeared
        to question the ability of anyone to estimate how much time had passed
        between the injuries and the loss of consciousness.

               ....

               A forensic pathologist, Dr. Chai Choi, performed the autopsy on
        A.S. and attributed the death to head trauma with blunt force. At trial,
        Dr. Choi testified that prior to [January] 13, 2004, A.S. had been
        “essentially . . . a normal child” without any “known medical specific
        history.” At the time of the autopsy, however, the boy had a massive
        brain edema (swelling), tearing of the bridging veins, retinal
        hemorrhages, periserosal mesenteric hemorrhages of a duodenum,
        subscapular bruises, subarachnoid hemorrhages, a subdural hematoma,
        and a subgaleal hematoma. Based on these newly-acquired conditions,
        the physician concluded that the brain injury had been caused by shaken
        baby syndrome with impact.

               Like Dr. Griggs and Dr. Korber, Dr. Choi was asked how much
        time would have elapsed between the shaking and the boy’s loss of
        consciousness. Dr. Choi answered that the time-period would depend
        on how the child tolerated the shaken impact, but would usually have
        taken only minutes. Similarly, Dr. Choi stated that if the impact had
        been “very violent,” the brain-swelling would immediately have
        resulted in an inability to breathe and a loss of consciousness.

  Id. at 3, 5-7 (footnotes omitted).

        Petitioner presents reports of five medical expert witnesses: Dr. Julie Mack, a

  radiologist, Dr. Ophoven, a pathologist, Dr. Wayne Squier, a neuropathologist, Dr.



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  Horace Gardner, an ophthalmologist, and Dr. Patrick Barnes, a neuroradiologist. As

  noted by Judge Bacharach, the reports reflect two broad categories of opinions –

  “criticism of the conclusions expressed by Doctors Griggs, Korber, and Choi, tying

  the boy’s death to trauma or shaken baby syndrome” and “expression of a belief that

  if the death had involved trauma, the injury would have been inflicted days, weeks,

  or months before January 13, 2004.” Id. at 8.

        Focusing on Petitioner’s medical expert testimony regarding the timing of

  A.S.’s fatal injuries, there is no question that a reasonable probability exists that it

  could have affected the jury’s verdict. As Judge Bacharach explained,

        The State’s theory was that Ms. Moore had shaken A.S. roughly within
        [approximately] thirteen minutes of the time that he lost consciousness.
        There was no evidence of any abuse by Ms. Moore prior to January 13,
        2004, the day that A.S. died. And, the Information was specific in
        charging Ms. Moore with the commission of a murder “on or about”
        January 13, 2004. Thus, if Ms. Moore had not caused the injuries on
        January 13, 2004, the jury would have had no reason to blame her for
        the trauma or for murder. In these circumstances, the timing of the death
        provided a critical link in the prosecution’s theory of guilt. With the
        new collection of expert reports, that link appears unsupportable
        because of the undisputed scientific evidence that the trauma would
        have preceded the collapse by days, weeks, or months.

  Doc. No. 135 at 10-11.

        In reviewing the testimony of Drs. Griggs and Choi, Judge Bacharach noted

  that each of them opined that A.S’s traumatic injury would have immediately

  resulted in loss of consciousness but that they also relied at least in part on the

  absence of any prior traumatic experience. Id. at 11. Dr. Griggs also presumed that

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  A.S. “‘[had been] perfectly fine’ until his collapse on January 13, 2014.” Id. at 14

  (footnote omitted). However, Petitioner offers undisputed evidence of prior

  traumatic experiences and health problems, including but not limited to, “a prior

  diagnosis of a ‘failure to thrive,’” “the existence of significant developmental

  delays,” “a fall from a porch in October 2003, resulting in edema, contusions, and a

  hematoma,” “two falls in December 2003, one involving a landing on a tile and

  concrete floor,” “a fall in a cast iron tub roughly one week before A.S. died,” and

  “observations that A.S. had appeared to be lethargic in the week preceding his

  death.” Id. at 12 (citing Doc. No. 108-6 at 1, Doc. No. 108-13, Doc. No. 108-14,

  Doc. No. 108-19, Doc. No. 108-24 at 1-2, 4-5, Doc. No. 109-9, Doc. No. 109-1 at

  1-3, 4, Doc. No. 109-17 at 2, Doc. No. 109-18, Doc. No. 109-20 at 3).

        In previous proceedings before this Court, Respondent has not denied that

  A.S. suffered these prior falls but instead, merely challenged their severity.31

  However, Judge Bacharach found this argument unavailing, see Doc. No. 135 at 13-

  14, and the Court agrees. As Judge Bacharach noted,

               [] Petitioner has presented new scientific evidence suggesting
        that the falls in October 2003, December 2003, and early January 2004
        could have resulted in the kinds of injuries relied upon by Doctors
        Griggs, Korber, and Choi.


  31
    Respondent’s address of prejudice in the current proceedings is limited to a lengthy
  footnote in the Supplemental Response. Doc. No. 250 at 116-17 n.55. The arguments
  contained therein are addressed below.


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               . . . [T]hese physicians relied largely on: (1) subdural and retinal
        hemorrhages, and (2) swelling of the brain. But, in an article published
        in 2011, Patrick Barnes, M.D. concluded that these hemorrhages and
        swelling could “be associated with a lucid interval.”

               The potential for a lucid interval becomes critical with Ms.
        Moore’s new scientific evidence that the traumatic injuries, which
        ultimately proved fatal, had taken place before Ms. Moore and the boy
        were left alone on January 13, 2004. Thus, even if the jury had
        attributed the death to trauma, it would have had no reason to single
        anyone out as the caretaker who was present when the fatal injury took
        place.

   Id. at 14-15 (footnotes omitted).

        Petitioner’s experts explain that the presence of hemosiderin32 and

  papilledema shows that any traumatic injury suffered by A.S. occurred days before

  his collapse. The presence of hemosiderin in the bruising on the back of A.S.’s head

  was undisputed. Id. at 16. Drs. Ophoven and Mack explained, in scientific detail,

  that the presence of hemosiderin indicates that the bruising on the back of A.S.’s

  head was 5-7 days old. Id. at 17 (citing Doc. No. 108-27 at 7, Doc. No. 109-4 at 3,

  Doc. No. 109-7 at 3). This undisputed evidence signifies that the hemosiderin had

  taken at least days to develop and because Dr. Choi had conducted the autopsy only

  about 1½ days after A.S.’s collapse, his injury could not have occurred within those




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    “Hemosiderin is an iron-storage protein complex found within cells.” Id. at 16 (citation
  omitted).


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  minutes Petitioner was alone with him on January 13, 2004. Doc. No. 135 at 18.33

  Based on this unrebutted evidence, the Court finds there is a reasonable probability

  that if presented with the same, a jury may determine that the bruising on A.S.’s head

  was caused by something taking place prior to the time Petitioner was alone with

  him on January 13, 2004.

        Similarly, Dr. Ophoven’s finding that papilledema, which refers to “optic disc

  swelling,” was present is undisputed. Id. at 20 (citing Doc. No. 108-20 at 4; Doc.

  No. 109-7 at 4-5). Drs. Gardner and Ophoven concluded that the presence of

  papilledema indicates that A.S.’s fatal injuries were incurred days before January

  13, 2004. Id. at 21-22 (citing Doc. No. 108-20 at 4, 6-7; Doc. No. 108-27 at 5; Doc.

  No. 109-7 at 5).

        Petitioner has presented similarly unrebutted evidence and expert witness

  testimony regarding the presence of Perl’s positive material in A.S.’s blood when he

  collapsed as well as vitreous hemorrhaging indicating that his fatal injuries occurred

  days, if not longer, before his collapse on January 13, 2004. Id. at 22-24. The Court

  concludes that if presented with this unrebutted evidence regarding the presence of



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     Respondent attempts to rebut this evidence solely on the basis that Dr. Choi had
  conducted the microscopic analysis on February 10, 2004, 28 days after the assumed act of
  shaking A.S. Id. However, Dr. Ophoven explained that the samples taken from an autopsy
  are “fixed” to preserve the cells/tissue. Id. at 18-19. If the fixation process is not done
  appropriately, samples deteriorate. Id. at 19.


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  papilledema, Perl’s positive material, and vitreous hemorrhaging indicating A.S.’s

  fatal injury occurred days before January 13, 2004, there is a reasonable probability

  Petitioner’s trial would have had a different outcome.

        This Court must also consider whether the lack of evidence that might have

  been offered by Petitioner’s expert witnesses would be prejudicial when considered

  with the other evidence presented at trial. As Judge Bacharach discussed in his

  previous Findings of Fact, in a police interview, Petitioner “admitted that she had

  shaken A.S. three to four times while the two were alone on January 13, 2004.” Doc.

  No. 135 at 28 (citing Doc. No. 109-6 at 10). Petitioner challenged the believability

  of this “confession” on numerous grounds. The Court concludes, similar to Judge

  Bacharach, that Petitioner’s challenges standing alone are not sufficient to satisfy

  the Strickland prejudice prong. When considered with the new evidence, however,

  there remains a reasonable probability the outcome of her trial would still have been

  different. The Court agrees with Judge Bacharach’s reasoning, as follows:

               . . . [T]he Petitioner’s admissions to law enforcement could not
        have supported a guilty verdict if the jury were to have the benefit of
        the new evidence on the timing of A.S.’s fatal injuries. With Ms.
        Moore’s admissions, the jury could have believed that she had shaken
        the boy three or four times on the day that he died. For murder,
        however, the jury would have needed to tie an action by Ms. Moore to
        the traumatic injury that had ultimately caused A.S.’s death. The sole
        reason for the jury to find this connection was, as the police told Ms.
        Moore in the interrogation, the fact that she had been the last person to
        be alone with A.S. before he died. That fact bore relevance only because
        the jury had uncontested evidence that the traumatic injuries would
        have caused the death within minutes to a perfectly healthy child. A

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        reasonable jury would not possibly regard A.S. as perfectly healthy or
        regard the loss of consciousness as immediate with the benefit of Ms.
        Moore’s new evidence of the breakdown of the auto-regulation system
        and the significance of A.S.’s hemosiderin, papilledema, Perl’s positive
        material, and vitreous hemorrhaging.

  Id. at 31-32 (footnotes omitted).

        In reviewing the record as a whole, the Court finds there is a reasonable

  probability that a jury would have believed Petitioner’s new medical experts and the

  result of her criminal proceeding would have been different. Strickland, 466 U.S. at

  694. “A reasonable probability is a probability sufficient to undermine confidence

  in the outcome.” Id. Certainly the evidence presented by Petitioner’s experts, that

  was never presented to the jury, undermines confidence in the outcome of her trial.

        In the Response, Respondent limits arguments regarding Strickland’s

  prejudice prong to one lengthy footnote. Doc. No. 250 at 116-17 n.55. Respondent

  does not concede the prejudice prong based upon this Court’s previous finding that

  Petitioner had sufficiently shown actual innocence. Id. at 116 n.55. Respondent

  further argues:

        Judge Bacharach acknowledged that Doctors Griggs and Choi both
        opined that A.S.’s fatal injuries were very recent, but dismissed this
        testimony because it was based on “misinformation” that “A.S. had
        been a perfectly healthy child before January 13, 2004,” while
        Petitioner’s “new” and “undisputed” evidence showed prior falls,
        developmental delays, and lethargy on A.S.’s part. But now this
        evidence is disputed. For instance, Petitioner’s habeas expert Dr. Janice
        Ophoven concluded A.S. suffered a fall and head injury and was
        “lethargic the week before his death” based on information from Ms.
        Roth. As shown at length above, Ms. Roth was thoroughly impeached

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        at the evidentiary hearing and has no credibility, see Ground
        One(C)(3)(ii), supra. As another example, it appears that Dr. Ophoven
        is the only one of Petitioner’s habeas experts to address A.S.’s
        abdominal injury and offer any explanation for same other than child
        abuse. Dr. Ophoven claimed the injury “was most likely caused when
        Ms. Moore performed CPR on the child.” At the evidentiary hearing,
        however, Petitioner specifically denied that she did CPR “hard” enough
        to cause A.S.’s abdominal injuries. In sum, although Petitioner’s habeas
        experts were not tested under the crucible of cross-examination at the
        evidentiary hearing, some of the critical information on which they
        relied was and came up short. While the evidentiary hearing did not
        specifically cover prejudice, it certainly developed the record far
        beyond what was before Judge Bacharach, and his preliminary “actual
        innocence” determination does not foreclose a finding that Petitioner
        has not carried her burden on prejudice.

  Id. (citations omitted). In reviewing the evidentiary hearing transcripts, the Court

  finds Respondent highly overstates the extent of impeachment of witnesses and

  evidentiary disputes.

        Ms. Roth provided day care services to A.S., as well as Petitioner’s son, A.M.

  During the evidentiary hearing, Ms. Roth stated that she saw Todd Snyder shake

  A.M., Petitioner’s son, one morning when Mr. Snyder dropped off A.M. at her day

  care business. As subsequently pointed out to her, in the Incident Report dated

  September 7, 2003, she specifically stated that she was not watching but heard her

  assistant “shout at Todd, ‘If you ever touch him again like that I’ll lay you out right

  here on the floor.’ She also told Todd to get his hands off [A.M.]. Todd immediately

  left.” State’s Ex 1; Tr. Dec. 5, 2014 at 29-30. In the report, Ms. Roth explained that

  she then asked her assistant, Michelle Jones, what had just occurred, and the assistant



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  told her “that she had seen Todd grab [A.M.] by the shoulders & spin him back

  around to face him. She said it had been done with a lot of force & that Todd was

  squeezing [A.M.’s] shoulders as he shouted at him. That is when Michelle yelled at

  Todd to let go of [A.M.].” Id. Ms. Roth also explained in the Report, “I checked

  [A.M.’s] shoulders & they appeared red. [A.M.] was crying & I consoled him. We

  will check him later for bruising on the shoulders & arms. If they appear, a Child

  Abuse Hotline report will be made.” Id.

        Ms. Roth’s testimony did not contradict the acts described other than she

  testified that she saw the underlying event occur. Ms. Roth stated in the report that

  she heard it happen from an adjoining room, her assistant immediately described it

  to her, and Ms. Roth checked A.M.’s shoulders and arms for injuries. While clearly

  contradictory, the contradiction is relatively minor and hardly warrants

  Respondent’s description of Ms. Roth as having “no credibility.”34

        Similarly, Respondent also discusses whether Ms. Roth had perjured herself

  by claiming to have practiced law at one time. During Petitioner’s criminal trial, the

  State asked Ms. Roth if she had ever claimed to be or had she ever been a practicing

  attorney. Doc. No. 250 at 90-91. The first time she was asked, she responded, “I had

  a – yes.” Id. at 91 (quoting Tr. Vol. III 235-36). The second time, she answered in


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     Additionally, Ms. Roth’s assistant, Ms. Jones, submitted a Declaration noting her
  account of the underlying incident, and it supports Ms. Roth’s Incident Report. Doc. No.
  109-1 at 3.

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  the affirmative that she had been a practicing attorney in California. Id. At the

  evidentiary hearing, she explained that in the late 1980s when she lived in California,

  she held a certification “where under a supervising attorney you could perform work

  that would typically be done by an attorney. Limited [to family law]. . . . We were

  called little LA – AAs. And I know that that was either associate attorney or attorney

  associate. It was a very long time ago.” Tr. March 2, 2015 at 51-52.

        Due to Ms. Roth’s familiarity with the parties involved, including A.S. for

  whom she provided childcare, she inherently possessed a great deal of relevant

  information to Petitioner’s criminal case. The two contradictions are by no means so

  egregious as to render her knowledge, information, and/or potential testimony either

  irrelevant or completely lacking in credibility.

        Moreover, evidence related to A.S.’s falls and lethargic behavior the week

  prior to his death has been provided by other witnesses in addition to Ms. Roth. Doc.

  No. 108-6 at 1; Doc. No. 108-16 at 1-2; Doc. No. 109-1 at 4; Doc. No. 109-20 at 3.

  Indeed, there is a medical report dated January 8, 2004, five days before A.S.’s

  collapse, wherein Sooner Start was conducting an Early Intervention Program

  appointment with A.S. apparently related to his developmental delays. Doc. No. 109-

  18 at 5. The physician who prepared the medical report described A.S. as “very

  lethargic and uncooperative.” Id.




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        More significantly, Dr. Ophoven’s detailed opinion illustrates clearly that

  though she referenced “evidence from the day care provider,” that was by no means

  the sole basis for her conclusions. Within the exact section of her opinion to which

  Respondent cites, Dr. Ophoven described the fall that A.S. suffered in October 2003,

  its physical effects, and other medical evidence as strongly supporting her

  conclusions that A.S.’s fatal injuries did not occur in the hour preceding his death.

        I have reviewed the investigative reports in his case and am aware that
        witnesses described the child with recent symptoms strongly suggesting
        a significant headache. As I understand the symptoms the child was
        unusually quiet and when held placed his head in a specific position.
        Headache is very unusual in a child this age and must be included in
        the forensic analysis. These symptoms are consistent with increased
        intracranial pressure and or meningeal irritation.

        Most notably, there was medical evidence that the child suffered head
        injuries in falls pre-dating January 13, 2004. For example, in October
        2003, the child suffered a significant fall and struck his head on a
        concrete step. He was sent home from Deaconess Hospital without a
        CT scan or MRI. In pictures taken two months later, the bruising and
        swelling from that fall is still evident. Indeed, three months after the
        fall, contusions over his left forehead and towards the left temple – the
        area injured in the October fall – are evident in the autopsy. After this
        fall, the child suddenly stopped growing – as reflected in the abrupt
        change in his growth curve – a significant fact that was not addressed
        by Dr. Choi, the forensic pathologist who did the autopsy. Evidence
        from the daycare provider and the Sooner Start records further indicate
        that the child was “unresponsive” and lethargic the week before his
        death, seemingly after suffering another significant fall and head injury.
        This history indicates that [A.S.] was not a “normal” child on January
        13, 2004. Complications from multiple accidental blunt force impacts
        to the head could certainly have caused the death as well as the medical
        findings. The postmortem examination included histological sections
        of skin and underlying tissues from the back of [A.S.’s] head. These
        tissue sections are designated as slides B, C, and D. I have examined

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           these tissue slides as well as iron and trichrome stains to assist in
           determining the degree of tissue healing in the damaged tissue. The
           tissue slides indicate the presence of a significant impact to the back of
           the head many days or even longer prior to death. The tissues contain
           abundant iron positive cells, maturing scar tissue and new blood vessel
           formation indicating substantial healing. An impact to the back of the
           head could very well have been a significant contributing factor in the
           terminal cascade. Individuals with significant concussions are at
           substantial risk for fatal deterioration with subsequent blows. Whether
           or not this impact was associated with the onset of his seizures cannot
           be determined from the postmortem analysis.

  Doc. No. 88-31 at 7-8. As is evident from this portion of Dr. Ophoven’s opinion, she

  relied on far more than Ms. Roth’s information regarding lethargic behavior and/or

  another fall the week prior to his death. Thus, Respondent’s argument that Ms.

  Roth’s supposed impeachment negates Dr. Ophoven’s opinion is utterly without

  merit.

           Respondent also states that Dr. Ophoven is the only one of Petitioner’s experts

  that addressed A.S.’s abdominal injuries and in doing so, stated that it was possible

  said injury occurred when Petitioner performed CPR on A.S. Doc. No 250 at 116

  n.55 (citing Doc. No. 88-31 at 3 n.1). Respondent argues that this portion of Dr.

  Ophoven’s opinion is negated because at the evidentiary hearing, Petitioner

  “specifically denied that she did CPR ‘hard’ enough to cause A.S.’s abdominal

  injuries.” Doc. No. 250 at 116 n.55. Dr. Ophoven’s report provides:

           The[] medical examiner at the trial also referenced an injury to the
           duodenum region and hypothesized that this injury could have been
           caused by a punch to the abdomen. This injury played no role in causing
           the death of the child and was most likely an injury caused when Ms.

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        Moore performed CPR on the child. The area of the bowel with the
        bleeding lies right over the vertebral column immediately underneath
        the area Ms. Moore indicated she applied two-handed pressure. The
        procedure would compress the bowel between her hands and the
        underlying bone and fully explains the findings. There was no evidence
        of serious abdominal trauma indicating the classic findings observed in
        blunt force abusive trauma to the abdomen.

   Doc. No. 88-31 at 3-4 n.1. At the evidentiary hearing, Petitioner testified, “I don’t

  believe I did it that hard to cause that kind of damage. . . . But I don’t know. I was

  scared.” Tr. March 5, 2015 at 144. Clearly, Petitioner’s testimony does not negate,

  nor otherwise undermine, Dr. Ophoven’s opinion in this regard. Respondent’s

  argument to the contrary is without merit.

        Respondent also argues Petitioner cannot rely on her expert witnesses now to

  prove prejudice because she “agreed” to bifurcation in state court, allowing the

  parties to present evidence as to the first prong of Strickland and then only

  proceeding to the prejudice prong if successful. “In consenting to this arrangement,

  Petitioner ultimately consented to not presenting her alleged newly discovered

  evidence of the medical doctors and their opinions in State court. Having failed to

  present the doctors so that their credibility might be tested, Petitioner should not be

  permitted now to hide behind the law of the case doctrine.” Doc. No. 250 at 117

  n.55. Not surprisingly, Respondent cites no authority to support this assertion and

  the Court finds this argument unavailing.




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         Under the circumstances of the evidentiary proceedings, merely agreeing to

  an expedient litigation schedule does not constitute a party’s waiver of the remaining

  issues in future proceedings.35 Moreover, as Respondent is aware, having ruled

  Petitioner met the “actual innocence” threshold, this Court is permitted to consider

  claims not previously presented to the state court.

         Relying on Littlejohn v. Royal, 875 F.3d 548 (10th Cir. 2017), Respondent

  also argues that “the evidentiary hearing included overwhelming evidence, and

  undisputed factual findings, that minority view experts like Petitioner’s habeas

  experts suffer from some credibility problems.” Doc. No. 250 at 117 n.55.

  Respondent accurately describes the holding of Littlejohn as “finding lack of

  prejudice [under Strickland] based on counsel’s failure to present expert testimony

  from Dr. Manual Saint Martin regarding brain damage where, inter alia, ‘the

  prosecution could have cast doubt on Dr. Saint Martin’s diagnosis, as well as painted

  Mr. Littlejohn as a liar, based on Mr. Littlejohn’s documented efforts to manipulate

  mental-health experts.’” Doc. No. 250 at 117 n. 55 (quoting Littlejohn, 875 F.3d at

  565-66). Unlike Littlejohn, there is nothing in the record suggesting bad

  acts/behavior on the part of Petitioner with regard to her experts and Respondent has

  not presented any evidence that casts doubt on her experts’ opinions. Respondent’s


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     This is especially true where limited to only the first prong of Petitioner’s Strickland
  claim and her conflict of interest claim, the state district court proceedings took almost six
  years to complete.

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  disagreement with their opinions does not undermine their credibility. Further, as

  discussed above, Respondent’s attempts to challenge one expert’s conclusions based

  on the credibility of other witnesses falls short.

         As established, the defense did not attempt to hire any expert witness, minority

  view or otherwise, until less than two weeks before trial and did not have time to

  make such an attempt after contacting Dr. May so late in the criminal proceedings.

  However, it is worth noting that one portion of the transcripts upon which

  Respondent relies is the testimony of Robert Estrada, a Texas attorney who had

  represented a defendant in a high profile shaken impact case in or around 2003 and

  that defendant received a plea deal of deferred adjudication. Tr. April 14, 2015 at 8,

  10, 20-21. Mr. Estrada testified that while the necessary expert in 2005 would have

  been in the minority view, he had been able to hire a credible expert in 2003. Id. at

  16-18. Additionally, he testified that multiple resources were available in 2005 to

  find such experts. Id. at 18.

         Thus, Respondent’s only substantive challenge to Petitioner’s expert

  witnesses is that they represent the minority view in this area. But, Respondent has

  not cited to any law indicating that positing a minority view inherently means that a

  jury will not find that view credible in a particular case.36


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    It is notable, though not determinative, that as illustrated in the case law discussed herein,
  the opinions of Plaintiff’s experts represent less of a minority within the medical field than
  in the past.

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        The Court concludes Mr. Funderburk’s deficient performance prejudiced

  Petitioner. The evidence presented by Petitioner’s expert witnesses indicates A.S.’s

  fatal injury occurred prior to January 13, 2004. Had this evidence been presented at

  trial, Petitioner could have challenged the opinions of Drs. Korber, Griggs, and Choi

  that A.S.’s death was caused by injuries incurred immediately prior to his collapse.

  The Court cannot conclude that such evidence would not have been persuasive.

        According to the case law discussed herein, an expert testifying even as early

  as 2005, once his or her opinion was challenged on cross-examination, could have

  cited to numerous scientific studies supporting their opinions regarding short falls

  and traumatic head injuries. Epps, 53 N.E.3d at 1260-61 n.15-18. If a defense expert

  had caused the jury to doubt whether A.S.’s fatal injuries occurred immediately prior

  to his collapse on January 13, 2004, the jurors may have then questioned whether

  the State had eliminated the possibility that A.S.’s death was the result of other health

  conditions or accidental injuries incurred prior to that date. If the jury had been

  presented with the testimony of Petitioner’s experts, as well as the evidence

  regarding A.S.’s previous falls, significant developmental delays, and lethargy in the

  week preceding his death, there is a reasonable probability that Petitioner’s case

  would have had a different result.




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        The Court finds Petitioner has satisfied Strickland’s prejudicial prong

  establishing ineffective assistance of counsel. Accordingly, the Court should grant

  Petitioner’s request for a writ of habeas corpus.



                                RECOMMENDATION

        Based on the foregoing findings, it is recommended that Petitioner’s Second

  Amended Petition for Writ of Habeas Corpus be GRANTED. It is further

  recommended that the Writ of Habeas Corpus be issued, unless within ninety (90)

  days of the entry of an Order adopting this Supplemental Report and

  Recommendation, the State grants Petitioner a new trial or, in the alternative, orders

  her permanent release from custody.

        The parties are advised of their right to file an objection to this Supplemental

  Report and Recommendation with the Clerk of this Court by April 12th , 2021, in

  accordance with 28 U.S.C. § 636 and Fed. R. Civ. P. 72. The failure to timely object

  to this Supplemental Report and Recommendation would waive appellate review of

  the recommended ruling. Moore v. United States, 950 F.2d 656 (10th Cir. 1991); cf.

  Marshall v. Chater, 75 F.3d 1421, 1426 (10th Cir. 1996) (“Issues raised for the first

  time in objections to the magistrate judge’s recommendation are deemed waived.”).




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        This Supplemental Report and Recommendation disposes of all issues

  referred to the undersigned Magistrate Judge in the captioned matter, and any

  pending motion not specifically addressed herein is denied.

        ENTERED this 22nd       day of   March , 2021.




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                         UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF OKLAHOMA

      BEVERLY MICHELLE MOORE,                   )
                                                )
            Petitioner,                         )
                                                )
      v.                                        )      Case No. CIV-09-985-G
                                                )
      TAMIKA WHITE, Warden,                     )
                                                )
            Respondent.1                        )

                                            ORDER

           Petitioner Beverly Michelle Moore, a state prisoner appearing through counsel, filed

  this action seeking federal habeas corpus relief pursuant to 28 U.S.C. § 2254. Following

  extensive proceedings, including a stay pending primary determination by the state courts

  of issues raised herein by Petitioner, the controlling pleading—Petitioner’s Second

  Amended Petition—was filed. See Second Am. Pet. (Doc. No. 226); Pet’r’s Br. (Doc. No.

  227). Respondent, Warden Tamika White, filed an Answer (Doc. No. 250), and Petitioner

  filed a Reply (Doc. No. 254).

           In accordance with 28 U.S.C. § 636(b)(1), the matter was referred to Magistrate

  Judge Gary M. Purcell for initial findings and recommendations. Judge Purcell issued a

  Supplemental Report and Recommendation (“Suppl. R. & R.,” Doc. No. 261), in which he

  recommended that Petitioner’s request for habeas relief be conditionally granted.

  Respondent filed an Objection (Doc. No. 264), to which Petitioner has responded (Doc.


  1
   The current warden of the facility where Petitioner is incarcerated is hereby substituted
  as Respondent. See R. 2(a), R. Governing § 2254 Cases in U.S. Dist. Cts.; Fed. R. Civ. P.
  25(d), 81(a)(4).




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  No. 267). Having conducted the requisite de novo review of the Supplemental R. & R.,

  the Court finds and concludes as follows.

                                      PROCEDURAL HISTORY

           Petitioner’s state- and federal-court proceedings have followed a circuitous path.

  See Mem. Op. & Order of Nov. 5, 2014 (Cauthron, J.) at 1-4 (Doc. No. 208); R. & R. of

  Dec. 12, 2019 (Purcell, Mag. J.) at 4-15 (Doc. No. 244). The Court will discuss that

  background herein only as necessary to evaluate the currently pending Second Amended

  Petition.

           In September of 2005, following a jury trial in the District Court of Oklahoma

  County, Oklahoma, Petitioner was convicted of murder in the first degree of her

  boyfriend’s 22-month-old son, A.S., by use of unreasonable force.              Petitioner was

  sentenced to life imprisonment without the possibility of parole. See State v. Moore, No.

  CF-2004-351 (Okla. Cnty. Dist. Ct.).2 Petitioner appealed to the Oklahoma Court of

  Criminal Appeals (“OCCA”), which affirmed the conviction but modified her sentence to

  life imprisonment with the possibility of parole. See Moore v. State, No. F-2006-63 (Okla.

  Crim. App.).

           In September of 2008, Petitioner filed a pro se application for postconviction relief.

  The state trial court denied the application, and the OCCA dismissed Petitioner’s appeal of

  that disposition for lack of jurisdiction. See Second Am. Pet. (Doc. No. 226) at 2-4.




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      The state-court dockets cited herein are publicly available through http://www.oscn.net.


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         Petitioner filed the instant habeas action on September 4, 2009. An attorney was

  appointed to represent Petitioner in July of 2010. Respondent challenged the timeliness of

  Petitioner’s habeas application. The Court held that Petitioner was entitled to review of

  the merits of her constitutional claims because she “had made a . . . showing of the

  probability of actual innocence sufficient to permit her case to overcome the limitations

  bar.” Order of Oct. 28, 2011 (Cauthron, J.) at 2-4 (Doc. No. 139) (adopting Proposed

  Findings of Fact and Conclusions of Law of Sept. 7, 2011 (“Proposed FFCL,” Bacharach,

  Mag. J.) (Doc. No. 135)). See generally Schlup v. Delo, 513 U.S. 298, 313-29 (1995).

         Respondent further argued that Petitioner had failed to exhaust available state-court

  remedies as required by 28 U.S.C. § 2254(b). See Limited Answer (Doc. No. 159) at 1-14.

  The Court determined that in light of various factors, including “the substantial newfound

  evidence developed in federal court regarding the Petitioner’s actual innocence,” “the state

  courts should be given an opportunity to address this matter in the first instance.” Order

  of Apr. 6, 2012 (Cauthron, J.) at 2 (Doc. No. 182). The Court therefore stayed proceedings

  in this matter pending Petitioner’s exhaustion of her claims in the state courts. See id. at 3.

         On June 5, 2012, Petitioner filed a second application for postconviction relief in

  the state trial court. See Pet’r’s Notice (Doc. No. 195) at 1. The application raised six

  propositions of error: (1) ineffective assistance of trial counsel for (a) failure to fully

  investigate the cause of death of A.S. and the timing of injuries to A.S. alleged to have been

  caused by Petitioner, and (b) failure to present testimony from expert witnesses as to the

  cause and timing of the fatal injuries; (2) ineffective assistance of trial counsel due to trial

  counsel suffering from conflicts of interest; (3) deprivation of due process due to the State’s


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  failure to disclose exculpatory evidence; (4) ineffective assistance of appellate counsel due

  to failure to argue ineffective assistance of trial counsel as to the lack of investigation of

  medical issues and lack of presentation of medical testimony; (5) ineffective assistance of

  appellate counsel arising from the failure to uncover the conflicts of interest of trial counsel

  and raise a corresponding claim of ineffective assistance of trial counsel; and (6) ineffective

  assistance of appellate counsel due to failure to uncover and seek relief on the State’s

  violation of Brady v. Maryland, 373 U.S. 83 (1963).               See Pet’r’s Second Appl.

  Postconviction Relief (Doc. No. 234-7) at 2-8.

         The trial court rejected the State’s assertion of procedural bar, and, by agreement of

  the parties, bifurcated its determination of Petitioner’s postconviction claims into two parts.

  The trial court would first consider whether defense counsel rendered deficient

  performance or labored under a conflict of interest. If the trial court found that defense

  counsel’s performance was deficient or subject to a conflict of interest, the trial court would

  then separately consider whether that performance had resulted in prejudice to Petitioner,

  as well as Petitioner’s Brady claim and ineffective assistance of appellate counsel claims.

  See J. Statement of Proc. Hist. (Doc. No. 234-9) at 8.

         Regarding the first determination, the trial court conducted an evidentiary hearing

  on various dates between December 2014 and August 2015. See id. at 9. The state-court

  docket reflects that the complete hearing transcript was filed in August 2016, and each

  party submitted proposed findings of fact and conclusions of law to the trial court on

  January 17, 2017. See State v. Moore, No. CF-2004-351 (Okla. Cnty. Dist. Ct.).




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           On March 23, 2018, Petitioner filed a Motion to Lift Stay (Doc. No. 213) in this

  Court, arguing that the exhaustion requirement should be excused and that federal habeas

  proceedings should resume due to both exceptional circumstances and the “ongoing and

  lengthy delays in state court proceedings.” Id. at 6. Four days later, the state trial court

  issued an order denying relief on Petitioner’s Second Application for Postconviction

  Relief. See Trial Ct. Order of Mar. 27, 2018 (Doc. No. 227-2). Petitioner appealed the

  denial to the OCCA. The appellate court did not address the merits of Petitioner’s claims

  but affirmed on the basis that Petitioner’s claims were procedurally barred. See OCCA

  Order of Oct. 12, 2018 (Doc. No. 227-1), Moore v. State, No. PC-2018-403 (Okla. Crim.

  App.).

           This Court then lifted the stay that had been imposed in this matter and permitted

  Petitioner to file an amended pleading. On April 19, 2019, Petitioner filed the verified

  Second Amended Petition. Petitioner presents six grounds for relief, urging the same

  propositions of error as were argued to the state courts in her Second Application for

  Postconviction Relief. See Second Am. Pet. at 7-14. In Ground One, Petitioner argues that

  she was deprived of her Sixth Amendment right to effective assistance of trial counsel

  based upon counsel’s: “a) failure to fully investigate the cause of death and the timing of

  injuries attribute[d] to Petitioner, including the failure to timely consult with and retain

  expert witnesses, and b) failure to present testimony from the expert witnesses as to the

  cause and timing of the fatal injuries.” Id. at 7. According to Petitioner, “Trial Counsel

  was aware that there were reasons to question the cause and timing of the child’s death but

  failed to reasonably investigate those issues, failed to timely consult with and retain


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  appropriate experts[,] and failed to present expert testimony at trial, which resulted in

  Petitioner’s conviction.” Id.; see also Pet’r’s Br. at 55-72.

         Respondent initially responded to the Second Amended Petition by asserting that

  Petitioner’s claims were unexhausted, untimely, or procedurally barred. See Initial Answer

  (Doc. No. 234) at 39-117; 28 U.S.C. §§ 2244(d), 2254(b). Rejecting these arguments,

  Judge Purcell recommended that Petitioner’s claims be permitted to proceed on their merits

  due to Petitioner having made a sufficient showing of actual innocence. See R. & R. of

  Dec. 12, 2019, at 9-10, 16-21. Neither party objected to this aspect of the R. & R., which

  was accepted and adopted by the undersigned. See Order of May 14, 2020 (Goodwin, J.)

  at 2-3 (Doc. No. 248); see also id. at 3 n.2.

         Judge Purcell also recommended, and the Court agreed, that Respondent be

  permitted to file an answer addressing the merits of the federal habeas claims presented in

  the Second Amended Petition. See id. at 5. Respondent then filed an Answer (Doc. No.

  250), and Petitioner filed a Reply (Doc. No. 254). Upon due consideration, Judge Purcell

  issued the Supplemental R. & R. (Doc. No. 261) now under review. In his 90-page

  Supplemental R. & R., Judge Purcell provided background information and procedural

  history for the matter. See id. at 1-18. Judge Purcell then addressed Ground One of the

  Second Amended Petition in detail, ultimately finding that Petitioner had shown a

  deprivation of her right to effective assistance of trial counsel and recommending that the

  petition be granted on that basis. See id. at 18-90.




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                                            DISCUSSION

           A state prisoner may seek federal habeas relief “on the ground that [she] is in

  custody in violation of the Constitution or laws or treaties of the United States.” 28 U.S.C.

  § 2254(a). A petitioner who otherwise establishes a right to habeas relief must also show

  that “law and justice require” such relief from the federal court. 28 U.S.C. § 2243; see

  Brown v. Davenport, 142 S. Ct. 1510, 1524 (2022). Here, Petitioner contends—and Judge

  Purcell in the Supplemental R. & R. found—that the attorneys representing Petitioner in

  the state-court trial that resulted in her conviction did not provide her the effective

  assistance of counsel guaranteed by the Sixth Amendment (the “IATC claim” or “Ground

  One”).

           The Sixth Amendment prescribes: “In all criminal prosecutions, the accused shall

  enjoy the right . . . to have the Assistance of Counsel for his defence.” U.S. Const. amend.

  VI. “The right to counsel is a fundamental right of criminal defendants; it assures the

  fairness, and thus the legitimacy, of our adversary process.” Kimmelman v. Morrison, 477

  U.S. 365, 374 (1986).

           Without counsel the right to a fair trial itself would be of little consequence,
           for it is through counsel that the accused secures his other rights. The
           constitutional guarantee of counsel, however, cannot be satisfied by mere
           formal appointment. An accused is entitled to be assisted by an attorney,
           whether retained or appointed, who plays the role necessary to ensure that
           the trial is fair. In other words, the right to counsel is the right to effective
           assistance of counsel.

  Id. at 377 (citations and internal quotation marks omitted); accord Smith v. Mullin, 379

  F.3d 919, 929 (10th Cir. 2004).




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         The Tenth Circuit has instructed that “[t]he gravity of a claim of ineffective

  assistance of counsel cannot be overstated.” Smith, 379 F.3d at 929. The purpose of the

  Sixth Amendment’s requirement of effective assistance is “to ensure a fair trial.”

  Strickland v. Washington, 466 U.S. 668, 686 (1984). “The essence of an ineffective-

  assistance claim is that counsel’s unprofessional errors so upset the adversarial balance

  between defense and prosecution that the trial was rendered unfair and the verdict rendered

  suspect.”   Kimmelman, 477 U.S. at 374; accord Strickland, 466 U.S. at 686 (“The

  benchmark for judging any claim of ineffectiveness must be whether counsel’s conduct so

  undermined the proper functioning of the adversarial process that the trial cannot be relied

  on as having produced a just result.”).

         Pursuant to governing authority, the Court determines de novo any part of the

  proposed findings and recommended disposition to which proper objection has been made.

  See 28 U.S.C. § 636(b)(1); Fed. R. Civ. P. 72(b)(3). “[A] party’s objections to the

  magistrate judge’s report and recommendation must be both timely and specific to preserve

  an issue for de novo review by the district court or for appellate review.” United States v.

  2121 E. 30th St., 73 F.3d 1057, 1060 (10th Cir. 1996). The Court “may accept, reject, or

  modify, in whole or in part, the findings or recommendations made by the magistrate

  judge.” 28 U.S.C. § 636(b)(1). The Court “may also receive further evidence or recommit

  the matter to the magistrate judge with instructions.” Id.

         Having conducted a de novo review of the objections made by Respondent to the

  Supplemental R. & R., and applying the standards and limitations set forth in the

  Antiterrorism and Effective Death Penalty Act of 1996 (“AEDPA”), the Court modifies


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  the findings and conclusions recommended by Judge Purcell to the limited extent set forth

  below and agrees that the Second Amended Petition should be conditionally granted.

      I.    Relevant Limitations and Standards for Federal Court Review Under AEDPA

           A. AEDPA’s Exhaustion and Timeliness Requirements

           “As amended by AEDPA, 28 U.S.C. § 2254 sets several limits on the power of a

  federal court to grant an application for a writ of habeas corpus on behalf of a state

  prisoner.” Cullen v. Pinholster, 563 U.S. 170, 181 (2011). “Sections 2254(b) and (c)

  provide that a federal court may not grant such applications unless, with certain exceptions,

  the applicant has exhausted state remedies.” Id. And 28 U.S.C. § 2244(d) imposes a one-

  year statute of limitations on petitions for federal habeas relief by state prisoners. See 28

  U.S.C. § 2244(d)(1).

           As noted, this Court already has found that Petitioner is entitled to review of the

  merits of her constitutional claims because she “ha[s] made a . . . showing of the probability

  of actual innocence sufficient to permit her case to overcome the limitations bar.” Order

  of Oct. 28, 2011, at 2; accord Order of May 14, 2020, at 2-3, 3 n.2; see Schlup, 513 U.S.

  at 313-29; McQuiggin v. Perkins, 569 U.S. 383, 386 (2013) (“[A]ctual innocence, if

  proved, serves as a gateway through which a petitioner may pass whether the impediment

  is a procedural bar . . . or . . . expiration of the statute of limitations.”). Accordingly, the

  Court’s review is not proscribed by application of § 2254(b) and (c) or § 2244(d).3


  3
   Respondent’s Objection challenges the Court’s prior finding “for appellate purposes.”
  Resp’t’s Obj. (Doc. No. 264) at 104-06. Petitioner responds that “Respondent has waived
  any argument as to the finding of actual innocence for appellate purposes.” Pet’r’s Resp.
  (Doc. No. 267) at 31-34. This Court need not and does not address this waiver issue.


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         B. The Inapplicability of 28 U.S.C. § 2254(d)

         Pursuant to 28 U.S.C. § 2254(d), the “additional restriction” of a “highly deferential

  standard” applies if a habeas corpus petition “includes a claim that has been ‘adjudicated

  on the merits in State court proceedings.’” Cullen, 563 U.S. at 181 (quoting 28 U.S.C. §

  2254(d)). In determining whether there has been such an adjudication, the federal court

  should look to “the last related state-court decision that . . . provide[s] a relevant rationale”

  for that court’s disposition of the claim. Wilson v. Sellers, 138 S. Ct. 1188, 1192-94 (2018)

  (citing Ylst v. Nunnemaker, 501 U.S. 797, 803 (1991)); accord Hawes v. Pacheco, 7 F.4th

  1252, 1261 n.6 (10th Cir. 2021) (explaining that the habeas court looks to the “last reasoned

  opinion” of the state court on the petitioner’s federal claims (internal quotation marks

  omitted)).

         As noted above, although the state trial court issued findings and conclusions in

  denying the Second Application for Postconviction Relief, the OCCA did not reach the

  merits of Petitioner’s claims on appeal, instead expressly rejecting the application on

  procedural grounds. See OCCA Order of Oct. 12, 2018, at 9 (“Petitioner’s propositions of

  error . . . are thus barred or waived.”). In their pleadings, the parties agreed that this

  disposition, the “last reasoned opinion” of the state courts, does not implicate review under

  § 2254(d). See Pet’r’s Br. at 34-35; Answer at 36, 38, 54. Judge Purcell found likewise,

  explaining that because the claims were not “adjudicated on the merits,” but instead

  resolved by the OCCA on procedural grounds, “§ 2254(d)’s deference does not apply.” 28

  U.S.C. § 2254(d); Suppl. R. & R. at 19.




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         Neither party now argues otherwise, and the Court concurs with the Supplemental

  R. & R. on this point. The OCCA’s affirmance of the trial court’s decision “on alternative

  procedural grounds” was the “last reasoned decision” but was “not . . . a decision resulting

  from [a] merits adjudication.” Greene v. Fisher, 565 U.S. 34, 40 (2011) (emphasis

  omitted); Ylst, 501 U.S. at 804; see also Johnson v. Williams, 568 U.S. 289, 302 (2013);

  Williams v. Alabama, 791 F.3d 1267, 1271-72, 1273-76 (11th Cir. 2015). Because the

  OCCA did not reach the merits of Petitioner’s Second Application for Postconviction

  Relief, there is no state-court decision to defer to when considering the merits of

  Petitioner’s federal claims.

         C. The Presumption of Correctness Under 28 U.S.C. § 2254(e)(1)

         The lack of a state-court § 2254(d) merits adjudication is not by itself determinative

  of the federal habeas court’s application of § 2254(e)(1), which provides:

         In a proceeding instituted by an application for a writ of habeas corpus by a
         person in custody pursuant to the judgment of a State court, a determination
         of a factual issue made by a State court shall be presumed to be correct. The
         applicant shall have the burden of rebutting the presumption of correctness
         by clear and convincing evidence.

  28 U.S.C. § 2254(e)(1).

         “Clear and convincing” is “an intermediate standard of proof,” Santosky v.
         Kramer, 455 U.S. 745, 756 (1982), satisfied by evidence that would “place
         in the ultimate factfinder an abiding conviction that the truth of its factual
         contentions [is] ‘highly probable,’” Colorado v. New Mexico, 467 U.S. 310,
         316 (1984) (quoting C. McCormick, Law of Evidence § 320, p. 679 (1954)).

  Fontenot v. Crow, 4 F.4th 982, 1018 (10th Cir. 2021) (parallel citations omitted).

         Before the magistrate judge, the parties disagreed as to whether § 2254(e)(1)’s

  presumption of correctness should be applied to the factual findings made by the state trial


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  court in denying the Second Application for Postconviction Relief. Compare Pet’r’s Br.

  at 40, and Pet’r’s Reply at 7-16, with Answer at 18, 37-38, 52-62. Judge Purcell found that

  there was a lack of authority directly on point but nevertheless assumed that the

  presumption would apply and proceeded to consider Petitioner’s Ground One subject to

  that express assumption. See Suppl. R. & R. at 19-21.

         Petitioner did not file a written objection to the Supplemental R. & R. Thus,

  although she continues to contend that the statutory presumption should not apply, see

  Pet’r’s Resp. at 10, she has not presented an actionable challenge to Judge Purcell’s

  approach. For her part, Respondent faults the manner in which the magistrate judge applied

  the § 2254(e)(1) presumption of correctness, but she likewise does not object to the

  underlying application of that presumption to the state trial court’s factual determinations.

  See Resp’t’s Obj. at 14-15, 31.4

         Accordingly, the undersigned accepts that the state trial court’s “findings of fact that

  bear upon [Ground One] are entitled to a presumption of correctness rebuttable only by

  clear and convincing evidence” under 28 U.S.C. § 2254(e)(1). Grant, 886 F.3d at 889

  (internal quotation marks omitted).




  4
   Judge Purcell’s approach appears consistent with both the statutory language and relevant
  authority. See 28 U.S.C. § 2254(e)(1) (prescribing that a state-court factual determination
  “shall be presumed to be correct” (emphasis added)); see, e.g., Fontenot, 4 F.4th at 1061
  (“Even when reviewing a habeas claim de novo rather than under § 2254(d), state-court
  factfinding still receives the benefit of doubt under § 2254(e)(1) . . . .”); Grant v. Royal,
  886 F.3d 874, 889 (10th Cir. 2018) (explaining that the presumption applies “even in the
  setting where we lack a state court merits determination”).


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         D. Summary of Petitioner’s Burden

         In sum, because the Court is not bound by 28 U.S.C. § 2254(d) deference, it reviews

  Petitioner’s Ground One de novo. See Fontenot, 4 F.4th at 1061; Hooks v. Workman, 689

  F.3d 1148, 1194 (10th Cir. 2012). Petitioner “bear[s] the burden of showing a right to

  habeas relief based on a preponderance of the evidence.” Menzies v. Powell, 52 F.4th 1178,

  1210 (10th Cir. 2022), petition for cert. filed, No. 22-7482 (U.S. May 8, 2023). That is,

  Petitioner must show by a preponderance of the evidence that her representation at trial

  was constitutionally ineffective. See id. “A preponderance of the evidence is evidence

  sufficient to persuade the court that a fact is more likely present than not present.” United

  States v. King, No. CR-13-63-F, 2014 WL 12623415, at *6 (W.D. Okla. Dec. 1, 2014);

  accord Kyles v. Whitley, 514 U.S. 419, 434 (1995).

         Further, because 28 U.S.C. § 2254(e)(1) is assumed to apply, the Court in

  conducting its de novo review of Ground One extends to all material state-court factual

  findings the presumption of correctness directed by that provision. To the extent Petitioner

  challenges any such finding she must rebut that presumption by clear and convincing

  evidence. See Grant, 886 F.3d at 889.5




  5
   The state court’s legal conclusions or mixed findings of law and fact are not entitled to
  AEDPA’s presumption of correctness, however. See Martinez v. Zavaras, 330 F.3d 1259,
  1262 (10th Cir. 2003).


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     II.    Review of the Supplemental Report and Recommendation

           A. Respondent’s General Objections

                 1. The “Background Information” Section

           The Supplemental R. & R. opens with a short section titled “Background

  Information,” wherein Judge Purcell summarizes the circumstances of A.S.’s death, details

  Petitioner’s judicial proceedings and events involving her defense counsel, and identifies

  Petitioner’s habeas claims. See Suppl. R. & R. at 1-6. Respondent objects that this portion

  of the Supplemental R. & R. is improper for several reasons, including: its failure to include

  a record citation for every proposition, its inclusion of certain items presented to the

  magistrate judge by Petitioner and exclusion of certain other items presented by

  Respondent, its alleged disregard of presumptively correct state-court factual findings, and

  its making of “new findings totally unsupported by the record.” Resp’t’s Obj. at 15-30.

  Respondent contends that the deficiencies of the Background Information section render

  the entire Supplemental R. & R. unreliable, as this section “sets the stage” for Judge

  Purcell’s erroneous conclusion as to Petitioner’s ineffective-assistance claim. Id. at 15-16.

           The Court readily concludes that the “Background Information” section serves as

  an introduction of the parties’ controversy and not an exhaustive cataloging of all evidence

  considered and all facts found in the analysis of Petitioner’s habeas claims. See Pet’r’s

  Resp. at 8. Respondent does not establish that the general recounting of the case history,

  or a lack of citations therein, undermines the remainder of the analysis of the Supplemental

  R. & R. The Court also notes that this portion of the Supplemental R. & R. presents much

  of the same “Factual Background” as did a previous R. & R., to which Respondent did not


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  object. See R. & R. of Dec. 12, 2019, at 2-4, 3 n.1. To the extent Respondent raises specific

  objections to particular aspects of the Background Information section, see Resp’t’s Obj.

  at 23-30, the undersigned will address those objections in connection with the relevant

  analysis of Ground One, as applicable.

                2. Discussion of the Trial Court’s Factfinding Process

         Following the evidentiary hearing on Petitioner’s Second Application for

  Postconviction Relief, both parties submitted written proposed findings of fact and

  conclusions of law to the trial court. The trial court incorporated the State’s proposed

  narrative discussion, findings of fact, and conclusions of law nearly verbatim into its order

  denying relief. See id. at 31. Compare Trial Ct. Order of Mar. 27, 2018, at 7-30, with

  State’s Proposed Order (Doc. No. 227-3) at 3-25.

         In the Supplemental R. & R., Judge Purcell noted the trial court’s wholesale

  adoption of the State’s proposed findings of fact and cited several judicial decisions

  criticizing the practice by courts of “verbatim adoption” and “uncritical[] accept[ance]” of

  findings of fact “prepared without judicial guidance” “by prevailing parties.” Anderson v.

  City of Bessemer City, 470 U.S. 564, 572 (1985); see Suppl. R. & R. at 21-23.

         According to Respondent, the Supplemental R. & R.’s recognition of the context of

  the trial court’s ruling necessarily establishes that Judge Purcell was improperly applying

  pre-AEDPA law and did not actually presume the trial court’s factual findings were correct

  as prescribed by 28 U.S.C. § 2254(e)(1). See Resp’t’s Obj. at 31-42. Respondent objects

  that how the trial court reached its disposition is “irrelevant” and that consideration of the

  circumstances underlying the trial court’s order is not authorized by the current AEDPA


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  statutory scheme. Id. at 31-39.6 In support, Respondent focuses upon the fact that

  decisions cited by the magistrate judge as disapproving of courts’ verbatim adoption of

  prevailing parties’ findings were issued prior to AEDPA’s enactment or occurred in a

  different class of cases. See id. at 34-39. Respondent also relies on Sharpe v. Bell, wherein

  the Fourth Circuit explained that “AEDPA does not make deference to state court fact-

  finding dependent on the adequacy of the procedures followed by the state court.” Sharpe,

  593 F.3d 372, 378 (4th Cir. 2010); see Resp’t’s Obj. at 36-42.

         Respondent’s objection misreads the Supplemental R. and R.              Judge Purcell

  expressly stated that he was applying the § 2254(e)(1) presumption of correctness to the

  state court’s decision. See, e.g., Suppl. R. & R. at 21, 23-24. While the magistrate judge

  criticized the trial court’s verbatim adoption of findings submitted by the State, he specified

  that he examined the provenance of the trial court’s order only as “context.” Id. at 23-24

  (emphasizing that the trial court’s adoption of the State’s findings does not affect

  application of § 2254(e)(1)). To the extent Respondent suggests that Judge Purcell

  deviated from the § 2254(e)(1) standard, Respondent has not shown that to be the case.

         Nor has Respondent demonstrated that Judge Purcell otherwise erred in addressing

  the circumstances underlying the issuance of the state court’s determination. A federal

  habeas court is required to apply a presumption of correctness to the state court’s factual

  determinations. This requirement does not preclude that court from considering how those



  6
    Prior to the 1996 enactment of AEDPA, a statutory presumption of correctness applied to
  state-court findings of fact but was subject to eight enumerated exceptions. See Jefferson
  v. Upton, 560 U.S. 284, 290-291 (2010) (citing 28 U.S.C. § 2254(d)(1)-(8) (1966)).


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  findings were reached, however. “[T]he character of the process upon which the state court

  based its conclusion may have some bearing on whether a petitioner’s showing amounts to

  ‘clear and convincing’ evidence that the state court erred.” Sharpe, 593 F.3d at 378; accord

  Lambert v. Blackwell, 387 F.3d 210, 239 (10th Cir. 2004) (“[T]he extent to which a state

  court provides a full and fair hearing . . . might be a consideration while applying deference

  under . . . § 2254(e)(1).” (internal quotation marks omitted)).

         [P]rocedure often affects substance—that is, the procedural process through
         which a court makes a substantive determination influences the
         reasonableness of the substantive determination itself.
            We consequently have little trouble concluding the procedures a state
         court employs to make factual determinations . . . can affect the
         reasonableness of the court’s subsequent factual determinations.

  Smith v. Aldridge, 904 F.3d 874, 882 (10th Cir. 2018) (citation omitted) (discussing the

  “unreasonable determination” standard under 28 U.S.C. § 2254(d)(2)).

         Respondent therefore does not show that the Supplemental R. & R.’s consideration

  of the “character of the process” undermines or is inconsistent with employment of the

  statutory presumption of correctness set forth by § 2254(e)(1). Sharpe, 593 F.3d at 378.

                3. Application of the Presumption of Correctness to Implicit Findings

         In its order denying Petitioner’s Second Application for Postconviction Relief, the

  trial court first identified the materials it had reviewed and presented a procedural history

  of the case. See Trial Ct. Order of Mar. 27, 2018, at 1-7.7 There is then a discussion (the




  7
   This Procedural History was a joint stipulation submitted by the parties at the close of the
  evidentiary hearing. See Trial Ct. Order of Mar. 27, 2018, at 2; Postconviction Hr’g Tr. of
  Aug. 4, 2015, at 27-28 (conventionally filed).


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  “Narrative” section) of Petitioner’s IATC claim, id. at 7-27, followed by a “Conclusion”

  section that sets forth 18 “specific findings of fact and conclusions of law” and denies relief

  on the IATC claim. Id. at 27-30.8 In the Supplemental R. & R., Judge Purcell discussed

  the case and § 2254(e)(1) generally and then stated: “In its order the state court set forth

  eighteen findings of fact, preceded by a narrative of supportive reasoning. The Court will

  address only those factual findings most relevant to Petitioner’s grounds for relief

  addressed therein.” Suppl. R. & R. at 24 (citation omitted).

         Citing Register v. Thaler, 681 F.3d 623 (5th Cir. 2012), Respondent argues that

  “‘the presumption of correctness in § 2254(e)(1) applies both to explicit findings and to

  unarticulated findings which are necessary to the state court’s conclusions of mixed law

  and fact.’” Resp’t’s Obj. at 43 (alterations omitted) (quoting Register, 681 F.3d at 629).9

  Respondent objects that the magistrate judge erred by applying the statutory presumption

  to the enumerated findings in the trial court’s “Conclusion” section but failing to apply that

  presumption to factual findings made by the trial court in the preceding “Narrative” section.

  See Resp’t’s Obj. at 43.

         The Court sees nothing in the magistrate judge’s treatment of these two sections that

  would amount to a failure to properly apply § 2254(e)(1) to any factual finding implied in



  8
    Although Petitioner’s claims for ineffective assistance of appellate counsel were reserved
  and not addressed at the postconviction hearing, the trial court denied relief as to certain of
  those claims as well. See Trial Ct. Order of Mar. 27, 2018, at 26-27, 30.
  9
   Tenth Circuit authority likewise supports the extension of the statutory presumption to
  implicit factual findings made by state courts. See, e.g., Ellis v. Raemisch, 872 F.3d 1064,
  1071 n.2 (10th Cir. 2017).


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  the “Narrative” section of the trial court’s order.         A more natural reading of the

  Supplemental R. & R. reflects that Judge Purcell simply chose to focus his discussion upon

  the findings and conclusions that Judge Purcell considered germane to Ground One. See,

  e.g., Suppl. R. & R. at 17 (referring generally to the trial court’s order as “its findings of

  fact and conclusions of law”), 21-22 (citing the “Narrative” section). Further, Respondent

  does not identify any specific factual finding from the “Narrative” section, as opposed to

  the “Conclusion” section, to which Judge Purcell allegedly failed to accord the presumption

  of correctness. See Resp’t’s Obj. at 43.

                4. Summary

         In sum, Respondent has not shown any error that generally tainted the magistrate

  judge’s consideration of the state court’s factual findings or resulted in a failure to properly

  apply § 2254(e)(1). To the extent Respondent raises specific, material objection to the

  facts underlying the magistrate judge’s recommendation, the undersigned will address

  those objections below.

         B. Discussion of the Magistrate Judge’s Review of Specific Factual Findings by the
            State Trial Court

                1. Misappropriation of Defense Funds

         After being criminally charged in January 2004, Petitioner was initially represented

  by a public defender named Jennifer Richard. In February 2005, Petitioner, through her

  mother, retained attorneys Isaac Funderburk and David Slane to replace Ms. Richard. Mr.

  Funderburk and Mr. Slane entered their appearances in the state court on February 10,




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  2005. Attorney Eric Reynolds joined the defense team shortly before the trial, which was

  conducted September 12-16, 2005.

         Petitioner alleges that Mr. Funderburk, who was her contact on the defense team

  and handled the financial aspect of her representation, “was distracted from attending to

  her case and using funds she provided for experts for his own personal expenses” or for

  purposes “other than for their intended use.” Second Am. Pet. at 9. The state trial court

  found in relevant part: “While the evidence presented to this Court supports that Mr.

  Funderburk did not provide an adequate accounting for Petitioner’s client-trust fund, there

  has been no evidence to support Petitioner’s allegation that Mr. Funderburk

  misappropriated those funds for his own benefit.” Trial Ct. Order of Mar. 27, 2018, at 30;

  see also id. at 24-26.

         The magistrate judge considered this finding in detail, reviewing the postconviction

  hearing testimony and record to conclude that Petitioner had rebutted the presumption of

  correctness:

         [S]erious questions exist as to the propriety of Mr. Funderburk’s handling of
         the funds provided to him for Petitioner’s defense. Petitioner has certainly
         presented clear and convincing evidence to rebut the state court finding that
         “there has been no evidence to support Petitioner’s allegation that Mr.
         Funderburk misappropriated Defense Funds for his own benefit.” Most
         significant to the present case, however, it is clear funds available to the
         defense for expert witnesses were not used for that purpose.

  Suppl. R. & R. at 28-29 (alteration and citation omitted).

         Respondent raises no objection to this aspect of the Supplemental R. & R., and the

  Court concurs with Judge Purcell’s conclusion. See id. at 24-29.




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                2. Mr. Funderburk’s Substance Abuse Issues

         In connection with her ineffective-assistance claims, Petitioner alleges that Mr.

  Funderburk was dealing with serious “personal and financial difficulties” prior to and

  during the September 2005 criminal trial, including substance abuse. Second Am. Pet. at

  9; see also Pet’r’s Br. at 79-81. Whether and to what extent Mr. Funderburk was impaired

  in his representation of Petitioner due to his drug and alcohol issues10 was addressed in

  depth during the state court’s evidentiary hearing. See Trial Ct. Order of Mar. 27, 2018, at

  21-24. The trial court ultimately found:

         There has been no evidence presented that Mr. Funderburk was impaired or
         under the influence of intoxicating substances at the time he represented
         Petitioner in this matter. On the contrary, witness testimony supports that
         Mr. Funderburk was functioning normally throughout the course of his
         representation.

  Id. at 29-30 (“Factual Finding No. 12”).

         In the Supplemental R. & R., Judge Purcell discussed in detail the relevant evidence

  and testimony in the record. This included evidence reflecting that, between February and

  September 2005, Mr. Funderburk had engaged in behaviors opined to be consistent with

  the abuse of prescription drugs and that, during the same period, he experienced significant

  financial and personal troubles, including an ongoing prosecution against him by the

  Oklahoma County District Attorney’s Office for drug- and alcohol-related criminal




  10
    It is undisputed that, prior to practicing law in Oklahoma, Mr. Funderburk served three
  years in federal prison after pleading guilty to two criminal counts, including a felony drug
  conspiracy charge. In January 2010, Mr. Funderburk died as a result of an accidental drug
  overdose.


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  charges. See Suppl. R. & R. at 29-32.11 Judge Purcell ultimately concluded that, despite

  the trial court’s finding of “no evidence” of impairment or intoxication, “[t]here is evidence

  suggesting [Mr. Funderburk’s struggle with substance abuse problems] also occurred

  during Mr. Funderburk’s representation of Petitioner” and that “[w]hether and/or to what

  extent these issues affected his representation of Petitioner is unclear.” Id. at 5-6.

            It appears an exceedingly reasonable conclusion that Mr. Funderburk was
         abusing prescription medications during his representation of Petitioner. The
         parties have presented conflicting evidence regarding whether it affected his
         performance during trial. . . . .
            Regardless, it is not necessary for the Court to make a specific
         determination as to whether Petitioner met her burden in rebutting the state
         court’s finding that no evidence was presented indicating Mr. Funderburk’s
         performance was impaired during his representation of Petitioner. While Mr.
         Funderburk’s use, and likely abuse, of prescription medication during his
         representation of Petitioner may provide context for various issues raised
         herein, the Court’s finding that Petitioner received ineffective assistance of
         counsel is not dependent upon the same.

  Id. at 31-32 (citation omitted).

         Respondent asserts that this approach “makes a mockery of” 28 U.S.C. § 2254(e)(1),

  as the magistrate judge found that Mr. Funderburk was likely abusing prescription

  medication without directly concluding that the presumption of correctness owed to the

  state court’s arguably incompatible factual finding had been rebutted. Resp’t’s Obj. at 44-

  45; see also id. at 28 & n.17. Respondent, somewhat inconsistently, also objects that the

  magistrate judge erred in applying § 2254(e)(1) because the burden was placed on

  Respondent to justify the state court’s finding rather than on Petitioner to rebut the


  11
    Mr. Funderburk pleaded guilty to those charges on November 4, 2005. See State v.
  Funderburk, No. CF-2003-6954 (Okla. Cnty. Dist. Ct.).


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  associated presumption.     See id. at 45-46.     Petitioner responds that Judge Purcell’s

  comments on this point are “clearly dicta” and so these objections are “not relevant.”

  Pet’r’s Resp. at 7 n.1.

         It would not have been proper for the magistrate judge to rely upon his own finding

  as to Mr. Funderburk’s likely substance abuse without first deciding that the § 2254(e)(1)

  presumption had been in relevant part rebutted. Cf. Gardner v. Galetka, 568 F.3d 862, 879

  (10th Cir. 2009) (“[T]he correct standard of review under AEDPA is not waivable.”).

  Reading this portion of the Supplemental R. & R. in context, however, reflects that Judge

  Purcell’s statements regarding Mr. Funderburk’s substance-abuse issues are “unnecessary

  to the decision in the case” and therefore dicta. Hetronic Int’l, Inc. v. Hetronic Ger. GmbH,

  10 F.4th 1016, 1052 (10th Cir. 2021) (internal quotation marks omitted). Judge Purcell’s

  analysis of the IATC claim does not further reference these issues, but instead focuses upon

  the ultimate strategic decisions made by defense counsel with respect to causation and

  expert witnesses. The objection is therefore overruled.12

                3. Consultation with a Second Expert

         At the postconviction hearing, Petitioner’s defense attorney David Slane testified

  that, in addition to a female forensic pathologist named Dr. Corrie May (discussed infra),

  the defense team had consulted with a second doctor, who was male, and decided not to

  retain him for trial. See Postconviction Hr’g Tr. of Dec. 4, 2014, at 26-29, 47. Citing this

  testimony, the state trial court found:


  12
    Consistent with this view, this Court accords the trial court’s Factual Finding No. 12 the
  presumption of correctness owed it under § 2254(e)(1).


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         The defense did consult with two “mainstream” medical experts, Dr. Corrie
         May and an unnamed male doctor, prior to Petitioner’s trial. Both doctors
         indicated they would be harmful to Petitioner’s defense.

  Trial Ct. Order of Mar. 27, 2018, at 28 (“Factual Finding No. 4”); see also id. at 13.

         Petitioner has argued in this proceeding that the state trial court’s determination that

  defense counsel consulted with any doctor other than Dr. May should be rejected. See

  Pet’r’s Br. at 43-45; Pet’r’s Resp. at 21-27. In the Supplemental R. and R., Judge Purcell

  agreed with Petitioner, finding that Petitioner had rebutted the presumption of correctness

  owed under § 2254(e)(1). See Suppl. R. & R. at 32-40. In support, Judge Purcell contrasted

  Mr. Slane’s “vague” and uncorroborated testimony about the unknown male expert with

  record evidence that Judge Purcell considered to “undermine or outright contradict” that

  testimony. Id. at 35. Respondent objects to this aspect of the Supplemental R. & R.

         First, Respondent argues that the magistrate judge “improperly reweigh[ed]”

  credibility determinations made by the state trial court regarding Mr. Slane’s testimony at

  the postconviction hearing, suggesting that the federal court may not reject any aspect of

  that testimony in conducting its habeas review. See Resp’t’s Obj. at 51-53, 54-68. The

  undersigned agrees that in reaching Factual Finding No. 4, the state trial court “validated

  [Mr. Slane’s] testimony both expressly and implicitly,” finding that this aspect of the

  attorney’s testimony was credible. Ellis, 872 F.3d at 1071 n.2. This credibility finding is

  “one[] of fact.” Id.

         The presence of a credibility determination does not, however, preclude the Court

  from considering whether the § 2254(e)(1) presumption has been rebutted or from making

  a finding that it has. As prescribed by the Supreme Court, “[a] federal court can disagree


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  with a state court’s credibility determination and, when guided by AEDPA, conclude . . .

  that the factual premise was incorrect by clear and convincing evidence.” Miller-El v.

  Cockrell, 537 U.S. 322, 340 (2003). Here, the magistrate judge’s rejection of the relevant

  aspect of the state trial court’s Factual Finding No. 4 (the determination that defense

  counsel consulted with a doctor other than Dr. May) is not based on a wholesale rejection

  of the credibility of Mr. Slane’s testimony.13 As explained by the magistrate judge,

        Mr. Slane acknowledged that his memory regarding Petitioner’s case was not
        entirely reliable at the time of the evidentiary hearing as it had been ten years
        since Petitioner’s trial. Moreover, Mr. Slane no longer possessed a file from
        Petitioner’s case or any of his notes. By 2015, when Mr. Slane testified in
        this matter, he had practiced twenty-one years, represented thousands of
        defendants, tried hundreds of cases, and noted that his cases ran together in
        his memory. . . . . Indeed, Petitioner’s own evidentiary hearing expert,
        criminal defense attorney Robert Wyatt, stated that he could not remember
        every expert he had hired over the years without consulting a case file.

  Suppl. R. & R. at 34 (citing Postconviction Hr’g Tr. of Dec. 4, 2014, at 7, 24, 27;

  Postconviction Hr’g Tr. of Mar. 19, 2015, at 144-45); see also Wiggins v. Smith, 539 U.S.

  510, 533 (2003) (finding that statements provided by defense counsel during

  postconviction proceedings more than four years after sentencing “may simply reflect a

  mistaken memory shaped by the passage of time”).

        On the broader point of whether the relevant aspect of the state trial court’s Factual

  Finding No. 4 has been shown to be incorrect by clear and convincing evidence,


  13
    Respondent implies that the Court would be endorsing perjured evidence by looking to
  other witnesses’ differing recollections of events. See Resp’t’s Obj. at 52 (arguing that
  Petitioner and her mother had an “incentive to offer false testimony” regarding the
  consultation with a second expert). The undersigned has found no indication in the record
  that any witness—be it Petitioner, a family member, or the defense attorneys whose own
  performance was being challenged—deliberately testified falsely at the hearing.


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  Respondent argues that the magistrate judge improperly burdened Respondent with

  defending the state court’s factual finding by “pick[ing] apart” Respondent’s evidence and

  by concluding that the 28 U.S.C. § 2254(e)(1) presumption had been rebutted without

  identifying evidence that directly “contradict[s]” Mr. Slane’s account. Resp’t’s Obj. at 46-

  51. The undersigned disagrees.

         On the first point, the Supplemental R. & R.’s discussion of the evidence is

  presented within the framework of determining whether Petitioner had met her burden

  under § 2254(e)(1). See Suppl. R. & R. at 32-33, 40. An examination of whether the record

  evidence is consistent with the trial court’s finding is not “picking apart” Respondent’s

  arguments but rather a proper aspect of that determination. See, e.g., Wiggins, 539 U.S. at

  528-29, 534 (considering the case record to hold that the state appellate court’s underlying

  factual assumption had been shown to be incorrect by clear and convincing evidence); cf.

  Colorado, 467 U.S. at 316 (noting that the judging of proof by a clear and convincing

  standard requires “weigh[ing]” the opposing parties’ materials on “the evidentiary scales”).

         Further, Respondent’s insistence that Petitioner can rebut the statutory presumption

  of correctness only by identifying an item of evidence that wholly contradicts Mr. Slane’s

  imprecise testimony and renders it “entirely unreliable” is misguided. Resp’t’s Obj. at 47-

  50, 66 (emphasis omitted). As noted above, “clear and convincing” is an “intermediate”

  standard, calling for proof that the truth of the contention is “highly probable.” Fontenot,

  4 F.4th at 1018. “‘Highly probable’ is a standard that requires more than a preponderance

  of the evidence but less than proof beyond a reasonable doubt.” Bishop v. Warden, GDCP,

  726 F.3d 1243, 1258-59 (11th Cir. 2013) (internal quotation marks omitted). “In the §


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  2254(e)(1) context, this standard ‘is demanding but not insatiable.’” Fontenot, 4 F.4th at

  1018 (quoting Miller-El v. Dretke, 545 U.S. 231, 240 (2005)).14

         Having considered the relevant record, the undersigned concurs that Petitioner’s

  rebuttal burden has been met. As noted in the Supplemental R. & R., Mr. Slane’s testimony

  regarding the consultation with a second expert was qualified by uncertainty:

             Mr. Slane testified that he, along with Mr. Funderburk, spoke with two
         doctors regarding Petitioner’s case, a male expert and Dr. May. He testified
         that they first spoke with a male doctor “that we sent the information to.” Tr.
         Dec. 4, 2014 Vol. I at 26. He thinks the male doctor was a forensic
         pathologist. Id. at 26, 85. Mr. Slane testified that he cannot recall this male
         doctor’s name, when they spoke with him, where he resided other than it was
         not in Oklahoma, []or when they received his opinion. Id. at 26, 29, 85-86.
         Indeed, the only things he can recall are that the male expert charged them a
         fee for his services and that the expert’s opinion would have been harmful to
         their case.
            There are three amounts Mr. Slane believes they paid to doctors -
         $1,000.00, $2,000.00, and $5,000.00. Id. at 27. “I don’t remember who got
         what and when. But I thought that we had sent a packet to a male doctor and
         asked him to review the information to see if he could help us. And we got
         a pretty quick response back from him.” Id. Mr. Slane later testified he
         thought they paid the unknown male doctor $1,000.00 to review their
         materials. Id. at 84-85. Mr. Slane indicated they later spoke with the male
         doctor on the speakerphone in Mr. Slane’s office. Id. at 27-28, 85-86. The
         doctor informed them that he would be harmful to their case and therefore,
         they did not speak with him further. Id.

  Suppl. R. & R. at 34-35 (footnote omitted). Mr. Slane further testified that he did not recall

  whether the second doctor’s practice was “mainstream” in nature (as was found by the trial




  14
     To the extent the magistrate judge concluded that Petitioner’s evidence contradicts Mr.
  Slane’s testimony outright, the undersigned disagrees. While not determinative for the
  reasons set forth above, Petitioner does not identify any item of evidence that directly
  refutes Mr. Slane’s contention that a second expert was consulted.


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  court in Factual Finding No. 4). Postconviction Hr’g Tr. of Dec. 4, 2014, at 47, 86 (“[I]t

  was a doctor that [Mr. Funderburk] was aware of.”).

          Petitioner directs the Court to numerous items of evidence that are not in accord

  with Mr. Slane’s recollection of events and therefore undermine the disputed state-court

  finding. These include:

       • At the postconviction hearing, Mr. Slane was questioned regarding an affidavit that
         he had given and signed. See Slane Aff. of Sept. 4, 2012 (Ex. G, State’s Resp. to
         Pet’r’s Second Appl. Postconviction Relief (Postconviction R. at 2380-83))
         (conventionally filed). The affidavit provides details as to the attorneys’ contact
         with Dr. May, and other facts regarding their representation of Petitioner, but does
         not reference consulting with or wanting to hire a second expert. See id. Mr. Slane
         “do[es] [not] know” why there is no mention of a second expert in the affidavit.
         Postconviction Hr’g Tr. of Dec. 4, 2014, at 84-85, 88-89, 113-15.

       • Although Mr. Slane “kind of th[ought]” defense counsel “may have paid” or was
         going to pay the male doctor $1000 to review medical records, the bank records for
         Petitioner’s client trust account do not reflect any payment made in this amount or
         any payment made to a male expert medical witness. Id. at 27, 84-85; see Bank
         Records, Hr’g Ex. 39 (conventionally filed). Mr. Slane could not explain why there
         was no check written to a male medical expert. See Postconviction Hr’g Tr. of Dec.
         4, 2014, at 86.

       • After the trial had concluded, Petitioner and individuals who had provided funds for
         Petitioner’s defense filed grievances with the Oklahoma Bar Association (“OBA”)
         regarding Isaac Funderburk’s defense strategy and possible misappropriation of
         funds. Mr. Funderburk submitted at least two written responses to the OBA. See
         Funderburk Ltr. of Apr. 29, 2006, Hr’g Ex. 45, at 2-6; Funderburk Ltr. of Aug. 3,
         2006, Hr’g Ex. 45, at 18-20; see also Postconviction Hr’g Tr. of Mar. 3, 2015, at
         63-65. In one of these responses, Mr. Funderburk outlined the pretrial and trial
         efforts taken on Petitioner’s behalf, including his “utiliz[ation] [of] the trust fund
         monies to employ[] the experts that I thought w[ere] best.” Funderburk Ltr. of Apr.
         29, 2006, at 5. Mr. Funderburk nowhere mentions contacting a second medical
         expert or any record review undertaken by such an expert. See id. at 2-6.15 In the


  15
    Before the magistrate judge, Respondent argued that Mr. Funderburk’s use of “experts”
  on page three of this letter was an “oblique[]” reference to the second, male medical expert.
  Answer at 74. Respondent does not reurge this position here, and the Court agrees with

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          other OBA response, Mr. Funderburk supplied “a breakdown of how the trust
          money was spent”; there is no payment to any medical expert identified.
          Funderburk Ltr. of Aug. 3, 2006, at 19-20.16
       • Petitioner’s defense attorney Eric Reynolds testified that he was not involved in any
         conversations about consulting with a second medical expert and that, after
         receiving Dr. May’s unfavorable opinion, he was not aware of any discussion
         having occurred as to whether to obtain another medical opinion. See
         Postconviction Hr’g Tr. of Dec. 3, 2014, at 28; accord Hr’g Ex. No. 38, Reynolds
         Aff. of June 4, 2012, ¶ 6 (“I . . . am not aware of any other experts . . . that were
         involved in this case, except for Dr. May.”) (Pet’r’s Postconviction App. Ex. 66
         (Postconviction R. at 1812-17)).

       • During her consultations with defense counsel, Dr. Corrie May was “[n]ever made
         aware that anybody else in the defense team had consulted with anybody else about
         this case on the medical issues.” Postconviction Hr’g Tr. of Jan. 22, 2015, at 24.

       • When Petitioner met with her defense counsel the week prior to the commencement
         of trial, they discussed expert witnesses and the retention of Dr. May, but no attorney
         mentioned having had another medical expert review the files in the case.
         Postconviction Hr’g Tr. of Mar. 5, 2015, at 52-54.

       • Donna Carmichael, Petitioner’s mother, understood from a meeting with Mr.
         Funderburk approximately three weeks prior to trial that defense counsel had not
         hired any expert witnesses. Postconviction Hr’g Tr. of Dec. 1, 2014, at 165-66, 177-
         78.

          While “the significance of” certain items of Petitioner’s evidence “is open to

  judgment calls,” “when [the] evidence” regarding the alleged second expert “is viewed

  cumulatively,” it is “highly probable” that the defense attorneys did not consult with an

  unknown male doctor prior to trial. Dretke, 545 U.S. at 265; Fontenot, 4 F.4th at 1018.

  Having conducted the requisite de novo review, the Court agrees with the magistrate judge



  Judge Purcell that such an interpretation is not supported when the relevant language is
  read in context with the remainder of the letter. See Suppl. R. & R. at 37.
  16
     The lack of an entry for Dr. May in this breakdown is consistent with Dr. May’s
  testimony—i.e., that she billed Mr. Funderburk for her services but never received
  payment. See Postconviction Hr’g Tr. of Jan. 22, 2015, at 30-31.


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  that Petitioner has rebutted the statutory presumption of correctness as to this aspect of the

  trial court’s Factual Finding No. 4.17

                4. Retention of Dr. Corrie May

         The state trial court found that “the defense first retained Dr. May’s services on

  September 1, 2005, and were aware of her opinion that the victim’s injuries were consistent

  with child abuse by September 9, 2005.” Trial Ct. Order of Mar. 27, 2018, at 28 (“Factual

  Finding No. 5”); see also id. at 14. Judge Purcell rejected Petitioner’s challenge to the

  latter aspect of this finding, concluding that, while “[i]t is unlikely a member of the defense

  team reviewed Dr. May’s opinion prior to the night of Sunday, September 11, 2005”—i.e.,

  the night before trial commenced—Dr. May had faxed her report to Mr. Funderburk on

  Friday, September 9, 2005, and Petitioner had not presented clear and convincing evidence

  that defense counsel had not accessed the report between that September 9 transmission

  and the evening of September 11, 2005. Suppl. R. & R. at 40-49.




  17
     Pursuant to 28 U.S.C. § 2254(e)(1), Petitioner’s burden is to rebut the presumption of
  correctness afforded the state court’s factual determination. Although arguably a
  distinction lies between simply rebutting the presumption of correctness attached to a
  factual determination and establishing that the factual determination is itself erroneous, the
  Supreme Court has conflated or equated the two showings, indicating that fulfilling the
  former has the effect of accomplishing the latter, See Cockrell, 537 U.S. at 348 (stating that
  § 2254(e)(1) requires a petitioner to “demonstrate that a state court’s finding . . . was
  incorrect by clear and convincing evidence”); accord id. at 341 (noting that a reviewing
  court will “determine whether the trial court’s determination . . . has been rebutted by clear
  and convincing evidence to the contrary”); Dretke, 545 U.S. at 266 (“The state court’s
  conclusion . . . is shown up as wrong to a clear and convincing degree; the state court’s
  conclusion was . . . erroneous.”). Accordingly, the undersigned views Petitioner’s burden
  under AEDPA through this lens.


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         No objection is raised to Judge Purcell’s disposition on this point, and the

  undersigned concurs that Factual Finding No. 5 should be presumed correct.

                5. The Timing of David Slane’s Involvement in Petitioner’s Defense

         Finally, Respondent objects that Judge Purcell “total[ly] disregard[ed]” Factual

  Finding No. 5 and other portions of the state trial court’s order when concluding that Mr.

  Slane “likely . . . did not become actively involved in Petitioner’s defense until immediately

  before trial.” Resp’t’s Obj. at 28-30, 53-68; Suppl. R. & R. at 6 n.2. As support,

  Respondent quotes at length from the trial court order, including multiple mixed

  conclusions of law and fact not entitled to a presumption of correctness and much that is

  not specifically connected to Mr. Slane or the timing of his representation. See, e.g.,

  Resp’t’s Obj. at 30, 61.

         Even assuming Judge Purcell’s conclusion is improper, and giving all germane

  factual findings a presumption of correctness, the analysis in the Supplemental R. and R.

  of Petitioner’s IATC claim is not materially affected. That is, regardless of when Mr. Slane

  first became involved, Petitioner’s defense team ultimately performed deficiently for the

  reasons stated below.

         Respondent further complains that the magistrate judge used this belief as to the

  timing of Mr. Slane’s involvement to improperly concentrate the Ground One analysis

  upon the performance of Mr. Funderburk, rather than upon the representation of the defense

  team collectively. See Resp’t’s Obj. at 62, 81 n.22 (citing Suppl. R. & R. at 6 n.2). It is

  true that the Supplemental R. and R. describes the acts and omissions of Mr. Funderburk

  in detail; however, this approach is largely a function of Mr. Funderburk’s key role with


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  respect to the issues—pretrial consultation with Petitioner and with medical experts, trial

  strategy, and funding—upon which Ground One is based. See Second Am. Pet. at 7-8; see,

  e.g., Postconviction Hr’g Tr. of Dec. 4, 2014, at 47, 85-86 (Mr. Slane testifying that the

  second medical expert was someone Mr. Funderburk “had been in communication with”);

  id. at 86 (“Mr. Funderburk was handling the money in this case because it was his client.”);

  Slane Aff. of Sept. 4, 2012, ¶ 4 (Mr. Slane stating that Mr. Funderburk “consulted with and

  retained” Dr. May); Trial Tr. of Sept. 12, 2005, at 6-11 (Doc. No. 102-1) (Mr. Slane stating

  to trial court that he would prefer not to address the requests in the State’s motion in limine

  that sought to preclude evidence of A.S.’s frequent falls and unusual behavior, self-inflicted

  head trauma, and developmental delays, and requesting that the trial court wait to allow the

  absent Mr. Funderburk to “deal with the issue”); Trial Tr. of Sept. 13, 2005, at 14 (Mr.

  Slane stating to trial court: “Today we got here, Mr. Funderburk got here and gave . . . the

  two-page letter of what [Dr. May’s] summary is.”). In any event, even assuming error by

  the magistrate judge in this respect, the undersigned has conducted the requisite review by

  examining the assistance provided by Petitioner’s defense team as a whole.

         C. Analysis of Ground One: Ineffective Assistance of Trial Counsel

         In the Supplemental R. & R., Judge Purcell analyzed Petitioner’s IATC claim under

  the familiar two-pronged test established by the Supreme Court in Strickland v.

  Washington, 466 U.S. 668. See Suppl. R. & R. at 49-90. This Court applies that same test

  in its de novo review of Petitioner’s claim.

         To satisfy the first prong of Strickland, Petitioner “must show that counsel’s

  performance was deficient.” Strickland, 466 U.S. at 687. That is, Petitioner must show


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  that her counsel’s performance “fell below an objective standard of reasonableness,” or, in

  other words, that counsel’s performance was “not within the range of competence

  demanded of attorneys in criminal cases.” Id. at 687-88 (internal quotation marks omitted).

             The first prong—constitutional deficiency—is necessarily linked to the
         practice and expectations of the legal community: The proper measure of
         attorney performance remains simply reasonableness under prevailing
         professional norms. In any case presenting an ineffectiveness claim, the
         performance inquiry must be whether counsel’s assistance was reasonable
         considering all the circumstances.

  Hinton v. Alabama, 571 U.S. 263, 273 (2014) (citation and internal quotation marks

  omitted). There is a “strong presumption” that counsel acted reasonably, and counsel’s

  performance will not be deemed deficient if it “might be considered sound trial strategy.”

  Strickland, 466 U.S. at 689 (internal quotation marks omitted).

         Our review of counsel’s effectiveness is “highly deferential.” [Strickland,
         466 U.S. at 689.] In assessing [counsel’s] performance, we consider all the
         circumstances, making every effort to eliminate the distorting effects of
         hindsight, and view his conduct from his perspective at the time. By the
         same token, we must eschew post hoc rationalizations for [counsel’s]
         deliberations, investigations, and defense strategy, or lack thereof.

  Smith, 379 F.3d at 929 (alteration, citation, and internal quotation marks omitted).

         To satisfy the second prong of Strickland, Petitioner must show that counsel’s

  deficient performance prejudiced the defense. See Strickland, 466 U.S. at 687. That is,

  Petitioner must show that “but for counsel’s unprofessional errors,” “there is a reasonable

  probability that . . . the result of the proceeding would have been different.” Id. at 694. “A

  reasonable probability is a probability sufficient to undermine confidence in the outcome.”

  Id.




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                1. Whether Petitioner’s Counsel Rendered Deficient Performance

         At Petitioner’s criminal trial, the State presented three medical experts: Dr. Johnny

  Griggs, Dr. David Korber, and Dr. Chai Choi. “Dr. Griggs opined that A.S. had died as a

  result of ‘shaken baby syndrome,’ and Dr. Korber reported findings that were consistent

  with this diagnosis. Similarly, Dr. Choi concluded that the boy had died from head trauma

  with blunt force.” Proposed FFCL at 2-3 (footnotes omitted). For the defense, Petitioner

  and a handful of character witnesses testified, but counsel presented no expert opinion

  testimony. In Ground One, Petitioner alleges that the performance of her defense counsel

  was deficient in their “failure to fully investigate the cause of death and the timing of the

  injuries attribute[d] to Petitioner, including the failure to timely consult with and retain

  expert witnesses,” and “failure to present testimony from the expert witnesses as to the

  cause and timing of the fatal injuries.” Second Am. Pet. at 7.

         In the Supplemental R. & R., Judge Purcell considered this IATC claim in detail

  and ultimately concluded that defense counsel’s performance did not meet prevailing

  professional norms and, therefore, was constitutionally deficient. Respondent objects that

  the magistrate judge did not “faithfully apply” Strickland and instead viewed counsel’s

  actions “through the distorting effects of hindsight.” Resp’t’s Obj. at 69-70. According to

  Respondent, defense counsel’s decisions with respect to medical experts were strategic

  choices that were reasonable under prevailing professional norms and under the

  circumstances of Petitioner’s criminal case. See id. at 69-103.

         The undersigned has reviewed both the trial and postconviction proceedings, as well

  as the parties’ arguments and cited authorities, in undertaking the required de novo review


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  of the Supplemental R. & R. Having done so, the undersigned concurs with Judge Purcell’s

  thorough and well-reasoned analysis. While Respondent is correct that ineffectiveness is

  not established by an unsuccessful outcome, it is clear that, “considering all the

  circumstances,” defense counsel’s representation in this matter fell “below an objective

  standard of reasonableness.” Strickland, 466 U.S. at 688.

        The Supplemental R. & R. found in relevant part that “[n]othing in the record

  indicates counsel’s failure to contact a medical expert witness until September 1, 2005,

  when trial was imminent, was a strategic decision.” Suppl. R. & R. at 72.

        [I]n a case where the timing of A.S.’s injuries were of critical importance,
        Mr. Funderburk did not contact a medical expert holding any opinion until
        less than two weeks before trial, endorsed her (likely as a result of this delay)
        as an expert witness prior to knowing her opinion, and did not realistically
        have enough time after receiving her opinion to follow up on her suggestions
        or consult other experts for a potentially more helpful opinion. . . . .

            ....

         . . . [C]ounsel did not contact Dr. May until September 1, 2005, [and] did
        not provide the necessary records for her review until the night of September
        [3], 2005, so that she began reviewing the records the following [Monday]
        morning – one week before trial started. Due to the looming trial deadlines,
        defense counsel endorsed her as a witness without knowing Dr. May’s
        ultimate opinions or suggestions. By the time they received Dr. May’s
        opinion on the eve of trial, there was no time to consult with another medical
        expert to see if they could possibly find an expert that might reach a different
        conclusion. . . . [T]his left Petitioner without a substantial defense and with
        no expert testimony to support an alternative cause of death or injury.

           The Court agrees that defense counsel was not required to “doctor shop,”
        as Respondent phrased it. In other words, counsel was not required to
        perpetually continue searching for an expert witness until he found one to
        support an alternative cause of death. However, there is a cavernous divide
        between “doctor shopping” and failing to contact a medical expert witness
        until less than two weeks before trial. . . . .

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         . . . Dr. May did suggest certain follow up tests and/or other types of medical
        experts who may be able to more directly illuminate the cause of death and/or
        the timing of the injury. In Dr. May’s report, she stated:

           (2) The documentation of the microscopic analysis of the brain by the
           pathologist for the presence or absence of axonal retraction bulbs,
           indicating diffuse axonal injury (DAI) fails to include the use of
           special histological stains and which areas of the brain were sampled.
               ....
           (4) In my view the inclusion of specialized pathology consultants,
           specifically a neuropathologist and ophthalmic pathologist[,] would
           have afforded a more thorough examination of the brain and eyes.

        [Dr. May Report, Hr’g Ex. 32, at 51.] During the evidentiary hearing, Dr.
        May testified that the types of medical experts she referenced, including
        neuropathologists, presumably existed in Oklahoma City. [Postconviction
        Hr’g Tr. of Jan. 22, 2015, at 53-54.] However, counsel could not realistically
        make a choice about whether to follow up on her suggestions as trial was
        starting within two days, at most. . . . .

            Thus, . . . the Court finds counsel’s decisions to either not consult an
        additional expert and/or not follow up on Dr. May’s suggestions were not
        strategic choices. In a case that relied so heavily on medical evidence,
        “counsel’s efforts to investigate and attempt to secure suitable expert
        assistance in preparing and presenting defendant’s case fell below an
        objective standard of reasonableness.” [People v. Ackley, 870 N.W.2d 858,
        865 (Mich. 2015).] Counsel was not able to make a “strategic choice” due
        to his delay in consulting a medical expert for Petitioner’s defense. The
        choice was out of his hands at that point, unless he was willing to seek a
        continuance, and it is clear from the record he did not attempt to do so.

           The Supreme Court has explained:

           [S]trategic choices made after thorough investigation of law and facts
           relevant to plausible options are virtually unchallengeable; and
           strategic choices made after less than complete investigation are
           reasonable precisely to the extent that reasonable professional
           judgments support the limitations on investigation. In other words,
           counsel has a duty to make reasonable investigations or to make a
           reasonable decision that makes particular investigations unnecessary.
           In any ineffectiveness case, a particular decision not to investigate
           must be directly assessed for reasonableness in all the circumstances,
           applying a heavy measure of deference to counsel’s judgments.


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        [Wiggins, 539 U.S. at 521-22] (quoting Strickland, 466 U.S. at 690-91).
        Based on the record, the Court cannot conclude Mr. Funderburk engaged in
        a reasonable investigation that would make his decision not to consult with
        and/or potentially present other expert witnesses a strategic choice.

            The deficient performance prong of Strickland . . . “is necessarily linked
        to the practice and expectations of the legal community: The proper measure
        of attorney performance remains simply reasonableness under prevailing
        professional norms.” Hinton, 571 U.S. at 273 (quotations omitted).
        Petitioner presented Robert Wyatt, a local criminal defense attorney
        recognized by various organizations for the quality of his legal
        representation, to offer his opinion regarding whether Mr. Funderburk’s
        representation violated the Strickland standard of effective assistance of
        counsel. [Postconviction Hr’g Tr. of Mar. 19, 2015, at 89-96; Postconviction
        Hr’g Tr. of Mar. 20, 2015, at 2-42.]

           He testified that specifically in a case that turns so starkly on medical
        evidence and, where funds were provided, it was unreasonable “to not engage
        an expert until about 10 days before trial, which is the day the witness list is
        due.” [Postconviction Hr’g Tr. of Mar. 19, 2015, at 103.] . . . .

            Mr. Wyatt also explained that unless you were using it solely for cross-
        examination purposes, it would not be possible that a report received as close
        to the beginning of trial as Dr. May’s would adequately inform a defense
        strategy. Id. at 107. For example, in this case, Dr. May specifically
        suggested that defense counsel investigate particular issues that might show
        the subject injuries were older than alleged in this case. Id. Mr. Wyatt
        concluded that the delay in obtaining an expert witness in this case could not
        be considered strategic.

           Not a strategic reason, if they didn’t have other expert testimony lined
           up.
           I can’t see that there’s strategy at all when it’s 10 days before trial.
           That’s where I have a problem with it.
               ....
            . . . That’s not a strategic approach. You have to have a game plan
           going into trial, not seat of your pants. And you don’t get the materials
           the Friday before Monday’s trial, or the night before, that’s not
           strategic period.
           So any questions regarding strategy, I have to say that with respect to
           expert testimony in this case, I don’t think it’s strategic, period.



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         Id. at 115-16.

              Mr. Wyatt also noted that even if the expert witness, such as Dr. May,
         states that they had ample time to review the record and provide an opinion,
         it is still not reasonable performance by counsel because they have no time
         to adjust their strategy. Id. at 139. Mr. Slane stated that they consulted with
         an additional expert witness and he had adequate time to adjust their strategy
         following receipt of Dr. May’s report. However, the defense did not have
         time to follow up on Dr. May’s suggestions regarding histological stains and
         the presence of iron in A.S.’s injuries. She indicated further examination and
         testing of these issues might prove A.S.’s fatal injuries were older than the
         State alleged. Id. at 139.

  Suppl. R. & R. at 52-69 (footnote and alterations omitted) (certain alterations and

  omissions in original).

         The undersigned agrees that Petitioner has overcome the presumption that her

  counsel’s failure to engage an expert witness until eleven days before Petitioner’s first-

  degree murder trial “might be considered sound trial strategy.” Strickland, 466 U.S. at 689

  (internal quotation marks omitted). Although Petitioner’s defense attorneys were “not

  required to shop around for an expert until [they] found one that supported an alternative

  theory of causation, the fact that [they] did not consult a medical expert until trial was

  imminent, [the] witness list was due, and [they] had no time to follow up on any potential

  suggestions from the expert and/or alter [their] strategy is undeniably deficient.” Suppl. R.

  & R. at 70-71.

         Respondent first objects that criticism of defense counsel’s timing as to contacting

  Dr. May as a potential witness is unfounded because Dr. May testified that she had

  “adequate time” and “materials” to form her opinion regarding Petitioner’s records.

  Postconviction Hr’g Tr. of Jan. 22, 2015, at 41-42; see Resp’t’s Obj. at 81-84. As stated



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  by Petitioner, this objection “misses the point”—that is, that defense counsel did not

  procure and review that opinion, thereby learning that Dr. May’s testimony would be

  unfavorable to Petitioner, until the trial already was upon them. Pet’r’s Resp. at 29.

         Respondent relatedly argues that the defense team’s failure to seek out another

  expert, or to otherwise pursue additional medical evidence regarding the timing and cause

  of A.S.’s death, was a matter of strategy and the product of a “reasonable investigation.”

  Resp’t’s Obj. at 80, 88-102.18 This view is belied by the record, however, which reflects

  that the late action by the defense team in contacting Dr. May and reviewing her opinion

  left them no ability to turn to an alternative expert or pursue a different theory of defense.

  In other words, the record “underscores the unreasonableness of counsel’s conduct by

  suggesting that their failure to investigate thoroughly resulted from inattention, not

  reasoned strategic judgment.” Wiggins, 539 U.S. at 526; cf. Wyatt Aff. of June 5, 2012, ¶

  6 (Pet’r’s Postconviction App. Ex. 85 (Postconviction R. at 2233-36)) (stating that, in his

  professional opinion, it would be unreasonable “from a strategy standpoint”: to fail to

  “obtain the full medical record” and send it “as promptly as possible for a medical review”;

  based upon the outcome of that review, to fail to “either seek a second opinion” or “retain

  the expert” and “conduct any additional investigation and specialist review suggested by

  the expert”; “to wait until the day before a final witness list was due to contact or consult



  18
    Respondent objects that the Supplemental R. & R. incorrectly characterizes Dr. May’s
  opinion as contingent on further testing. See Resp’t’s Obj. at 27. To the contrary: the
  Supplemental R. & R. makes clear that Dr. May’s final opinion was unfavorable to
  Petitioner but correctly notes that Dr. May also suggested additional testing or
  consultations. See Suppl. R. & R. at 4, 42, 52, 64-65, 68.


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  with a medical expert for the first time”; and to “fail[] to seek a continuance” to follow up

  on the issues raised in Dr. May’s report).19

         Mr. Funderburk and Mr. Slane entered their appearances on Petitioner’s behalf on

  February 10, 2005. On March 4, 2005, the trial court set the criminal trial docket call for

  September 9, 2005, with trial to commence on September 12, 2005. At no point thereafter

  did defense counsel seek a continuance. See State v. Moore, No. CF-2004-351 (Okla. Cnty.

  Dist. Ct.). It was not until Thursday, September 1, 2005, that defense counsel first

  contacted Dr. May regarding potential retention in Petitioner’s case. Trial Ct. Order of

  Mar. 27, 2018, at 28. Defense counsel did not deliver relevant records to Dr. May for

  review until a meeting late in the evening on Saturday, September 3, 2005. Postconviction

  Hr’g Tr. of Jan. 22, 2015, at 12-14. But on September 2, 2005, Mr. Funderburk identified

  Dr. May as the only named testifying medical expert on the defense list filed with the trial

  court. See Pet’r’s Witness & Ex. List (Doc. No. 102-3, at 73-75). Dr. May transmitted her

  written report to Mr. Funderburk’s office via fax on Friday, September 9, 2005, and also

  sent a copy via FedEx, to be delivered by the afternoon of September 12, 2005. Trial Ct.

  Order of Mar. 27, 2018, at 14, 28. Mr. Funderburk and Dr. May met in person on the

  evening of Sunday, September 11, 2005, at which time she provided Mr. Funderburk

  another copy of her report. Postconviction Hr’g Tr. of Jan. 22, 2015, at 21-24.




  19
    The undersigned rejects Respondent’s criticism of Mr. Wyatt’s testimony as “wholly
  uni[n]formed.” Resp’t’s Obj. at 101-02. Mr. Wyatt’s testimony, which was subject to
  cross-examination by the State, reflected that he had prepared extensively in forming his
  opinion. See, e.g., Postconviction Hr’g Tr. of Mar. 19, 2015, at 94-95, 102-05.


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         When the criminal trial commenced on Monday, September 12, 2005, the trial court

  took up the State’s motion in limine, which requested that Petitioner not be allowed to

  mention Dr. May in front of the jury until the State was provided with a report or summary

  of Dr. May’s proposed testimony. Mr. Funderburk was absent from the first day’s

  proceedings. See Trial Tr. of Sept. 12, 2005, at 9. Mr. Slane’s argument to the trial court

  indicates that defense counsel had not yet decided whether they would call Dr. May to the

  stand. See id. at 6 (Mr. Slane stating he would “stay away” from mentioning Dr. May at

  voir dire). Dr. May testified that at 2:08 p.m. on Monday, September 12, 2005, she spoke

  by telephone with Mr. Funderburk and was told that she “would not be expected to testify”

  at trial. Postconviction Hr’g Tr. of Jan. 22, 2015, at 24. The next day, Tuesday, September

  13, 2005, Mr. Slane and Mr. Funderburk represented to the trial court that they “probably”

  would not call Dr. May to testify. Trial Tr. of Sept. 13, 2015, at 14. Defense counsel

  nevertheless turned over Dr. May’s summary to the prosecution. See id. (“[The State] ha[s]

  the report.”).20

         The State also moved to preclude the presentation of evidence by the defense

  regarding A.S.’s tantrums, frequent falls, unusual behavior, self-inflicted head trauma, and

  developmental delays. See State’s Mot. in Limine at 90-92; Trial Tr. of Sept. 12, 2005, at

  6-12. On Monday, September 12, 2005, Mr. Slane requested to defer to Mr. Funderburk

  upon that attorney’s return as to the response to this aspect of the State’s motion in limine.



  20
    As noted by Petitioner, Dr. May’s conclusion was thereafter revealed to the jury through
  one of the State’s witnesses. See Pet’r’s Resp. at 20 n.11; Trial Tr. of Sept. 14, 2015, at
  221-24 (Dr. Griggs testifying that Dr. May agreed with his findings).


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  See Trial Tr. of Sept. 12, 2005, at 7-11. The trial court granted that request but expressed

  doubts that such evidence would be relevant. See id. at 7-8, 9. The next day, defense

  counsel made a confusing and rambling effort to establish admissibility. See Trial Tr. of

  Sept. 13, 2005, at 14-25. The trial court rejected this argument, finding that defense counsel

  had failed to provide the State adequate notice of their intention and had failed to show

  sufficient relevance or causal connection between such evidence and the charged crime.

  See id. at 25-27; Trial Tr. of Sept. 15, 2005, at 120-23.

         Respondent’s argument that defense counsel’s performance in this regard was the

  result of strategic judgment is defeated by the timing and circumstances of the decisions

  made by those attorneys. See Wiggins, 539 U.S. at 527 (“In assessing the reasonableness

  of an attorney’s investigation, . . . a court must consider not only the quantum of evidence

  already known to counsel, but also whether the known evidence would lead a reasonable

  attorney to investigate further.”). According to Mr. Slane and Mr. Reynolds, the working

  theory for the defense team was to argue that A.S. had been fatally injured through

  accidental means. See Reynolds Aff. of June 4, 2012, ¶ 4; Postconviction Hr’g Tr. of Dec.

  4, 2014, at 47. Both attorneys related that the receipt of Dr. May’s opinion that the cause

  of A.S.’s death was consistent with abuse, as well as follow-up conversations with Dr. May

  after trial already had begun, caused them to instead attempt to point the blame for A.S.’s

  death at the child’s father at trial. See Reynolds Aff. of June 4, 2012, ¶ 9; Slane Aff. of

  Sept. 4, 2012, ¶ 6; Postconviction Hr’g Tr. of Dec. 4, 2014, at 49. In other words,

  Petitioner’s criminal defense was conceived when they learned of Dr. May’s opinion one




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  to three days prior to trial and, possibly, when the trial court granted the State’s motion in

  limine during trial.

           For at least seven months preceding that point, defense counsel “had every reason

  to develop the most powerful . . . case possible” as to medical causation and timing issues.

  Wiggins, 539 U.S. at 526. As detailed elsewhere, their failure to do so was not the result

  of a lack of a plausible defense to pursue or money to fund the pursuit. See Order of May

  14, 2020, at 2-3; Suppl. R. & R. at 74-80, 83-86 (summarizing new medical evidence

  presented by Petitioner to support proposition that A.S. could not have died from actions

  taken by Petitioner on the date alleged by the State); Slane Aff. of Sept. 4, 2012, ¶ 4

  (identifying health and development records that were in counsel’s possession); Trial Ct.

  Order of Mar. 27, 2018, at 12 (same); Proposed FFCL at 12-14 (citing records of A.S.’s

  preexisting health issues and earlier falls and finding that “[e]ven if the fact-finder were to

  view the evidence of prior falls with a skeptical eye, it could not possibly regard A.S. as a

  boy in ‘perfectly fine’ condition until January 13, 2004”); Suppl. R. & R. at 24-29

  (summarizing the funds provided to Mr. Funderburk for use on experts and investigators).21

  This was “inattention, not reasoned strategic judgment.”22 Wiggins, 539 U.S. at 526; see



  21
     Dr. May testified that she did not recall being specifically asked by defense counsel
  regarding the timing of A.S.’s injuries. See Postconviction Hr’g Tr. of Jan. 22, 2015, at
  51-52; see also Reynolds Aff. of June 4, 2012, ¶¶ 7-8.
  22
       As instructed by the Tenth Circuit:
        [E]ven where an attorney pursued a particular course of action for strategic reasons,
        courts still consider whether that course of action was objectively reasonable,
        notwithstanding Strickland’s strong presumption in favor of upholding strategic
        decisions.


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  also id. at 527 (“Strickland does not establish that a cursory investigation automatically

  justifies a tactical decision . . . . Rather, a reviewing court must consider the reasonableness

  of the investigation said to support that strategy.”).23

         Finally, Respondent, while not conceding deficient performance, attempts to justify

  Petitioner’s counsel’s delay and inaction by arguing that A.S.’s daycare provider, Janus

  Roth, misled the defense team as to her credentials and as to the extent that she would be

  able to assist with trial preparation. See Resp’t’s Obj. at 84-88. Ms. Roth was not an

  attorney of record for Petitioner and was not otherwise retained to assist in this matter,

  however. Under “all the circumstances,” it would not have been “strategically reasonable”

  for defense counsel to rely upon Ms. Roth as a basis for failing to conduct their own

  investigation and to timely procure witnesses and evidence. Strickland, 466 U.S. at 691;

  Saranchak v. Sec’y, Pa. Dep’t of Corr., 802 F.3d 579, 594 (3d Cir. 2015) (finding that

  defense counsel’s performance was deficient where, inter alia, the attorney failed to obtain

  a psychiatric evaluation or to retain a defense expert, despite “his belief that [the




  Bullock v. Carver, 297 F.3d 1036, 1048 (10th Cir. 2002). “[T]he mere incantation of
  ‘strategy’ does not insulate attorney behavior from review.” Brecheen v. Reynolds, 41 F.3d
  1343, 1369 (10th Cir. 1994) (internal quotation marks omitted).
  23
     Further, Respondent’s suggestion that simply cross-examining the State’s experts was a
  reasoned and reasonable strategy is seriously undermined by defense counsel’s affirmative
  belief that “without a supporting expert or a better explanation as to how the child was
  injured,” Petitioner “had no chance of an acquittal.” Reynolds Aff. of June 4, 2012, ¶ 4;
  see also id. ¶ 8 (Mr. Reynolds stating that he does not recall defense counsel preparing any
  cross-examination based upon Dr. May’s report); Hinton, 571 U.S. at 273 (“Criminal cases
  will arise where the only reasonable and available defense strategy requires consultation
  with experts or introduction of expert evidence.” (internal quotation marks omitted)).


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  defendant’s] mental health was important to his case,” based only upon a neutral court-

  appointed expert’s competency determination).

           As trial commenced, the defense team did not know if they would have a tenable

  expert and was clearly not making “strategic choices . . . after thorough investigation of

  law and facts.” Strickland, 466 U.S. at 690. Their “complete lack of pretrial preparation

  put[] at risk both [Petitioner’s] right to an ample opportunity to meet the case of the

  prosecution and the reliability of the adversarial testimony process.” Kimmelman, 477 U.S.

  at 385 (internal quotation marks omitted). The Court agrees with the Supplemental R. and

  R. that the performance of Petitioner’s defense counsel was deficient for the reasons

  outlined above.

                 2. Whether Petitioner’s Counsel’s Deficient Performance Was Prejudicial

           The Court previously found that Petitioner “ha[s] made a . . . showing of the

  probability of actual innocence sufficient to permit her case to overcome the limitations

  bar.” Order of Oct. 28, 2011, at 2-4; accord Order of May 14, 2020, at 2-3, 3 n.2; see

  Suppl. R. & R. at 74-80, 83-86. The Supplemental R. & R. relied on this previous finding

  in concluding that Petitioner had shown prejudice under Strickland. See Suppl. R. & R. at

  72-90.

           By making this finding, the Court held that Petitioner had shown that “a

  constitutional violation has probably resulted in the conviction of one who is actually

  innocent” and “that it is more likely than not that no reasonable juror would have convicted

  [her] in the light of the new evidence.” Schlup, 513 U.S. at 327 (internal quotation marks

  omitted); see id. at 316 (“[I]f a petitioner . . . presents evidence of innocence so strong that


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  a court cannot have confidence in the outcome of the trial unless the court is also satisfied

  that the trial was free of nonharmless constitutional error, the petitioner should be allowed

  to pass through the gateway and argue the merits of his underlying claims.”). The Supreme

  Court has explained that making this showing of actual innocence requires “a stronger

  showing than that needed to establish prejudice.” Id. at 327 (citing Strickland, 466 U.S. at

  694); accord Demarest v. Price, 130 F.3d 922, 942 (10th Cir. 1997).

         Put differently, Petitioner already has “show[n] more than just a reasonable

  probability that the factfinder would have had a reasonable doubt respecting guilt.” House

  v. Bell, 547 U.S. 518, 571 (2006) (Roberts, C.J., concurring in the judgment in part and

  dissenting in part) (omission and internal quotation marks omitted). “As this Court has

  already found that [Petitioner] meets the more stringent Schlup test, it necessarily follows

  that [she] also satisfies the prejudice test under Strickland.” Larsen v. Adams, 718 F. Supp.

  2d 1201, 1224 (C.D. Cal. 2010) (citing Fisher v. Gibson, 282 F.3d 1283, 1310 (10th Cir.

  2002) (declining to “limit ineffective assistance to only those claims where defendant can

  demonstrate his innocence”)). “Accordingly, for substantially the same reasons, [the

  Court] now hold[s] that [Petitioner] has established that, absent [her] counsel’s

  unprofessional errors and omissions, a factfinder would have had a reasonable doubt

  respecting [her] guilt.” Rivas v. Fischer, 780 F.3d 529, 551 (2d Cir. 2015).24 “To the extent

  it is possible for a petitioner to make the Schlup actual innocence showing but nonetheless




  24
    These reasons have been discussed by the Court at length. See Suppl. R. & R. at 72-80;
  Proposed FFCL at 2-9, 10-28; R. & R. of Dec. 12, 2019, at 9-10, 19-21.


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  fail to demonstrate prejudice under Strickland, such a possibility does not exist on the

  present facts,” where the assistance of counsel that is the basis for habeas relief in Ground

  One of the Second Amended Petition is intertwined with and inseparable from the

  presentation of experts and evidence that established Petitioner’s claim of actual innocence.

  Larsen, 718 F. Supp. 2d at 1225.

         Respondent concedes the relative status of the standards but argues that the

  magistrate judge nonetheless erred in finding Petitioner had satisfied Strickland’s prejudice

  prong. Respondent claims that Judge Purcell, in rejecting Respondent’s arguments as to

  the lack of credibility of Petitioner’s habeas experts, improperly placed the burden upon

  Respondent to disprove prejudice under Strickland rather than requiring Petitioner to prove

  such prejudice. See Resp’t’s Obj. at 114-19. Relatedly, Respondent argues that the

  Supplemental R. & R. overlooked or ignored credibility and corroboration issues with

  Petitioner and her witnesses and that these issues defeat the conclusion “that Petitioner has

  shown a reasonable probability of a different outcome at trial.” Id. at 106-14.

         The evidence Respondent cites in support of these objections already was before the

  Court in connection with either its October 2011 determination of actual innocence, or its

  May 2020 determination of actual innocence, or both. Respondent did not seek relief from

  those Orders and does not here present an adequate basis for the actual-innocence

  determination to be revisited. Cf. Fed. R. Civ. P. 7(b)(1) (“A request for a court order must

  be made by motion.”); id. R. 60(b) (prescribing that “[o]n motion and just terms” a court

  may relieve a party from an order). Accordingly, the Court overrules these objections and

  concludes that Petitioner has met her burden to establish prejudice on Ground One under


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  Strickland. See Schlup, 513 U.S. at 327; Rivas, 780 F.3d at 550-51; Larsen, 718 F. Supp.

  2d at 1224-25.

                3. Harmless-Error Review

         To be entitled to federal habeas corpus relief, a petitioner generally must show that

  the constitutional error “had substantial and injurious effect or influence in determining the

  jury’s verdict.” Brecht v. Abrahamson, 507 U.S. 619, 623 (1993) (internal quotation marks

  omitted); accord Byrd v. Workman, 645 F.3d 1159, 1167 n.9 (10th Cir. 2011). The Tenth

  Circuit has explained, however, that applying this harmless-error test “is a needless

  formality in the context of a Strickland claim, which itself demands a showing that the

  alleged deficiency was prejudicial.” Byrd, 645 F.3d at 1167 n.9 (citing cases); see also

  Hall v. Vasbinder, 563 F.3d 222, 236 (6th Cir. 2009) (“The prejudice prong of the

  ineffective assistance analysis subsumes the Brecht harmless-error review.”).

                                        CONCLUSION

         The Court recognizes that Petitioner was not entitled to “perfect representation”

  from her defense counsel. Harrington v. Richter, 562 U.S. 86, 110 (2011). But “[a]n

  accused is entitled to be assisted by an attorney, whether retained or appointed, who plays

  the role necessary to ensure that the trial is fair.” Strickland, 466 U.S. at 685. Having

  reviewed the relevant record and authorities, the Court concludes that Petitioner’s counsel

  did not fulfill that role and that Petitioner was therefore deprived of her Sixth Amendment

  right to the effective assistance of trial counsel. Consistent with this conclusion, the Court

  determines that “law and justice require” that Petitioner be afforded a new trial. 28 U.S.C.




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  § 2243; see United States v. Bergman, 746 F.3d 1128, 1134 (10th Cir. 2014) (“[T]he

  presumptively appropriate remedy for an effective assistance violation is a new trial[.]”).

         For the foregoing reasons, the Supplemental Report and Recommendation (Doc.

  No. 261) is ADOPTED as modified. The Second Amended Petition for Writ of Habeas

  Corpus (Doc. No. 226) is CONDITIONALLY GRANTED as to Ground One as follows:

         The State of Oklahoma may commence proceedings for a new trial on the

  underlying charge within 90 days of the entry of this Order. Failure to commence such

  proceedings within 90 days shall result in this Court ordering Petitioner Beverly Michelle

  Moore’s permanent discharge and release from all restraints and custody of the State of

  Oklahoma on the conviction at issue.25

         IT IS FURTHER ORDERED that Petitioner’s Request for Status Conference (Doc.

  No. 268) is DENIED AS MOOT.

         IT IS SO ORDERED this 11th day of September, 2023.




  25
     Petitioner’s remaining habeas claims (Grounds Two through Five) are moot in light of
  this entitlement to relief and are hereby dismissed without prejudice.


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                         UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF OKLAHOMA

   BEVERLY MICHELLE MOORE,                  )
                                            )
          Petitioner,                       )
                                            )
   v.                                       )      Case No. CIV-09-985-G
                                            )
   TAMIKA WHITE, Warden,                    )
                                            )
          Respondent.                       )

                                      JUDGMENT

         In accordance with the Order issued this same date, the Second Amended Petition

  for Writ of Habeas Corpus (Doc. No. 226) is CONDITIONALLY GRANTED as to Ground

  One as follows:

         The State of Oklahoma may commence proceedings for a new trial on the

  underlying charge within 90 days of the entry of this Order. Failure to commence such

  proceedings within 90 days shall result in this Court ordering Petitioner’s permanent

  discharge and release from all restraints and custody of the State of Oklahoma on the

  conviction at issue.

         Grounds Two through Five of the Second Amended Petition for Writ of Habeas

  Corpus are hereby dismissed without prejudice.

         ENTERED this 11th day of September, 2023.




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                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF OKLAHOMA

  BEVERLY MICHELLE MOORE,                        )
                                                 )
        Petitioner/Appellant,                    )
                                                 )
  v.                                             )      Case No. CIV-09-985-G
                                                 )
  TAMIKA WHITE, Warden,                          )
                                                 )
        Respondent/Appellee.                     )

                                  NOTICE OF APPEAL

        Notice is hereby given that Respondent, Tamika White, Warden of the Mabel

  Bassett Correctional Center, in the above-named case, hereby appeals to the United States

  Court of Appeals for the Tenth Circuit from the final judgment entered in this action on

  September 11, 2023.

                                    Respectfully submitted,

                                    GENTNER F. DRUMMOND
                                    ATTORNEY GENERAL OF OKLAHOMA

                                    s/ CAROLINE E.J. HUNT
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                                    ATTORNEYS FOR RESPONDENT




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                              CERTIFICATE OF SERVICE

         X      I hereby certify that on September 14, 2023, I electronically transmitted the
  attached document to the Clerk of Court using the ECF System for filing and transmittal
  of a Notice of Electronic Filing to the following ECF registrant(s):

         Andrea D. Miller
         Christine M. Cave

                                            s/ CAROLINE E.J. HUNT




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